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                      UNITED STATES DISTRICT COURT

                      SOUTHERN DISTRICT OF NEW YORK

        ---------------------------------------------------X

        MELISSA KAYE, M.D.,

                                 Plaintiff,

                                 INDEX NO.: 18-CV-12137

                    -against-



        HEALTH AND HOSPITALS CORPORATION; ELIZABETH FORD;

        ABHISHEK JAIN; PATRICIA YANG; and JONAHTHAN WANGEL,

        et al.,

                                 Defendants.

        ---------------------------------------------------X

                                 Remote Deposition
                                 New York, New York 11716


                                 September 30,      2021
                                 10:09 a.m.


              DEPOSITION of JONATHAN WANGEL, a Defendant

              herein, taken by the Plaintiff, held at the

              above-mentioned time and place, before KIARA

              MILLER, a Notary Public of the State of New

              York.
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                                                                   Page 2
   1

   2    A P P E A R A N C E S:

   3

   4                THE LAW OFFICES OF SPECIAL HAGAN
                    Attorney for Plaintiff
   5                196-04 Hollis Avenue
                    Saint Albans, New York 11412
   6
                    BY:    SPECIAL HAGAN, ESQ.
   7

   8

   9                NEW YORK CITY LAW DEPARTMENT
                    Attorney for Defendants
 10                 100 Church Street
                    New York, New York 10007
 11

 12                 BY:    DONNA CANFIELD, ESQ.

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   1

   2          F E D E R A L      S T I P U L A T I O N

   3

   4                     IT IS HEREBY STIPULATED AND AGREED by

   5          and between the counsel for the respective

   6          parties hereto, that the filing, sealing, and

   7          certification of the within deposition shall be

   8          and the same are hereby waived;

   9                     IT IS FURTHER STIPULATED AND AGREED

 10           that all objections, except as to the form of

 11           the question shall be reserved to the time of

 12           trial.

 13                      IT IS FURTHER STIPULATED AND AGREED

 14           that the within deposition may be signed before

 15           any notary public with the same force and

 16           effect as if signed and sworn to before this

 17           court.

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                                                                   Page 4
   1                               J. WANGEL

   2    J O N A T H A N       W A N G E L, after having first

   3    been duly sworn by a Notary Public of the State of

   4    New York, was examined and testified as follows:

   5                           COURT REPORTER:      Please state

   6                     your name for the record.

   7                           THE WITNESS:     Jonathan Wangel.

   8                           COURT REPORTER:      Please state

   9                     your address for the record.

 10                            THE WITNESS:     55 Water Street,

 11                      Manhattan, New York 10041.

 12     EXAMINATION BY

 13     MR. HAGAN:

 14                  Q      Good morning, Mr. Wangel.        How are

 15           you?

 16                  A      Good morning.     How are you?

 17                  Q      There's a lawsuit filed by Dr.

 18           Kaye, you are aware of that; am I right?

 19                  A      Yes.

 20                  Q      So, Mr. Wangel, I'm sure you've

 21           been deposed before, but I just want to make

 22           sure for the record you have the court

 23           admonitions before we start.

 24                            COURT REPORTER:      Sorry.    When

 25                      you speak, I can't hear you that
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                                                                   Page 5
   1                                J. WANGEL

   2                    well.

   3                              (Technical difficulties.)

   4                Q      Mr. Wangel, I'm here deposing you

   5          here today because of Dr. Kaye's lawsuit

   6          against you a few other named defendants.

   7          You are aware of that, right?

   8                A      Yes.

   9                Q      So I'm sure you've been deposed

 10           before, your an attorney.         Just the typical

 11           admonitions of course only one of us can

 12           speak at a time.        And I think you're

 13           probably aware that you can give verbal

 14           responses.        No nodding of the head or

 15           uh-huh, just yes or no or passing of an

 16           appropriate -- or I don't know or I don't

 17           recall.     Are you clear about that?

 18                 A      Yeah.

 19                 Q      You are aware that you're

 20           testifying under oath today; is that right?

 21                 A      Yes.

 22                 Q      If, in fact, you need me to repeat

 23           a question, please do, please ask me to

 24           repeat the question.        If you don't hear it

 25           the first time or you don't understand it,
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   1                              J. WANGEL

   2          please make sure that you let me know and I

   3          will go over it again.        Is that okay?

   4                A      Yes.

   5                Q      Mr. Wangel?

   6                A      Yes.

   7                Q      Now, in the event that you need to

   8          take a break, please make sure that you

   9          answer the question first, then if you need

 10           to take a break.       If you'd like to have a

 11           lunch, please let me know how long the lunch

 12           break hour is or the lunch break is; is that

 13           clear?

 14                 A      Yes.

 15                 Q      I guess just some general

 16           questions.     Have you had anything, have you

 17           taken any medication that would impair your

 18           ability to testify truthfully today?

 19                 A      No.

 20                 Q      Have you had any medications in

 21           the last 24 hours?

 22                           MS. CANFIELD:       Objection.

 23                 A      No.

 24                 Q      You haven't had any alcoholic

 25           beverages in the last 24 hours?
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   1                                J. WANGEL

   2                A      No.

   3                Q      So I questions I want to ask you

   4          some general questions.         What did you do to

   5          prepare for today's deposition?

   6                A      Some prep with Ms. Canfield.

   7                Q      When did that take place?

   8                A      Sometime last week if I recall

   9          correctly.

 10                 Q      And how many times did you meet

 11           with Ms. Canfield?

 12                 A      Over what time period are you

 13           talking about?        In preparation for this, or?

 14                 Q      In preparation for this

 15           deposition.

 16                 A      Six months.

 17                 Q      Did you have --

 18                 A      Actually -- actually, sorry.

 19           Twice I believe -- Ms. Canfield once.

 20           (Inaudible).        I can't remember when and what

 21           though it was.

 22                 Q      And had you had any phone

 23           conversations with Ms. Canfield with

 24           preparation for today's deposition?

 25                 A      Yes.
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                                                                   Page 8
   1                                J. WANGEL

   2                Q      When were those?

   3                A      That would be the same prior.

   4                Q      Just some background information

   5          Mr. Wangel.     What's your highest level of

   6          education?

   7                A      Law school?

   8                Q      Where did you go to law school?

   9                A      New York Law School.

 10                 Q      When did you graduate?

 11                 A       2003.

 12                 Q      So, Mr. Wangel, we are saying you

 13           graduated from New York law school in 2003.

 14           Just for the record, what is your full name?

 15                 A      Jonathan Wangel.

 16                 Q      Do you have a middle name?

 17                 A      I do.    It's Corey, C-O-R-E-Y.

 18                 Q      Have you gone by anymore other

 19           names?

 20                 A      No.

 21                 Q      Besides John Corey Wangel?

 22                 A      No.

 23                 Q      When you graduated from law

 24           school, where did you work?          What was your

 25           first job?
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   1                              J. WANGEL

   2                A      My first place of employment was

   3          the New York City Department of Health and

   4          Mental Hygiene.

   5                Q      And in what capacity were you

   6          working there?

   7                A      I worked in the general

   8          counselor's office and advocate's office.

   9                Q      Could you repeat yourself please.

 10                 A      The general counsel's office.

 11                 Q      As what?

 12                 A      Advocate's offices.

 13                 Q      What was your civil service title?

 14                 A      Agency attorney.

 15                 Q      What was your office title?

 16                 A      Title back then, I don't remember

 17           of what.     Office title when I was hired, I

 18           don't actually remember.         At some point I

 19           became the deputy director, that was an

 20           in-house title.       Probably like associate

 21           counselor, pretty generic.          I don't remember

 22           exactly when it was.

 23                 Q      When did you become the deputy

 24           director of the unit?

 25                 A      Hard to say exactly.        A couple
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   1                               J. WANGEL

   2          years after I started.

   3                 Q     Would you say that it would have

   4          been around 2005?

   5                 A     Best guess, yeah.       Hard to say

   6          exactly.

   7                 Q     What was your next position after

   8          you were deputy director of the unit?

   9                 A     Next position in terms of?

  10                 Q     Within the -- first of all, how

  11          did you stay in the department of health?

  12                 A     I was in the health department

  13          from a civil service title in November of

  14          2013 -- I'm sorry.        What year?     November of

  15          '03 through December of '15.

  16                 Q     I'm assuming you've had more than

  17          one position there so.         You mentioned that

  18          you were an attorney in the advocate's

  19          office.

  20                       Did you have any number of

  21          positions between that and the deputy

  22          director position?

  23                 A     Well, civil service-wise I held

  24          all of the attorney titles.          I think there's

  25          four models.      At some point I became a
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   1                               J. WANGEL

   2          manager.     I worked in the general counselor

   3          for a number of years in the disciplinary

   4          advocate's office.        At some point I became a

   5          deputy director.       From there I served as

   6          chief of staff.

   7                 Q     At the disciplinary advocate's

   8          office, when were you there?

   9                 A     I was there while I was at school

  10          as an intern from '03 for a good eight, nine

  11          years.     I don't remember exactly.         For a

  12          while.

  13                 Q     Then you became a chief of staff.

  14          When did you become the chief of staff?

  15                 A     It was -- I have to go back to my

  16          CV to look at the exact dates.           It was under

  17          commissioner Farly (phonetic), so it was a

  18          while back.      I honestly don't remember what

  19          year it was.      It was a while ago.

  20                 Q     Was it right before you came to H

  21          and H?

  22                 A     It was before but not immediately

  23          prior.     So I was the chief of staff for a

  24          little while.       From there I held an attorney

  25          position in the advocate's office.            I became
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   2          the director of labor relations for the

   3          department of mental hygiene.

   4                           COURT REPORTER:       You're not

   5                     very clear either.      I hear you, but.

   6                           THE WITNESS:      I'll speak up.

   7                           COURT REPORTER:       Thank you.

   8                 Q      Now, how long would you say you

   9          were the chief of staff at the department of

  10          mental health and hygiene, the intern?

  11                 A      A little less than a year, I'd

  12          say.

  13                 Q      And then you went to an attorney's

  14          position in the Advo's (phonetic) office

  15          again.      How long were you there in the

  16          Advo's office?

  17                 A      Also about a year.

  18                 Q      Then you were the director of

  19          labor relations; how long were you in that

  20          capacity?

  21                 A      Probably two years, I want to say.

  22          First, I was -- actually first, I was the

  23          deputy director and then the director of

  24          labor relations, which is different from the

  25          advocate's office and the general counsel's
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   1                                 J. WANGEL

   2          office.

   3                 Q      Now, the director of labor

   4          relations position, was that the position

   5          you held immediately before you came to H&H.

   6                 A      Yes.

   7                 Q      Did you meet Dr. Yang or Ms. Yang

   8          at the Department of Health and Mental

   9          Hygiene?

  10                 A      I did.

  11                 Q      How did you work with Ms. Yang at

  12          the Department of Health and Mental Hygiene?

  13                             MS. CANFIELD:    Objection as to

  14                     form.     You can answer.

  15                 A      I'm not quite sure I understand

  16          the question.

  17                 Q      Well, did you work with Ms. Yang

  18          at Department of Health and Mental Hygiene?

  19                 A      She was an -- there.       We both

  20          worked for the same employer.

  21                 Q      Right.     But did you work with her

  22          as far as projects or initiatives?

  23                 A      In the commissioner's office yes.

  24          As advocators as the issues come up.             She

  25          held the title of chief operating
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   1                               J. WANGEL

   2          officers -- when issues came up that

   3          involved bringing something to that level,

   4          yeah.

   5                 Q     How often would you say you worked

   6          with Ms. Yang there?

   7                 A     Infrequently.

   8                 Q     Did you ever work with her on

   9          anything that involved pay -- when you were

  10          there?

  11                 A     I don't believe so, no.

  12                 Q     So you started at H&H in 2015,

  13          December 2015; is that right?

  14                 A     Yes.

  15                 Q     And how did you get the position

  16          at H&H?

  17                 A     I applied for a position.         I was.

  18                 Q     Were you encouraged to apply for a

  19          position at H&H?

  20                 A     Was I encouraged to apply?

  21                 Q     Yes.

  22                 A     I wouldn't say I was encouraged.

  23                 Q     Were you recruited?

  24                 A     No.    I'm not sure exactly what you

  25          mean by that.
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   1                               J. WANGEL

   2                 Q     Did anyone suggest that you apply

   3          for a position at H&H?

   4                 A     I don't believe so, no.

   5                 Q     Who interviewed you for your

   6          position at H&H?

   7                 A     Dr. Yang.

   8                 Q     Did Dr. Yang speak to you about

   9          working at H&H before they started?

  10                 A     She did.

  11                 Q     Was she the only person who

  12          interviewed you?

  13                 A     I actually don't recall.         I may

  14          have also talked to Dr. McDonald.

  15                 Q     Now, did you work with Dr.

  16          McDonald when you were at the Department of

  17          Mental Health and Hygiene?

  18                 A     No.    I don't believe I did.

  19                 Q     Did you and Dr. McDonald work at

  20          the Department of Mental Health and Hygiene

  21          at the same time?

  22                 A     I believe he did.

  23                 Q     But you hadn't met him at that

  24          time?

  25                 A     I believe that's accurate, yes.
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   1                               J. WANGEL

   2                 Q     And then what was your position

   3          when you were hired by Dr. Yang?

   4                 A     It was primarily for the labor

   5          relations director position I think the

   6          Health and Hospitals side senior director.

   7          And CHS was really -- at that time so it was

   8          sort of a little bit for other things, but

   9          primarily for the promotion.

  10                 Q     What was your salary when you were

  11          hired?

  12                 A     It was 150, maybe flat, a little

  13          higher.

  14                 Q     150?

  15                 A     150,000 dollars a year.

  16                 Q     And how long -- I guess you at H&H

  17          there's like a corporate title and an office

  18          title; is that right?

  19                 A     Yes.

  20                 Q     So what was your -- I guess the

  21          senior director of labor relations was the

  22          office title.       What was the corporate title?

  23                 A     Senior director is the corporate

  24          title.     So the corporate title was senior

  25          director and the functional title senior
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   1                               J. WANGEL

   2          director for, I think it was, labor and

   3          relations.       It changed over time, but it was

   4          labor employment relations, or...

   5                 Q       At that time how many people did

   6          you have as direct reports?

   7                 A       Direct reports, hard to say.           When

   8          I first came on board -- I'm trying to

   9          think.       It's going back a little bit.        I

  10          don't think there was anybody else in labor

  11          at the time because it was all very new,

  12          H&H.       All the clinical work was vendor while

  13          I was doing work for H&H, so it was new.

  14          Very few.      I don't remember offhand, but it

  15          was possibly one or two when I first

  16          started.

  17                 Q       And who was your supervisor?

  18                 A       Dr. Yang.

  19                 Q       Now, how long did Dr. Yang remain

  20          your supervisor, your direct supervisor?

  21                 A       For the entire duration of my

  22          employment at CHS.

  23                 Q       But Dr. Yang has always been your

  24          direct supervisor?

  25                           MS. CANFIELD:      Objection to
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   2                     form.   You can answer.

   3                 A      I'm just thinking.       I believe

   4          that's accurate, yes.

   5                 Q      Now, in your capacity of senior

   6          director -- now, do you still currently have

   7          the title of senior director for labor and

   8          employment relations?

   9                 A      I do not.

  10                 Q      What's your current title?

  11                 A      I'm assistant vice president to

  12          deputy counsel.

  13                 Q      Assistant vice president and

  14          deputy counsel.

  15                 A      Assistant vice president is the

  16          functioning title.         The corporate title is

  17          deputy counsel.

  18                 Q      Did you have any other titles

  19          before the -- in between the senior director

  20          for labor relations and the assistant VP

  21          deputy counsel titles?

  22                 A      I did not.

  23                 Q      When did you become assistant VP

  24          and deputy counsel?

  25                 A      June or July of 2019.
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   1                                J. WANGEL

   2                 Q     Did you get an increase in the

   3          salary when you became assistant VP and

   4          deputy counsel?

   5                 A     I did.

   6                 Q     What was your salary at that

   7          point?

   8                 A     At that point I think it was

   9          200,000, maybe 205,000.

  10                 Q     And was your salary completely by

  11          a PAGNY or H&H?

  12                 A     Health and hospital.

  13                 Q     Just health and hospital?

  14                 A     Health and hospitals, yes.

  15                 Q     Now, I guess, for purposes of the

  16          lawsuit, I guess you actually were promoted

  17          during the time Dr. Kaye is actually at

  18          health and hospitals.         So I guess I'd like

  19          to kind of get into the job functions when

  20          you were senior director of labor and

  21          employment relations.         And then having

  22          discussed what your work functions were once

  23          you were promoted.

  24                       So initially as senior director

  25          for labor and employment relations, what
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   1                               J. WANGEL

   2          were your, I guess, responsibilities?

   3                 A     So maintaining relations with

   4          multiple humans; oversee both disciplinary

   5          matters and grievances filed by the union.

   6          Those were the primary responsibilities for

   7          the senior director of relations.

   8                 Q     So you were tasked with

   9          interpreting and enforcing the collective

  10          bargaining agreement that were necessary,

  11          right?

  12                 A     Yes.

  13                 Q     And you presided over the

  14          grievance process when the employees filed

  15          grievances; would that be right?

  16                 A     When you say preside over, not

  17          exactly sure what you mean.

  18                 Q     Well, if an employee filed a

  19          grievance during that time period, would it

  20          be fair to say that you actually dealt with

  21          the unions, or I guess, engaged with the

  22          union and/or engaged in the step process;

  23          would that have been you?

  24                 A     It could have been.        I definitely

  25          would have taking part of the process, but
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   2          there are other staff also who are handling

   3          those matters as well.

   4                 Q      Would you have been the final say

   5          for the agency position on the grievances?

   6                             MS. CANFIELD:     Objection as to

   7                     form.    You can answer.

   8                 A      Potentially.

   9                 Q      What do you mean by that?

  10                 A      It just depends on the matters.

  11          There are various steps.           I'm not sure if

  12          you're familiar with the process.            But when

  13          you say the position of the agency, I'm not

  14          exactly sure what you're asking.

  15                 Q      For example, I don't want to give

  16          you a hypothetical.        I know there's a step

  17          process.      There's step one and step two and

  18          perhaps maybe do an arbitration for the

  19          Article 78; would that be accurate?

  20                             MS. CANFIELD:     Objection,

  21                     form.    You can answer.

  22                 A      Yeah.    There's an actually a

  23          defined grievance process that has four

  24          steps.      One, two, three or arbitration or

  25          depending on the step number civil service
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   2          rights, you can also chose to appeal step

   3          one.       Recommendation to administrative

   4          during trials and hearings.

   5                         The correctional health has staff

   6          that are both employed by H&H directly and

   7          PAGNY; sounds like you know.           And PAGNY has

   8          a completely separate process, which is

   9          outside of the city process.

  10                 Q       And you didn't preside over the

  11          PAGNY process?

  12                 A       No.

  13                 Q       So, Mr. Wangel, you had, we just

  14          discussed the grievance process, and I was

  15          trying to figure out if you were the

  16          ultimate authority, I guess, at the agency

  17          when it came to making determinations as to

  18          the agency's position on a given grievance.

  19          And you gave me the answer that it depended,

  20          right?

  21                 A       Yes.

  22                 Q       And under what circumstances would

  23          you have the final say on, I guess, final

  24          arbiter of the grievance?

  25                 A       Definitely not the arbiter for
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   2          sure.      But if you're asking what position or

   3          what health and hospitals is going to

   4          advocate for from a disciplinary perspective

   5          for what a potential settlement offer could

   6          be in the grievance or what the ultimate

   7          disposition could be in any one of those

   8          matters, some of them are typically routine.

   9          There are cases that come up all the time,

  10          routine grievances; how to title things,

  11          time-and-leave related cases.           Those are

  12          tried and true, unless there's some

  13          tremendous variation in the facts, which

  14          typically doesn't happen unless some

  15          egregious conduct.        Yeah, the office itself,

  16          myself or everyone, a deputy could make a

  17          decision on what stands Health and Hospitals

  18          would take on a given case.

  19                        Sometime issues come up that could

  20          impact the entire service or the entire

  21          department, in which case you need input

  22          from other leads.

  23                 Q      Who are these other leaders that

  24          you would have gotten input from in those

  25          instances?
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   1                               J. WANGEL

   2                 A     It would depend on the case.          It

   3          would depend on who's involved in the

   4          agency's perspective, right.           It could be

   5          head of service, could be Dr. Yang -- and

   6          this is solely for correctional health now,

   7          right?     It will all depend on what the

   8          matter was.

   9                 Q     Now, in the instance of Dr. Kaye

  10          when she filed her grievance, were you the

  11          final decision maker when it came to the

  12          outcome of her grievance?

  13                 A     Which grievance are you speaking

  14          about?

  15                 Q     Well, there's at least one where

  16          she talked about being docked pay.            Do you

  17          recall that?

  18                 A     Vaguely.     I mean I deal with

  19          thousands of disciplinary grievances.             This

  20          is years ago, so you might have to help me

  21          out with that.       What was the substance of

  22          that grievance?

  23                 Q     You should be seeing a screen.

  24                 A     Yes.

  25                 Q     And for the purposes of today's
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   2          deposition, I'm going to start with one

   3          again.     This will be Plaintiff's Exhibit

   4          One, and it bears the Bate Stamp series

   5          NYC_1902, NYC_1903 and it should go all the

   6          way to NYC_1906.

   7                              (Whereupon, Email (NYC_1902 -

   8                              1906) was marked as Plaintiff's

   9                              Exhibit 1 for identification as

  10                              of this date.)

  11                 Q     I guess it would kind of make

  12          sense to go to the portion you'll read.

  13          Let's start here.        I'm showing you it's an

  14          email dated October 25, 2019, and it's from

  15          Dr. Kaye.     It looks like she addresses it to

  16          the Saadya.

  17                       Was Saadya your staff person at

  18          that time?

  19                 A     She could have been.        At one point

  20          I oversaw payroll functions as well, so

  21          Saadya would have been one of the payroll

  22          staff.

  23                 Q     So at that time Dr. Kaye was told

  24          that she had six hours and 56 minutes of

  25          AWOL, six hours and 56 minutes, during the
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   2          period of October 6, 2019, to

   3          October 12, 2019.        And absence without pay

   4          totals were $677.11, and it will be deducted

   5          from her November 1, 2019, paycheck due to

   6          not having enough sick time.

   7                        Now, is that a common occurrence

   8          there at H&H?

   9                 A      Is what a common occurrence?

  10                 Q      Well, people getting docked pay

  11          for being AWOL from time to time.

  12                             MS. CANFIELD:    Objection as to

  13                     form.    You can answer.

  14                 A      It could be.     It all depends on a

  15          number of factors.        It could be the time

  16          sheet coding, could be an error, could be a

  17          staff member had a rebalances to cover, a

  18          number of specific absences.           There's a

  19          number of reasons why pay could potentially

  20          be reduced.

  21                 Q      Now, at this time Dr. Kaye then

  22          responded to Samantha Kent, Dr. Jain, her

  23          union representative, Nate Santa Maria and

  24          Kevin Collins, Collen Barrow and CHS

  25          Payroll.      Of these people I'm thinking that
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   1                               J. WANGEL

   2          Ms. Barrow must have worked in your office,

   3          right?

   4                           MS. CANFIELD:      Objection.

   5                 A     This is October of 2017, so I was

   6          no longer with CHS at this time.

   7                 Q     So you weren't with CHS at this

   8          time?

   9                 A     I was not.

  10                 Q     And you were CC'd on any of these

  11          just to make sure.        Well, actually you were

  12          CC'd on this e-mail.        I'm scrolling to the

  13          portion where you're were CC'd?

  14                 A     Okay.

  15                 Q     And this is on November 26, 2019,

  16          right.     And at this point, did you preside

  17          over the grievance process or have any part

  18          in the grievance process?

  19                 A     I did not.     I was not at

  20          Correctional Health during this time.             I see

  21          from the copy list Dr. Kaye CC'd a whole

  22          bunch of folks including Dr. Katz.            There

  23          are CHS staff, including Ms. Kent, Ms. Kent

  24          was the head at the correctional health

  25          during that period.        She would have been the
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   2          appropriate person to respond on the

   3          grievance.

   4                 Q      And you didn't have any part in

   5          this at all?

   6                 A      Correctional Health is a little

   7          bit silent to the rest of the system when it

   8          comes to the grievance process.           So they2009

   9          handle labor in house themselves.            Only

  10          certain matters that get evolved to the

  11          system level would be able to come to me in

  12          my currently role.        So I would have not been

  13          involved in that.

  14                 Q      So here it seems as if you did

  15          seek -- you decided to forward the emails to

  16          Ms. Greenfield; why did you do that?

  17                 A      I don't recall.      I hadn't seen

  18          this actually.

  19                 Q      Would you need to see more to

  20          figure out why you diverted it to

  21          Ms. Greenfield?

  22                 A      It's a couple of years ago.

  23                           MS. CANFIELD:      Can the witness

  24                     read the entire document from top

  25                     bottom and see why he forwarded it.
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   1                                J. WANGEL

   2                 Q      Okay.   Where would you like to

   3          start reading Mr. Wangel?

   4                 A      The top is good.

   5                           MS. CANFIELD:      The bottom.

   6                     The bottom is the beginning of the

   7                     thread.

   8                           MS. HAGAN:     I think we read

   9                     the beginning of the thread.

  10                 Q      Would you need to read that again

  11          or would you like to --

  12                 A      So the first e-mail is another

  13          reduction in dollars, right?           Can you go to

  14          the top of this.        So this is from Dr. Kaye

  15          to Wilma.      There's a different message now.

  16                 Q      Yes.

  17                           MS. CANFIELD:      Can you make

  18                     the screen bigger.

  19                 A      It's fine as I can see the

  20          whole -- Dr. Kaye to Wilma to labor payroll,

  21          health service, Dr. Yang, me, so concerned

  22          about payroll.        Okay.   Okay, done.

  23                 Q      So what made you decide -- reading

  24          the e-mail and Dr. Kaye's decision to file a

  25          grievance because she was docked pay for at
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   1                                J. WANGEL

   2          least two pay periods, and she was docked

   3          two pay periods in a row for taking time off

   4          on Jewish high holidays, was that the reason

   5          why you decided to forwarded it to Blanche

   6          Greenfield?

   7                             MS. CANFIELD:    Objection as to

   8                     form.    You can answer.

   9                 A      Again, this is talking almost two

  10          years later now, but having reread this, I

  11          believe I would have forwarded to Blanche

  12          because Dr. Kaye mentions discrimination in

  13          her e-mail.        Ms. Greenfield oversees EEO for

  14          the system.

  15                 Q      At that time Ms. Greenfield did

  16          oversee the Agency's EEO process; is that

  17          right?

  18                 A      I believe so.

  19                 Q      I guess we kind of go back a

  20          little bit.        When did you first meet Dr.

  21          Kaye?

  22                 A      I don't know.     I don't have an

  23          exact date, timeframe.         Within my time at

  24          Correctional Health.

  25                 Q      Do you remember the circumstance
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   1                                J. WANGEL

   2          that lead to the meeting?

   3                 A      I believe I do.

   4                 Q      What were they?

   5                 A      I remember having some

   6          conversations with Dr. Kaye right around the

   7          time she transitioned to Correctional Health

   8          from, I believe it was Bellevue.            The

   9          program she worked for was moving from

  10          the -- site over to Correctional Health.

  11                 Q      Do you remember who else met with

  12          you when you met with Dr. Kaye?

  13                 A      Dr. Kaye and I met a few times

  14          both with and without union folks.            So hard

  15          for me to remember exactly who was there.

  16                 Q      Well, I guess in that initial

  17          meeting or in those early meetings, did you

  18          meet with Kaye and -- did Jessica Laboy sit

  19          with you?

  20                             MS. CANFIELD:    Objection to

  21                     form.    You can answer.

  22                 A      I believe I early on we did meet

  23          with Dr. Kaye regarding she had some

  24          questions about the transition over.              And I

  25          believe there was a time when I met with
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   1                               J. WANGEL

   2          Ms. Laboy, Dr. Kaye, myself and I think

   3          there was some other folks there.            It wasn't

   4          a typical, we were sitting in a conference

   5          room meeting.       I think we had gone office to

   6          office to discuss different topics.

   7                 Q      At any point during those

   8          meetings, did you tell Dr. Kaye that her

   9          working conditions would not change with the

  10          transfer from, I guess, it would have been

  11          Bellevue to CHS?

  12                 A      I think we talked a lot about

  13          compensation and --

  14                           COURT REPORTER:       I'm sorry.

  15                     Can you repeat your answer.

  16                 A      I think we talked about

  17          compensation and Correctional Health,

  18          including myself, there would be no change

  19          of salary or loss of compensation.            Dr. Kaye

  20          had expressed her interest in remaining the

  21          doctor's counselor member or union member.

  22          As far as working conditions, I don't think

  23          we discussed work conditions.           Her work

  24          location was remaining unchanged because her

  25          job was remaining unchanged.
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   1                                 J. WANGEL

   2                 Q      What about her pension?        Would her

   3          pension carry --

   4                 A      There would be nowhere to carry.

   5          She would still and was at Health and

   6          Hospitals, so I don't believe there was a

   7          change in her pension.

   8                 Q      Did Dr. Kaye follow up with you in

   9          an e-mail trying to ensure she understood

  10          what was represented during the course of

  11          that meeting?

  12                 A      It's possible.

  13                             MS. CANFIELD:    Objection to

  14                     form.     Jonathan, give me a little

  15                     chance to object.

  16                             THE WITNESS:    Sure.    Yeah, you

  17                     got it.

  18                 A      It's possible.

  19                 Q      And once she wrote this e-mail or

  20          emails, did you respond confirming either

  21          way if her understanding of what transpired

  22          was actually accurate?

  23                 A      I don't recall.      I would need to

  24          be refreshed.

  25                 Q      So let's do that then.
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   1                               J. WANGEL

   2                       Mr. Wangel, as I'm pulling up the

   3          exhibit, have you ever been sued before?

   4                 A     I don't believe so.

   5                 Q     Have you ever been named as a

   6          defendant in a lawsuit?

   7                 A     I believe just this one.

   8                 Q     So have you ever been deposed in a

   9          case against the City of New York or H&H?

  10                 A     I have not.

  11                 Q     Have you ever been deposed in a

  12          case against H&H?

  13                 A     I have not.

  14                 Q     Have you ever been I guess the

  15          subject of any oath proceedings?

  16                 A     The subject of an oath, no.          I've

  17          taken part in many as counsel.           I've never

  18          been the subject of an oath proceeding.

  19                 Q     I'm going show you what's going to

  20          be marked as Plaintiff's Exhibit Two.

  21                 A     Sure.

  22                              (Whereupon, e-mail (NYC_513) was

  23                              marked as Plaintiff's Exhibit 2

  24                              for identification as of this

  25                              date.)
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   1                                J. WANGEL

   2                 Q      You can see the screen; am I

   3          right?

   4                 A      Yes.

   5                 Q      And I'm going to give you an

   6          opportunity to read it.

   7                           MS. HAGAN:     For purposes of

   8                     the record Plaintiff's Exhibit Two

   9                     bears the Bate Stamp series NYC_513.

  10                 Q      You see that, right?

  11                 A      I do.

  12                 Q      I'm going to allow you to read

  13          this, and you let me know when I need to

  14          scroll down, okay, Mr. Mr. Wangel.

  15                 A      Sure.   Okay.

  16                 Q      Now, I'm going to ask you some

  17          questions.      I just want to make sure the

  18          record is clear, this is an e-mail dated,

  19          April 30, from Dr. Kaye to you and

  20          Ms. Laboy.

  21                        First and foremost, what is

  22          Jessica Laboy's title at that time?

  23                 A      I actually, I don't recall.

  24                 Q      Was she your supervisor at that

  25          time?
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   1                               J. WANGEL

   2                 A      I think there was a very brief

   3          period where she was.         She there was -- now

   4          that you say that, there was a brief period

   5          where I did report to Ms. Laboy not Dr.

   6          Yang.      I don't recall if this was during

   7          this period though.

   8                 Q      So here you are April 30, 2018,

   9          and you and Ms. Laboy are on this e-mail.

  10          And Dr. Kaye is thanking you both for taking

  11          the time out to discuss the transition from

  12          Bellevue to CHS; is that right?

  13                 A      (No verbal response.)

  14                 Q      So as you discussed in our initial

  15          exchange, you said that she was concerned

  16          about union membership.         So there are a few

  17          things that she identifies, right, as

  18          concerns and takeaways from the meeting.

  19          So, for example, the first point she said

  20          doctor's counsel union membership would all

  21          associated benefits, including but not

  22          limited to dental, legal, orthodontic,

  23          vision, etc., that would stay the same.             And

  24          it did, am I right?

  25                 A      As far as I know she remained in
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   1                               J. WANGEL

   2          doctor's counsel, so I would say yes.

   3                 Q     That goes to my second point,

   4          which basically said that she would not be

   5          taken out of the doctor's counsel union and

   6          be placed in a non-unionized managerial

   7          line; you saw that right?

   8                 A     I see number two on the e-mail,

   9          yes.

  10                 Q     And you discussed this with her;

  11          am I right?

  12                 A     I believe I did.

  13                 Q     Now, number three, she says, I

  14          will receive the $20,000 retention bonus

  15          owed to Bellevue physicians per a

  16          memorandum, I guess, agreement, which is not

  17          yet forthcoming.       I will remain eligible and

  18          receive this bonus even if it is dispersed

  19          after July 1, 2018, when my line has been

  20          changed.

  21                       Were you ever discussing this

  22          during this meeting with her?

  23                 A     We likely did.      I don't remember

  24          exactly what was discussed, but I do

  25          remember a conversation about what was
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   1                                J. WANGEL

   2          mentioned.

   3                 Q      Now, did this actually happen Mr.

   4          Wangel?

   5                             MS. CANFIELD:    Objection to

   6                     form.

   7                 A      I believe it did.      Let me ask you

   8          a question, when you say, did it happen, are

   9          you asking was she paid the $20,000, Dr.

  10          Kaye?

  11                 Q      Was Dr. Kaye paid the $20,000 in

  12          one lump sum, or was there an issue as far

  13          as whether or not she was entitled to a full

  14          retention bonus or not?

  15                             MS. CANFIELD:    Objection to

  16                     form. You can answer.

  17                 A      There's two pieces there.        I

  18          believe that Dr. Kaye remained on Bellevue

  19          payroll to a date certain to ensure she

  20          would remain eligible for the $20,000, for

  21          the retention bonus 'cause the way the

  22          agreement for the retention is framed.             And

  23          I believe that's why the transition occurred

  24          when it did.

  25                        I vaguely remember conversation --
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   1                               J. WANGEL

   2          I talked with doctor's counsel regularly

   3          about retention bonus and the way things are

   4          calculated.      There could have been an issue.

   5          I don't remember the details if there was.

   6          That's what I recall.

   7                 Q     Was there a time when Dr. Kaye

   8          approached your office about not receiving

   9          the entire $20,000 that she was entitled to?

  10                 A     I believe that's correct.

  11                 Q     What happened?      Do you recall?

  12                 A     I don't remember the exact

  13          circumstances.

  14                 Q     Let's go through this e-mail first

  15          and then we can go through some of the

  16          specific instances in more detail.

  17                       Does that work?

  18                 A     Sure.

  19                 Q     Now, the fourth point she goes

  20          into her longevity pay.         Now, at any point,

  21          was there a controversy involving Dr. Kaye's

  22          longevity pay?

  23                 A     Not that I recall.

  24                 Q     Is it your testimony that Dr. Kaye

  25          received the longevity pay without having to
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   1                                J. WANGEL

   2          raise any complaints beforehand?

   3                 A      She may have.     Again, this is

   4          years ago, I don't remember.           I mean I deal

   5          with issues of this type almost on a daily

   6          basis.      It is hard to remember the specifics

   7          of any one claim.        But it's possible, I just

   8          don't recall.

   9                 Q      Now, there's also a question of

  10          the go down to the NYCERS pension status

  11          membership.        Did Dr. Kaye ever raise any

  12          questions about her NYCERS pension status?

  13                 A      Not that I recall.       It's not

  14          impossible, she may have.          Again, I don't

  15          recall.

  16                 Q      And then was there a time where

  17          Dr. Kaye raised any concern about her title

  18          being changed from medical director?

  19                             MS. CANFIELD:    Objection to

  20                     form.    You can answer.

  21                 A      Again, it's possible, but I don't

  22          recall specifically.

  23                 Q      And last but not least, did Dr.

  24          Kaye ever raise any concerns or any issues

  25          about having to report to Rikers Island or
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   1                                J. WANGEL

   2          city court clinics in different boroughs

   3          during the course of your tenure there in

   4          CHS?

   5                 A      I remember the Riker's

   6          conversation, and the court clinics are

   7          obviously not on Rikers.          Different

   8          boroughs, I don't recall that piece of the

   9          conversation.       But again, it's a while back,

  10          so I don't recall specifically.

  11                 Q      So I'm going to get in some more

  12          exhibits, so maybe perhaps this will refresh

  13          your memory some; fair enough?

  14                 A      Yeah.

  15                 Q      So the first exhibit I'm going to

  16          show you -- I guess this will be the third

  17          exhibit.      This will be Plaintiff's Exhibit

  18          No. Three.

  19                              (Whereupon, e-mail (NYC_250 -

  20                              251) was marked as Plaintiff's

  21                              Exhibit 3 for identification as

  22                              of this date.)

  23                 Q      I'm going to share the screen.

  24                           MS. CANFIELD:      Counsel, I just

  25                     want to ask the exhibits that you
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   1                                J. WANGEL

   2                     sent over to me early this morning

   3                     they are not actually in order or

   4                     they are not marked as P1, P2, P3.

   5                     They are just a bunch of documents.

   6                             MS. HAGAN:   I'm aware of that.

   7                             MS. CANFIELD:    So that's

   8                     correct?

   9                             MS. HAGAN:   I'm aware of that.

  10                             MS. CANFIELD:    Okay.

  11                             MS. HAGAN:   So you have the

  12                     exhibits as per the Court's order.

  13                             MS. CANFIELD:    But they are

  14                     not marked as exhibits.

  15                             MS. HAGAN:   The Court ordered

  16                     me to give you exhibits and you have

  17                     them.

  18                             MS. CANFIELD:    I'll followup

  19                     with the Court.

  20                 Q      Now, Exhibit Three.

  21                             MS. HAGAN:   The exhibit is not

  22                     premarked, so you got them as I have

  23                     them.

  24                 Q      Exhibit Three, Mr. Wangel, it

  25          bears the bate stamp series NYC_251, and
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   1                                 J. WANGEL

   2          it's an e-mail from Ms. Laboy to you and Dr.

   3          Kaye.      And it was sent on Wednesday

   4          May 30, 2018.

   5                           You see that right.

   6                 A         E-mail on top of the screen, yes.

   7                             MS. CANFIELD:    Ms. Hagan, you

   8                     gave one Bate Stamp, but this

   9                     appears to be a two-page document.

  10                             MS. HAGAN:   That's it.

  11                             MS. CANFIELD:    It's a two-page

  12                     document.

  13                             MS. HAGAN:   I'm sorry.     It

  14                     will be NYC_250 to NYC_251, that's

  15                     Exhibit Three.     My apologizes.

  16                 Q         Have you had an opportunity to

  17          read all of the initial page?

  18                 A         I haven't read anything yet.       I

  19          scrolled back and forth.

  20                             MS. CANFIELD:    Can you make

  21                     this bigger, so we can see the whole

  22                     page.     It will make it easier and, I

  23                     think, quicker for all of us to read

  24                     it.     There's only three quarters on

  25                     the screen.
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   1                               J. WANGEL

   2                           MS. HAGAN:     This is as big as

   3                     I can get.    I don't have a large

   4                     computer screen.     Sorry,

   5                     Ms. Canfield.

   6                 A      What I am directly going to?

   7                 Q      So the first e-mail Dr. Kaye

   8          actually emails you on May 30, and she said

   9          I just spoke with Nicole at NYCERS pension.

  10          She checked with her supervisor and told me

  11          that NYCERS has no information or no

  12          indication that any CHS employee is or will

  13          be a member of NYCERS.         She says, therefore,

  14          under CHS I will not continue to accrue

  15          service time toward my pension, nor will

  16          adjustments in my final rate be changed

  17          based on future salary increase.            NYCERS

  18          told me to contact my union in HR

  19          department.      It sounds like this compulsory

  20          change of my line from BHC to CHS is going

  21          to cause me to lose an accrued service time

  22          going forward and negatively impact my final

  23          pension situation.         This is intolerable.

  24          I'm seeking to remedy this problem.            Any

  25          assistance you can provide me with will be
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   1                               J. WANGEL

   2          appreciated.      Right?

   3                       Then, I guess, Ms. Laboy gets back

   4          to Dr. Kaye; is that right?

   5                 A     There's a response from Ms. Laboy

   6          in the e-mail, yes.

   7                 Q     Did you look into, I guess, Dr.

   8          Kaye's concerns regarding the pension?

   9                 A     Me personally?      I don't recall

  10          that I did.      Typically NYCERS doesn't speak

  11          to anybody but the pension member about any

  12          specific employee that's the case across the

  13          board.

  14                       Dr. Kaye's original e-mail

  15          references somebody named Nicole.            I don't

  16          know who Nicole is at NYCERS.           I don't know

  17          what the basis of that conversation was.

  18          There are folks who handle benefits for

  19          Health and Hospitals.         And Ms. Fong, who is

  20          copied on the next e-mail, she is the

  21          correct liaison for the central office that

  22          handles the NYCER issues.

  23                 Q     Now, do you recall the outcome of

  24          this inquiry in this instance?

  25                 A     I have not.
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   1                               J. WANGEL

   2                 Q     Do you recall whether or not CHS,

   3          the other Bellevue employees that

   4          transitioned to CHS whether or not their

   5          pensions actually transitioned as well?

   6                 A     I don't recall having any

   7          conversation about it.         Yeah, it's possible,

   8          but I don't recall the specifics.

   9                 Q     Did anyone else who transitioned

  10          in Bellevue to CHS reach out to you or any

  11          one in your office regarding NYCERS?

  12                 A     Again, it's possible, but I don't

  13          recall specifics if they did.

  14                 Q     Now, I'm going to show you another

  15          e-mail regarding Dr. Kaye and the issues

  16          with her retention bonus.

  17                       Do you recall if there were any

  18          discussions about that with her office or a

  19          Colleen Barrow by any chance?

  20                 A     Colleen started working for

  21          payroll also.       Again, it's a while back.         I

  22          don't recall the specifics.

  23                 Q     I'm going to show you the initial

  24          discussion first.        Perhaps that will jog

  25          your memory some.
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   1                               J. WANGEL

   2                              (Whereupon, e-mail (NYC_594-595)

   3                              was marked as Plaintiff's

   4                              Exhibit 4 for identification as

   5                              of this date.)

   6                 Q      And for purposes of the discussion

   7          this will be marked as Plaintiff's Exhibit

   8          Four.      And Plaintiff's Exhibit Four bears

   9          the bate stamp series NYC_594, NYC_595.

  10                        And, I guess, for purposes that

  11          you get the full picture of what transpired

  12          here, I'm going to have you start at the

  13          bottom of the exhibit.

  14                        It's dated September 26, 2016.

  15          Who is Angela Mulett?

  16                 A      I don't know.     I don't recall.

  17          This.      If you scroll a little bit, I believe

  18          looking at this these are the hours worked

  19          working at Bellevue.        Without seeing the

  20          entire chain I would imagine that Angela

  21          probably works for the payroll at Bellevue

  22          or Correctional Health.         The site -- looks

  23          like the hours worked.

  24                 Q      It looks like Ms. Mullet's e-mail

  25          address has an NYCHHC.org post, would that
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                                                                  Page 48
   1                                 J. WANGEL

   2          have placed her somewhere else outside of

   3          HHC systems?

   4                 A      Everybody at Health and Hospitals

   5          has that same -- that's everybody who works

   6          for the system.

   7                 Q      At this time there was a full

   8          transition for former Bellevue employees to

   9          the NYCHHC post at that point; am I right?

  10                             MS. CANFIELD:    Objection to

  11                     form.    Vague and ambiguous.

  12                 Q      This will be September 2018,

  13          right?

  14                 A      I'm confused.     So everybody,

  15          Correctional Health included, are all part

  16          of Health and Hospitals as a corporation.

  17          There's all one employer.          There's no

  18          separate employers there.

  19                 Q      At any point did Bellevue

  20          employees have a Bellevue host for their

  21          e-mail?

  22                             MS. CANFIELD:    Objection.

  23                 A      Sorry.     Not that I'm aware of.       I

  24          mean I believe every H&H paid employee has

  25          that same host address no matter where you
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                                                                  Page 49
   1                               J. WANGEL

   2          work.      The post site, docs site, personal

   3          health --

   4                 Q      To Bellevue too?

   5                 A      That's my understanding.

   6                 Q      I'm going to scroll up so you can

   7          see more.      Matthew Campese, who is he?

   8                 A      He ran good relations for the

   9          system, the entire Health and Hospitals

  10          system.

  11                 Q      So he presided over labor and

  12          relations for all of Health and Hospitals;

  13          is that right?

  14                 A      Generally, yes.      Correctional

  15          Health was a little bit different than the

  16          rest.      So they had a little bit more

  17          independence -- than other sites throughout

  18          the system.

  19                 Q      And Mr. Campese title at this

  20          time, what was it?

  21                 A      He was the assistant vice

  22          president.

  23                 Q      Of what?

  24                 A      Labor Relations.

  25                 Q      And now in that capacity were you
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                                                                  Page 50
   1                               J. WANGEL

   2          reporting to Mr. Campese or were you

   3          somewhere else?

   4                           MS. CANFIELD:      Objection to

   5                     form. You can answer.

   6                 A      What time period are we talking

   7          about?

   8                 Q      September 2018.

   9                 A      I never directly reported to

  10          Mr. Campese.

  11                 Q      Was he your indirect supervisor?

  12                 A      I wouldn't even say that.        Were

  13          there matters that came up or were there

  14          matters at Correctional Health that I would

  15          include central office labor because it had

  16          other potential impact, yes.           But I never

  17          reported to either directly or indirectly.

  18          But we had open dialogue about matters,

  19          which would go for all clinics.

  20                 Q      So Mr. Campese said, thank you

  21          very much, Angela.        Based on the hours

  22          provided, it would appear that the doctors

  23          full-time employee status during the

  24          required time period is as follows, and then

  25          he list.      At the top of it, for the purposes
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   1                               J. WANGEL

   2          of our discussion, Dr. Kaye is listed at

   3          .67.

   4                       Is that .67 of a 1.0 full-time

   5          employee status?

   6                 A     I can't speak for Mr. Campese, but

   7          the e-mail says FTE status retention amount,

   8          so.

   9                 Q     I'm asking you about the decimal,

  10          the .6700s, is that a percentage of the

  11          full-time employment status that he's

  12          representing that she's not working

  13          full-time; is that what that means?

  14                 A     Again, that's what I would say.

  15          Again, I can't speak for Mr. Campese, but

  16          the .67 I believe is out of 1.0 FTE status

  17          with 1.0 FTE being a full 4000 and .67

  18          representing --

  19                 Q     And consistent with that he

  20          estimates that Dr. Kaye would be entitled to

  21          13,400, right?

  22                 A     Based on what the e-mail says,

  23          yes.

  24                 Q     Yes.    So then the other

  25          individuals here, are you aware of what
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                                                                  Page 52
   1                                J. WANGEL

   2          their status was within the CHS system?

   3                             MS. CANFIELD:    Objection as to

   4                     form.    You can answer.

   5                 A      I believe they were all part of

   6          FTE as well.

   7                 Q      Now, Dr. Kaye was a central

   8          director; you remember that right?

   9                 A      I do.

  10                 Q      Now Dr. Solanky (phonetic), was he

  11          or she a center director?

  12                 A      I don't recall the titles of the

  13          other three.

  14                 Q      Would it be fair to say that the

  15          other three were phycologist at the

  16          Manhattan center?

  17                 A      They could have been.       Again, I

  18          don't recall their exact titles.

  19                 Q      Let's see how much remember as far

  20          as the directors are concerned.           Dr. Kaye

  21          was definitely a director of the Bronx Court

  22          clinic; would that be fair to say?

  23                 A      I do recall that, yes.

  24                 Q      Dr. Owen was director of the

  25          Brooklyn or Queens court at any given point;
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   1                                 J. WANGEL

   2          is that right?

   3                             MS. CANFIELD:    Objection as to

   4                     form.     You can answer.

   5                 A      I believe so.

   6                 Q      Dr. Winkler eventually became the

   7          director of the Brooklyn court center; is

   8          that right?

   9                 A      Again, hard to recall, but I know

  10          the name.      I know he's a director.        I don't

  11          recall when, where for which borough, but.

  12                 Q      And Dr. Mundy would have been the

  13          director of the Manhattan center; am I

  14          right?

  15                 A      I believe that's correct.

  16                 Q      So it's fair to say that neither

  17          Dr. Solanky, Dr.Weiss and Dr. Harper for

  18          those time periods were not directors of any

  19          centers at that time; would that be fair?

  20                             MS. CANFIELD:    Objection as to

  21                     form.     You can answer.

  22                 A      To my knowledge I believe that's

  23          correct.      Yes.

  24                 Q      And Mr. Campese then emails you

  25          directly on September 26.          And at that
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                                                                   Page 54
   1                               J. WANGEL

   2          time -- well, you e-mail him first.            I'm

   3          sorry I skipped over something.

   4                       Then you say to Ms. Mulett.          I'll

   5          confirm first thing tomorrow morning,

   6          Angela.     Thank you.     And it appears that

   7          there was an e-mail that's, I guess, took

   8          place in between here and your e-mail, but

   9          we don't have that e-mail.

  10                       So I have to follow up on that

  11          with counsel, and I'll be sure to put that

  12          in writing for her to take it under

  13          advisement.

  14                           MS. CANFIELD:      What are you

  15                   asking for.

  16                           MS. HAGAN:     I'm asking for the

  17                   e-mail that Mr. Mr. Wangel actually

  18                   received again from Ms. Mulett in

  19                   the between the one that he received

  20                   from Mr. Campese.       There had to have

  21                   been another e-mail.

  22                           MS. CANFIELD:      So you based on

  23                   that on what?      The testimony of the

  24                   witness.

  25                           MS. HAGAN:     I'm basing it on
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                                                                   Page 55
   1                               J. WANGEL

   2                     the contents of the e-mail.        Mr.

   3                     Wangel is responding to something to

   4                     Angela and that e-mail is missing.

   5                     So I'll followup in writing and I

   6                     know you'll take it under

   7                     advisement.

   8                           MS. CANFIELD:      Mr. Wangel, you

   9                     can testify.

  10                 A      I think -- can you scroll down a

  11          little bit it may be helpful.           Hang on.     So

  12          Matt Campese is writing.         So scroll up a

  13          little bit.      So that's Matt writing to, but

  14          he says, Jonathan, if you can confirm that

  15          these doctors are board eligible, right?              So

  16          that's Matt asking me something.            And I'm

  17          thanking Angela for providing the

  18          information, and I'm writing to Matt to say

  19          I'll confirm follow up with this thread.

  20                              (Reporter clarification.)

  21                 A      The e-mail from Mr. Campese says,

  22          Jonathan forward, and then he ask the

  23          question, can you please confirm.            So my

  24          response to Matt is, I'll confirm first

  25          thing tomorrow and I'm also thanking Angela
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   1                               J. WANGEL

   2          for informing me.

   3                 Q      Now, I'm going to ask you some

   4          general questions.

   5                        How often would you say during the

   6          time that you're working at CHS that, did

   7          you interact with Dr. Kaye?

   8                 A      Again, we had a conversation

   9          before the transition, and then that I

  10          recall meeting prior to the filing of this

  11          claim.      Where I believe Mr. Santa Maria

  12          advised counsel, and Dr. Kaye had a whole

  13          bunch of questions about the time keeping

  14          issues.      And I pulled the time sheet records

  15          and tried my best to explain to her whatever

  16          I could best concerns that they had.

  17                        As far as work, work doesn't

  18          overlap.      I don't recall any work-related

  19          item.      And otherwise via e-mail, I would

  20          say.

  21                 Q      Did you have any impression of Dr.

  22          Kaye during your time there?

  23                 A      I'm not sure what you mean.

  24                 Q      I mean did you take a position as

  25          to the type of professional Dr. Kaye was
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                                                                  Page 57
   1                               J. WANGEL

   2          during the course of your employment at CHS?

   3                 A      No.   Not exactly sure what you

   4          mean, but everybody is a professional

   5          everybody.      All there health professionals

   6          in one way or another, we're all on the same

   7          team.      I do the same thing out every day.          I

   8          don't have any pre-formed opinions or

   9          anything like that --

  10                 Q      Did you hear any, I guess,

  11          commentary about Dr. Kaye from Dr. Yang?

  12                           MS. CANFIELD:      Objection to

  13                     form. You can answer.

  14                 A      I'm not sure what you mean by the

  15          commentary.

  16                 Q      Well, did Dr. Yang ever discuss

  17          Dr. Kaye with you?

  18                 A      We had discussions.       Hard to

  19          remember specifics about topics involving

  20          Dr. Kaye.      I don't know if we really had

  21          conversations about Dr. Kaye as a person, if

  22          that's what you're asking.

  23                 Q      What topic did you have that

  24          involved Dr. Kaye?        What topics of

  25          discussion did you have with the Dr. Yang
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                                                                  Page 58
   1                                J. WANGEL

   2          that involved Dr. Kaye?

   3                 A      It would had to have been a labor

   4          relations matter.

   5                 Q      Like what?

   6                 A      Privacy issue.

   7                 Q      You said a privacy issue.        Now,

   8          what do you recall about the privacy issue?

   9                 A      I assume you're aware that there

  10          was an instance of recording that Dr. Kaye

  11          did for a court proceeding.

  12                 Q      Were there any other impressions

  13          that Dr. Yang conveyed to you about Dr.

  14          Kaye?

  15                           MS. CANFIELD:      Objection to

  16                     form. You can answer.

  17                 A      Yeah.   You said any other

  18          impression?      I'm not sure I understand what

  19          was the first impression.

  20                 Q      Did she ever criticize Dr. Kaye to

  21          you?

  22                 A      Not that I recall.

  23                 Q      Had you ever heard any complaints

  24          about Dr. Kaye?

  25                 A      Did I hear complaints about Dr.
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   1                                 J. WANGEL

   2          Kaye?      Not that I recall.

   3                 Q      Did you have any complaints about

   4          Dr. Kaye?

   5                 A      Not that I recall.

   6                 Q      So let's continue with the

   7          retention stuff.

   8                        So here we had a discussion about

   9          the initial calculation of Dr. Kaye's time,

  10          right?      I'd like to ask you what steps were

  11          taken to determine whether or not Dr. Kaye

  12          was actually a full-time employee or a

  13          part-time employee?

  14                 A      You're talking about in relation

  15          to the e-mail with the FTE calculation?

  16                 Q      Yes.

  17                 A      That would have been done by her

  18          former site.         Correctional health would not

  19          have records from Bellevue.

  20                 Q      So you're saying Correctional

  21          Health would have had to obtain the records

  22          from Bellevue, and then Correctional Health

  23          would have had to take what Bellevue

  24          represented as her actual work status; would

  25          that have been accurate?
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   1                                 J. WANGEL

   2                             MS. CANFIELD:    Objection to

   3                     form. You can answer.

   4                 A      I believe that's correct.        That's

   5          why Ms. Mulett was the one making the

   6          calculations, she works for Bellevue or had

   7          worked for Bellevue.

   8                 Q      She had worked for Bellevue, but

   9          then she transitioned, right?

  10                 A      I don't recall.      Angela, you're

  11          talking about?

  12                 Q      Yes.

  13                        On September 26, 2018, would it be

  14          fair to say Ms. Mulett was working for CHS,

  15          or was she still working for Bellevue?

  16                             MS. CANFIELD:    Objection to

  17                     form.     You can answer.

  18                 A      I don't recall Ms. Mulett working

  19          for CHS.      That, I don't recall.       I don't

  20          know.

  21                 Q      I'm going to show you what's going

  22          to be marked as Plaintiff's Exhibit Five.

  23                               (Whereupon, e-mail (NYC_609-611)

  24                               was marked as Plaintiff's

  25                               Exhibit 5 for identification as
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                                                                  Page 61
   1                               J. WANGEL

   2                              of this date.)

   3                 Q     Plaintiff's Exhibit five bears the

   4          bate stamp series NYC_609, NYC_610, NYC_611.

   5                       And it starts with the same, I

   6          guess, time analysis from Ms. Mulett on

   7          September 26, 2018.        You see that, right?

   8                 A     I do.

   9                 Q     Did you need to look at it again

  10          or should I scroll up?

  11                 A     You can scroll up.

  12                 Q     So then it has the same break

  13          down, total discussion of the total work

  14          hours.     It's from Mr. Campese to Ms. Mulett;

  15          you see that, right?

  16                 A     I do.

  17                 Q     And Mr. Campese addresses it to

  18          you as well; you see that, right?

  19                 A     Yeah.    The e-mail is to me and he

  20          asked me to --

  21                 Q     You and Mr. Campese worked

  22          together in CHS; is that right?

  23                 A     No.

  24                 Q     Where is Mr. Campese?

  25                 A     At what point in time?
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                                                                  Page 62
   1                                J. WANGEL

   2                 Q     At this point in time in September

   3          26, 2018.

   4                 A     Mr. Campese works at the mayor's

   5          office.

   6                 Q     That's where he worked in

   7          September 26, 2018?

   8                 A     He worked for the central office.

   9                 Q     Just for purposes of clarity of

  10          the record, when you're saying the central

  11          office, central office means H&H's central

  12          office?

  13                 A     Right.

  14                 Q     At 55 Water Street.

  15                 A     They have a number of buildings,

  16          but that's one where he was working, yes, at

  17          55.

  18                 Q     That is where he was working

  19          Mr. Campese?

  20                 A     I believe so.

  21                 Q     And where were you working

  22          exactly, physically?

  23                 A     Fifty-five Water Street.

  24                 Q     And you were at CHS at that time;

  25          am I right?
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   1                               J. WANGEL

   2                 A     That's correct.

   3                 Q     Now, I'm going to scroll up, and

   4          I'm not sure if I'm going to get this one

   5          right, but this Kerry Kolodziejski,

   6          basically he is emailing Mr. Campese and

   7          yourself.     And the subject is total work

   8          hours; you see that, right?

   9                 A     Yes, I do.     It's a variation

  10          sheet.

  11                 Q     And Kerry says just checked the

  12          percentage of FTE of 20k and came up with

  13          the same numbers you provided below; you see

  14          that, right?

  15                 A     I can see it.

  16                 Q     So then we go up.       And then you

  17          say, I confirmed all the list are board

  18          certified in psychiatry.         Do you need me to

  19          send supporting documentation?

  20                       You see that, right?

  21                 A     I do.

  22                 Q     Now, when you say you have

  23          confirmed they are all board certified, are

  24          you saying that they are, that all their

  25          licenses are current, or if they are
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                                                                  Page 64
   1                               J. WANGEL

   2          certified in a given area of psychiatry?

   3                 A     I believe it's an area of

   4          psychiatry.      Yeah, the area of the

   5          psychiatry.

   6                 Q     So then Mr. Campese then emails

   7          you back.     Mr. Wangel on September 27.          He

   8          said I don't think we need it.           Your

   9          confirmation should be good enough.             Diane,

  10          can the below docs be added to the payment

  11          list at the amount listed below.

  12                       So you all are making the

  13          determination that Dr. Kaye is entitled to a

  14          part-time or partial payment based on the

  15          representations of Ms. Mulett who you

  16          testified did not work at H&H at that time.

  17                 A     That's incorrect.

  18                 Q     Okay.    So explain.

  19                 A     So Ms. Mulett I believe, I don't

  20          know, but by virtue of the fact that she has

  21          an NYC e-mail address I'm assuming she

  22          worked at Bellevue, if not, she could have

  23          worked for the central office.           But she's an

  24          H&H employee.

  25                 Q     Okay.    So you earlier testified
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   1                               J. WANGEL

   2          that Bellevue would have had these payroll

   3          records and time of leave records and they

   4          would have been the entity that would have

   5          determined whether or not Dr. Kaye was a

   6          full-time employee or a part-time employee,

   7          right?

   8                 A     They don't determine whether or

   9          not people are part-time.          All they do is

  10          calculation based on hours worked.            They

  11          review the time records of the actual hours

  12          worked, which is what Ms. Mulett did, and

  13          break down the .67, part of the e-mail

  14          chain.     That's how the payment gets

  15          calculated.      The facility worked at

  16          determines whatever the FTE status was.

  17                 Q     Who did Ms. Mulett report to?

  18                 A     I don't know.      Again, I believe

  19          she worked for Bellevue or at Bellevue she's

  20          an employee of Health and Hospitals working

  21          at Bellevue.      I would guess.

  22                 Q     Now, you say, FYI, FYI, and you

  23          send this to Ms. Laboy; you see that, right?

  24                 A     I do.

  25                 Q     So what happens after you send
Case 1:18-cv-12137-JPC-JLC Document 225-16 Filed 03/05/22 Page 66 of 319


                                                                  Page 66
   1                                 J. WANGEL

   2          this FYI e-mail to Ms. Laboy; do you

   3          remember any further?

   4                             MS. CANFIELD:    Objection as to

   5                     form.     You can answer.

   6                 A         I don't.   I mean I was sending it

   7          to them to let them know it could be a

   8          process.

   9                 Q         Let's see if this can help.      Going

  10          to show you another exhibit.           This is going

  11          to be Plaintiff's Exhibit Six, and it will

  12          be marked as such.

  13                               (Whereupon, e-mail

  14                               (Kaye3rdProd_68-70) was marked

  15                               as Plaintiff's Exhibit 6 for

  16                               identification as of this date.)

  17                             MS. HAGAN:   Now, I redacted

  18                     this because Dr. Kaye sent this to

  19                     me.     So this portion that's redacted

  20                     is because it's an e-mail to me.

  21                     I'm going down to the portion that

  22                     was part of the original e-mail.

  23                             MS. CANFIELD:    Have these

  24                     documents been produced?

  25                             MS. HAGAN:   Yes, they have.
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                                                                  Page 67
   1                               J. WANGEL

   2                           MS. CANFIELD:        When were they

   3                   produced?

   4                           MS. HAGAN:     I'm not sure,

   5                   Counsel, but they were certainly

   6                   produced as exhibits today, but they

   7                   were also produced.

   8                           MS. CANFIELD:        Did you produce

   9                   a privilege along with the

  10                   redactions?

  11                           MS. HAGAN:     There were no

  12                   privilege logs.

  13                           MS. CANFIELD:        They have

  14                   redacted comments.

  15                           MS. HAGAN:     No.     You received

  16                   these documents with the same

  17                   redactions, and you never raised the

  18                   issue until today.

  19                           MS. CANFIELD:        You just told

  20                   me we got them at 5:00 o'clock in

  21                   the morning, so we would not have

  22                   had an opportunity to review

  23                   everything.      It's the attorney's

  24                   responsibility to provide the

  25                   privilege log.
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   1                                J. WANGEL

   2                             MS. HAGAN:   You had these

   3                     documents already.      I reproduced

   4                     them, so it will be easier to review

   5                     the exhibits, Ms. Canfield.

   6                             MS. CANFIELD:    We'll take this

   7                     up with the Court.

   8                             MS. HAGAN:   Yes, you have

   9                     them.    You'll see that you have them

  10                     in the initial productions.        I just

  11                     produced them again, like you did.

  12                 Q      So for purposes of this deposition

  13          today the documents represented for Exhibit

  14          Six bears the Bates stamp series

  15          Kaye3rdProduction 68, 66, 69, 70.            And for

  16          purposes of Mr. Wangel's review.            First and

  17          foremost you'll see that the document is

  18          from Mr. Santa Maria.

  19                        Do you have any familiarity with

  20          Mr. Santa Maria?

  21                 A      I do.

  22                             MS. CANFIELD:    Objection as to

  23                     form.    You can answer.

  24                 Q      You said you do, right, Mr.

  25          Wangel?
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   1                                J. WANGEL

   2                 A      I do.    He works at Doctors

   3          Counsel.

   4                 Q      Who is he?

   5                 A      He's a representative.

   6                 Q      And then you have the date is

   7          October 4, 2018; you see that, right?

   8                 A      I do.

   9                 Q      And the e-mail -- and Mr. Santa

  10          Maria is addressing Mary Badaracco; do you

  11          recall who that is?

  12                 A      I do not.

  13                 Q      And it CC'd Dr. Kaye and the

  14          subject is Dr. Kaye's retention bonus.

  15          Would it be fair to say that Dr. Badaracco

  16          may have been Dr. Kaye's supervisor while

  17          she was at Bellevue?

  18                             MS. CANFIELD:    Objection to

  19                     form.

  20                 A      I don't know.     It could have been.

  21          I don't know.

  22                 Q      Let's go further.      In this

  23          subsequent e-mail Dr. Badaracco sends an

  24          e-mail to Nate Santa Maria, Todd Hixson and

  25          Jeremy Colley.        Do you know who Jeremy
Case 1:18-cv-12137-JPC-JLC Document 225-16 Filed 03/05/22 Page 70 of 319


                                                                  Page 70
   1                               J. WANGEL

   2          Colley was at that time?

   3                 A       I don't know.

   4                 Q       Do you know who Dr. Colley was at

   5          any given time?

   6                 A       I don't believe so, no.       I don't

   7          recall the name.

   8                 Q       Do you recall the person named

   9          Todd Hixson?

  10                 A       I don't.

  11                 Q       So Dr. Badaracco writes in

  12          response to the subject Dr. Kaye's retention

  13          bonus.       Hi, I'm writing to confirm that

  14          Dr. Kaye was employed full-time as an

  15          attending psychiatrist by Bellevue Hospital

  16          working at the Bronx court clinic from

  17          July 1, 2017, through June 30, 2018, and so

  18          is eligible for the full H&H psychiatry

  19          retention bonus.          Dr. Kaye's paymaster

  20          became H&H Correctional Health on July 1,

  21          2018.

  22                         Did you see this at any point?

  23                 A       I don't recall.     It's possible,

  24          yes.       I'm not copied on this chain.       It's

  25          possible.      I don't recall seeing this --
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                                                                  Page 71
   1                                 J. WANGEL

   2                 Q      Now, Dr. Badaracco was the chief

   3          of psychiatry at Bellevue and Dr. Colley's

   4          boss.      Do you recall that, do you recall

   5          vaguely coming across her name during the

   6          course of the transition?

   7                             MS. CANFIELD:    Objection to

   8                     form.     You can answer.

   9                 A      It's possible, yes, but I don't

  10          recall.

  11                 Q      Let's go to another portion of

  12          this e-mail where you're involved, right.

  13          So Dr. Badaracco then says, I appreciate

  14          working with you on trying to resolve Dr.

  15          Kaye's retention bonus for July 2017 to

  16          June 2018.         As we spoke this afternoon, Dr.

  17          Kaye fulfills all the criteria to receive

  18          the retention payment.         If you are in

  19          agreement, please confirm.

  20                        So, I guess, Mr. Santa Maria was

  21          emailing Dr. Badaracco and Dr. Kaye

  22          confirmed; you see that, right?

  23                 A      I see the e-mail, yeah.

  24                 Q      Now, I'm going to show you another

  25          e-mail.      Then and this will be marked as
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                                                                  Page 72
   1                                J. WANGEL

   2          Plaintiff's Exhibit Seven.

   3                              (Whereupon, e-mail (NYC_797) was

   4                              marked as Plaintiff's Exhibit 7

   5                              for identification as of this

   6                              date.)

   7                 Q     Now, Plaintiff's Exhibit Seven

   8          bears the bate stamp series NYC_797.             And

   9          it's from you, Mr. Wangel, to Ms. Laboy.

  10          I'll give you an opportunity to read it.

  11          And it's dated --

  12                 A     I'm a little confused.         The top of

  13          this says it's from me, but the e-mail says

  14          from Dr. Kaye.

  15                 Q     Right.     It seems you have

  16          something you must have forwarded to --

  17                 A     Right, okay.

  18                 Q     So who's Wayne Myrie; do you

  19          remember him?

  20                 A     Works for the central office

  21          payroll.

  22                 Q     And she puts Dr. Badaracco,

  23          Mr. Santa Maria, Peter Moreinis, Pedro

  24          Rivera, Mr. Campese and Dr. Colley.            Now, do

  25          you recall anyone else on this e-mail
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                                                                  Page 73
   1                                J. WANGEL

   2          thread.      For example, Peter Moreinis, do you

   3          know who he is?

   4                 A      Peter I don't know.       Some of the

   5          folks on this --

   6                 Q      What about Pedro Rivera?

   7                 A      Yeah.

   8                 Q      And who is he?

   9                 A      He was or still is did the

  10          director of labor relations for Bellevue

  11          hospital.

  12                 Q      Now, Dr. Kaye points out that she

  13          worked full-time at Bellevue starting

  14          May 2000 through June 30, 2018.           She

  15          basically points out again she was the

  16          eligible for the full retention payment.

  17          But unfortunately she received a partial

  18          payment because she was incorrectly listed

  19          as part-time by central office.

  20                        You see that, right?

  21                 A      I see that, yes.

  22                 Q      After you received this e-mail,

  23          what did you do?        Do you recall?

  24                             MS. CANFIELD:    Objection to

  25                     form.    Go ahead.
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                                                                  Page 74
   1                                J. WANGEL

   2                 A      I do not.

   3                 Q      What would you have done since you

   4          don't recall what you did in this instance?

   5                 A      The e-mail is from Dr. Kaye to the

   6          central office payroll.         Addressing, again,

   7          for prior work at Bellevue.          Correctional

   8          Health did not have any part in, and did not

   9          do the calculations for.           This is all about

  10          hours worked prior to coming to Correctional

  11          Health.      So, again, in my role at CHS the

  12          calculation is all based on Bellevue

  13          time-keeping records.

  14                        So, again, we would have had been

  15          central office Bellevue working out the

  16          exact hours worked and time to pay to try

  17          and determine to say what entity she was

  18          and --

  19                 Q      Now, at any point did you tell

  20          Nate Santa Maria or Kevin Colley, I guess,

  21          Dr. Yang or Dr. Jain were myths that Dr.

  22          Kaye filed an EEOC charge?

  23                             MS. CANFIELD:     Objection to

  24                     form.    You can answer.

  25                 A      So I'm sorry it froze for like a
Case 1:18-cv-12137-JPC-JLC Document 225-16 Filed 03/05/22 Page 75 of 319


                                                                  Page 75
   1                               J. WANGEL

   2          second.

   3                 Q      Did you either tell Mr. Santa

   4          Maria or Mr. Collins that Dr. Jain and Dr.

   5          Yang were myths that Dr. Kaye had filed an

   6          EEOC charge?

   7                           MS. CANFIELD:      Objection to

   8                     form. You can answer.

   9                 A      I don't believe I said that.

  10                 Q      So you never said that.        And Dr.

  11          Kaye believes and has alleged that this

  12          partial payment of her retention bonus was

  13          in retaliation for her EEOC charge.            Were

  14          you aware that Dr. Kaye at that point had

  15          filed an EEOC charge?

  16                 A      I don't recall.      I don't remember

  17          the timing.

  18                 Q      Do you ever remember that Dr.

  19          Kaye -- at any point did you remember Dr.

  20          Kaye filing an EEOC charge?

  21                 A      I remember this -- I don't recall

  22          the other charge, if there is one.

  23                 Q      I'm going to show you again

  24          another exhibit.       Okay.    I'm going to mark

  25          this as Plaintiff's Exhibit Eight.
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                                                                  Page 76
   1                                J. WANGEL

   2                               (Whereupon, e-mail (NYC_544) was

   3                               marked as Plaintiff's Exhibit 8

   4                               for identification as of this

   5                               date.)

   6                 Q      And Plaintiff's Exhibit Eight

   7          bears the Bates stamp series NYC_544.

   8                        Scroll down to the bottom, so that

   9          you can see this.        The first portion of the

  10          e-mail thread is from Dr. Yang and it's

  11          addressed to, I guess, Dr. MacDonald and Dr.

  12          Ford.      And then you're CC'd along with

  13          Ms. Laboy.

  14                        You see that, right?

  15                 A      I do.

  16                 Q      And then this is dated

  17          September 19.        You see that, right?

  18                 A      Yes.

  19                 Q      And then Dr. Yang then emails you,

  20          Mr. Wangel, again with Ms. Laboy.            And she

  21          CCs Drs. Ross and Ford, and the subject

  22          again is Dr. Kaye, right?

  23                 A      Yes.

  24                 Q      And she ask, can you send us the

  25          full, I guess, ATT A, would that be
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                                                                  Page 77
   1                               J. WANGEL

   2          attachment A?

   3                 A     I was actually trying to figure

   4          out what that was too, but that sounds

   5          plausible.

   6                 Q     Also please clarify this is

   7          appended to the older claim against Bellevue

   8          Hospital corporation alleging gender pay

   9          discrimination, which I thought got

  10          resolved.

  11                       Do you recall Dr. Yang actually

  12          raising this question?

  13                 A     I just remember what you're

  14          showing me in the e-mail thread.

  15                 Q     No.    I'm just asking you whether

  16          or not you had discussions with Dr. Yang

  17          about Dr.Kaye's EEOC charge?

  18                 A     From what I recall -- I mean I do

  19          know there was a claim regarding, I guess,

  20          pay while at Bellevue.         Again, as my

  21          capacity in labor relations I would not get

  22          involved in that type of issue.           It's not a

  23          grievance.      If it's a discrimination claim,

  24          it goes to the EEOC and address like every

  25          other claim, which is why, yes, Blanche
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                                                                  Page 78
   1                               J. WANGEL

   2          Greenfield is involved.

   3                 Q     It appears you have some

   4          involvement this e-mail right above it.

   5          It's from you to Dr. Yang, Ms. Laboy, and

   6          you say I don't have the completed

   7          attachment A.       You have some attachment.

   8          Now, you're saying you're waiting for

   9          Blanche to resend.        We the office of Labor,

  10          OLA, I guess office of labor -- what's the

  11          A?

  12                 A     I'm not sure why it says OLA.

  13                 Q     Was it a typo, you believe?

  14                 A     I'm not sure.      Could be a typo.

  15                 Q     You said you responded to the

  16          older claim, but you do again.           But don't

  17          think there was a final disposition.             OLA

  18          will have to submit an emailed response the

  19          new issues.

  20                 A     The OLA is the office of legal

  21          affairs, but we -- oh, so I'm saying, we, we

  22          as a system, I believe.         Right?    Not, we,

  23          meaning my office at Correctional Health.              I

  24          was not then part of the office of legal

  25          affairs.     I think I responded to the older
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   1                               J. WANGEL

   2          office legal.

   3                              (reporter clarification.)

   4                 A     So in my e-mail the Wednesday,

   5          September 19, 2018, 11:42 a.m. e-mail, I

   6          write, that I don't have the complete

   7          attached A and I'm waiting for Blanche to

   8          resend.     And this in response to Dr. Yang's

   9          e-mail asking me send full attached A.             So

  10          when I write we, we the system, we in a

  11          broader sense, we -- a broader office of

  12          legal affairs, that they, legal affairs,

  13          responded to the older claim, but I don't

  14          think there was a final disposition.             To say

  15          OLA will have to submit an amended response

  16          for the new issues based on this e-mail

  17          complaint.

  18                 Q     So just to be clear were you not a

  19          part of the office of legal affairs at this

  20          time in September 19, 2018?

  21                 A     That's correct.

  22                 Q     Okay.    And then you say that there

  23          was an actual response, which would be akin

  24          to the position statement; would that right?

  25                           MS. CANFIELD:      Objection as to
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                                                                  Page 80
   1                                J. WANGEL

   2                     form.    You can answer.

   3                 A      I guess so.     I don't recall

   4          specifically.       I just remember what you're

   5          showing me now.

   6                             MS. HAGAN:   To the extent they

   7                     exist, I call for the production of

   8                     the Office of Legal Affairs position

   9                     statement to Dr. Kaye's initial EEOC

  10                     complaint.    I'll followup in

  11                     writing, and I'm sure Ms. Canfield

  12                     will take it under advisement, but I

  13                     definitely will put it in writing.

  14                 Q      So then Dr. Yang responds to you

  15          on the 19th, Mr. Wangel, CC'ing Dr. Ross and

  16          Dr. Ford.      Saying, I think Bellevue paid up.

  17          So this new complaint with old complaint

  18          face sheet is puzzling.

  19                        So what does she mean that

  20          Bellevue paid up; what does she mean by

  21          that?

  22                 A      I have no idea.      I don't recall.

  23                 Q      And then you e-mail Ms. Greenfield

  24          and you ask her if she has a minute, right?

  25                 A      That's what it says, yeah.
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                                                                  Page 81
   1                                 J. WANGEL

   2                 Q      Were you directed to reach out to

   3          Ms. Greenfield?

   4                 A      I don't believe so, no.

   5                 Q      You just did so on your own

   6          volition?

   7                 A      Are you asking me?

   8                 Q      Yes.

   9                 A      Again, this is years ago.        I dealt

  10          with Ms. Greenfield on almost --

  11                 Q      Your supervise said she thought

  12          that the issue would be resolved by

  13          Bellevue.      Why would you feel compelled to

  14          reach out to Ms. Greenfield?

  15                             MS. CANFIELD:    Objection as to

  16                     form.     You can answer?

  17                 A      Again, hard to say.       I don't have

  18          it.    I'm not familiar with this, but I'm

  19          reaching out to the party that would.

  20                 Q      Then Ms. Greenfield responds that

  21          she's out for now, right?

  22                 A      That's what the e-mail says.

  23                 Q      Right.     So then I'm going to show

  24          you another document, and this is going to

  25          be Plaintiff's Exhibit Nine.
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                                                                  Page 82
   1                                 J. WANGEL

   2                         Let me share the screen I'm sorry.

   3                         Mr. Wangel, so Plaintiff's Exhibit

   4          Nine bears the Bates stamp series

   5          Kaye3rdProduction 109 through 110, 111, and

   6          112.       And I'm going to start at the bottom

   7          of exhibit, which would be Dr. Kaye's EEOC

   8          charge.      You see this, right?

   9                 A       I do.

  10                              (Whereupon, e-mail

  11                              (Kaye3rdProd_109-111) was marked

  12                              as Plaintiff's Exhibit 9 for

  13                              identification as of this date.)

  14                 Q       Have you seen an EEOC charge

  15          before?

  16                 A       I believe so, yes.

  17                 Q       Now, in this charge Dr. Kaye is

  18          alleging she's been discriminated against

  19          based on her sex.        You see that, right?

  20                           MS. CANFIELD:      Objection.     You

  21                     can answer.

  22                 A       Yeah.

  23                 Q       And she also alleges this is a

  24          continuing action.         You see that, right?

  25                 A       I see the box, yes.
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                                                                  Page 83
   1                               J. WANGEL

   2                 Q     Then Dr. Kaye goes on to say she's

   3          a 55-year-old Caucasian female who worked at

   4          Bellevue hospital and HHC since 1999.             Most

   5          recently as Bronx Court Clinic medical

   6          director.     And she says, she believes she's

   7          been discriminated against based on her sex,

   8          unequal pay act as amended in title 7 as

   9          amended.     Specifically I've been paid less

  10          than the male Manhattan court clinic medical

  11          directors despite having the same title and

  12          job duties.      I've been paid under an

  13          attending three titles since 1999, while the

  14          men that worked at the Manhattan court

  15          clinics medical directors have been paid a

  16          physician specialist title.          The physician

  17          specialist title carries a significant pay

  18          increase and male Manhattan court clinics

  19          medical directors have made significantly

  20          more money than I over the almost past 20

  21          years I have worked there.          I believe I was

  22          given an attending three title and under

  23          paid compared to my male counterparts

  24          because of my sex.        Based on the above I

  25          believe I have been discriminated against
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                                                                   Page 84
   1                                J. WANGEL

   2          because of my sex in violation of the equal

   3          pay act in 1963.         Now, you've seen this,

   4          right?

   5                           MS. CANFIELD:      Objection.       You

   6                     can answer.

   7                 A      I believe so.

   8                 Q      Now, for purposes of just

   9          establishing a bit of a time line.            This

  10          EEOC chart was filed on May 22, 2018.             You

  11          see that, right?

  12                 A      Yes.

  13                 Q      And then Dr. Kaye supplements her

  14          charge, right, and just for purposes of just

  15          seeing this, she supplements her charge in

  16          September of 2018.         That I'm going to allow

  17          you to read the supplement, or at least try

  18          to get through that.         I want you to see what

  19          she alleges here as well.

  20                        Would that be fair?

  21                 A      Sure.

  22                           MS. CANFIELD:      Where does it

  23                     say that it was filed.       I see that

  24                     it was signed, but I don't see where

  25                     this is filed on that date.
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   1                               J. WANGEL

   2                           Am I missing something?

   3                           MS. HAGAN:     Well, we can go to

   4                     that as well.

   5                 A      (Reading.)

   6                 Q      Now, first off I want to establish

   7          the timeframe again.        Which you may have

   8          received this document or seen this document

   9          initially.      Again, going back to Exhibit

  10          Eight.      There is a discussion amongst you,

  11          Dr. Yang and a Ms. Greenfield discussing Dr.

  12          Kaye and the Attachment A, which would have

  13          been found in Exhibit Nine, Attachment A.

  14          You see this, right?

  15                 A      I see it, yes.

  16                 Q      And Exhibit Eight is dated

  17          September 19th.       You see that, right?

  18                           MS. CANFIELD:      I'm sorry,

  19                     where are you saying?

  20                 Q      In the emails from Dr. Yang asking

  21          about Attachment A, which dealt with a

  22          supplemental EEOC charge.          We went through

  23          that.

  24                        So now, I'm going to ask you some

  25          questions about this EEOC charge that Dr.
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                                                                  Page 86
   1                                J. WANGEL

   2          Kaye filed.        First and foremost, did you

   3          remember or recall any of Dr. Kaye's

   4          allegations of gender discrimination based

   5          on pay, and I guess, what you guys would

   6          call functional clout?

   7                             MS. CANFIELD:    Objection to

   8                     form.    You can answer, if you're

   9                     able.

  10                 A      I'm familiar with the underlying

  11          issues that are raised.         As far as the

  12          specific gender, no, I don't remember having

  13          any direct conversations about

  14          discrimination.

  15                 Q      The physician specialist title a

  16          superior title than the attending physician

  17          title?

  18                             MS. CANFIELD:    Objection.     You

  19                     can answer.

  20                 A      I'm actually not certain.

  21                 Q      When this complaint came in, when

  22          this charge came in, did you do any research

  23          to find out whether or not Dr. Kaye's

  24          allegations had any merit?

  25                             MS. CANFIELD:    Objection.     You
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   1                                  J. WANGEL

   2                     can answer.

   3                 A       I don't believe I did.

   4                 Q       Okay.    Why not?

   5                 A       Because in my role at Correctional

   6          Health it wasn't my job.            Discrimination

   7          complaints are addressed by the office of

   8          EEO.       Not by me.

   9                 Q       Now, did you ever -- so let's see.

  10          So you didn't look into this, this

  11          particular complaint, right?            Now, the

  12          discussion that you had between you and

  13          Dr. Yang, Ms. Greenfield and any member of

  14          the H&H management.

  15                         Did you look into any of the

  16          allegations of the supplemental charge of

  17          discrimination that Dr. Kaye filed?

  18                             MS. CANFIELD:      Objection to

  19                     form.    You can answer.

  20                 A       I don't believe so.      I mean I

  21          remember having discussion about -- but not

  22          anything directly in response to this

  23          charge.

  24                 Q       Did Dr. Jain ever reach out to you

  25          and tell you that Dr. Kaye filed a EEOC
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                                                                  Page 88
   1                                J. WANGEL

   2          charge?

   3                 A      I don't recall.

   4                 Q      Now, in her supplemental charge

   5          Dr. Kaye says, Dr. Jain called me the very

   6          next day to inform me that he reported my

   7          actions to Jonathan Mr. Wangel, senior

   8          director of labor relations.

   9                        You see that, right?

  10                 A      I do.

  11                 Q      And you're saying you don't

  12          remember this happened, right?

  13                 A      I don't recall the discussion with

  14          Dr. Kaye about the EEOC charge.

  15                 Q      What about the discussion about

  16          Dr. Kaye's title being reduced from medical

  17          director to director.

  18                        Do you recall that exchange?

  19                             MS. CANFIELD:    Objection as to

  20                     form.    You can answer.

  21                 A      I don't.

  22                 Q      So you're not aware of any

  23          occurrences on July of 2018 where Dr. Kaye

  24          may have circulated the emails expressing

  25          concern about being demoted from medical
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                                                                  Page 89
   1                               J. WANGEL

   2          director to director of the Bronx court

   3          clinic?

   4                           MS. CANFIELD:      Objection.

   5                 A     Yeah, she may have.        Again, this

   6          is a while back.        I don't recall the

   7          specifics.      I'm really not sure --

   8                 Q     Would a functional title change of

   9          this nature been a broken promise by you Mr.

  10          Wangel from that April 30th meeting that we

  11          discussed?

  12                 A     I would say no.

  13                 Q     Why not?

  14                 A     One, the office of labor relations

  15          has nothing to do with the title change.              I

  16          think the title change here was due to

  17          uniformity.      I think there was, if I recall

  18          correctly, everybody functionally had the

  19          same title or the same goal.           When Dr. Kaye

  20          came forward over to CHS as the discussion

  21          we had prior to, no change in compensation,

  22          time, union, pension and everything we

  23          discussed, remained the same.           So...

  24                 Q     But in the April 30th e-mail that

  25          Dr. Kaye sent to you in the wake of this
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   1                                J. WANGEL

   2          meeting one of the things she specifically

   3          asked was whether or not her title changed

   4          from medical director.         According to that

   5          e-mail it appeared that your assured her

   6          that it would not change, you and Ms. Laboy.

   7                        Do you recall that or do we need

   8          to go back to that e-mail?

   9                             MS. CANFIELD:    Objection as to

  10                     form.    You can answer.

  11                 A      Yeah.    We need to go back.       When I

  12          have conversation I'm speaking about civil

  13          service titles, not functional titles.

  14          Right.

  15                 Q      But she specifically said or asked

  16          you about the medical director title, so

  17          let's go back to that.         Because she listed

  18          --

  19                 A      Can I just say -- I would never

  20          make an assertion that in perpetuity, the

  21          title wouldn't change, the issue wouldn't

  22          change.      I mean nobody is guaranteed the

  23          exact same circumstances for the entirety of

  24          their employment for the future.            I could

  25          never make a claim that way.
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   1                               J. WANGEL

   2                       When I spoke to Dr. Kaye we were

   3          talking about compensation based items,

   4          along with, again, union membership,

   5          pension, things like that.          Between myself

   6          and Ms. Laboy and everything else would

   7          remain the same as far as compensation,

   8          time, pension, all of that stuff.

   9                 Q     I want to direct your attention to

  10          Exhibit Two, which bears bate series NYC_513

  11          and then number 14.        And Dr. Kaye asked you

  12          from based on her, from the conversation she

  13          had with you and Ms. Laboy during that

  14          meeting, right.       Number 14, she says, my job

  15          description and title of medical director

  16          remained unchanged.        Right?    I will continue

  17          to perform forensic psychiatric evaluations

  18          at the Bronx criminal supreme courts and

  19          provide administrative functions at the

  20          Bronx Court clinic.

  21                       Now, she clearly she believed that

  22          after her conversations with the two of you

  23          that she was going to continue in her

  24          capacity after the transition to CHS.             Is

  25          that clear from just this e-mail on
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   1                               J. WANGEL

   2          April 30?

   3                           MS. CANFIELD:      Objection.     You

   4                     can answer.

   5                 A      All I see from this e-mail from

   6          April 30th is what Dr. Kaye is -- exactly

   7          what's here in this e-mail.          She's says my

   8          current benefits at Bellevue are, and goes

   9          through a list of items.

  10                 Q      At any point if she was mistaken,

  11          Mr. Wangel, why did didn't you correct her

  12          because this is clearly her synopsis of the

  13          meeting?      If she was incorrect, why didn't

  14          you correct her, if that was the case?

  15                           MS. CANFIELD:      Objection to

  16                     form. You can answer.

  17                 A      I'm looking.     I am almost positive

  18          I had multiple conversations with Dr. Kaye

  19          and doctor's counsel about these issues.

  20          Again, I am not in charge of health

  21          services, I am not in charge of FPECC and I

  22          can not assert with all perpetuity that all

  23          of those items would remain unchanged.

  24                        At the time of the transition, I

  25          provided as much information as I could to
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                                                                    Page 93
   1                                J. WANGEL

   2          try to help Dr. Kaye -- give her information

   3          about benefits, time, all that stuff.             I

   4          mean it was never, none of this was ever

   5          done in any intention with malice or to

   6          reduce compensation or anything like that.

   7                       Can I say I've never corrected any

   8          of those items, no.        You're showing a list

   9          of 14 or 15 items that Dr. Kaye is saying

  10          these are her current duties.

  11                 Q     Now, I'm going to go back to

  12          Exhibit Two.        Now, Exhibit Two, was dated

  13          April 30; you see that, right, Exhibit Two?

  14                 A     Yes.

  15                 Q     Now, Exhibit Nine, which is Dr.

  16          Kaye's EEOC charge was dated May 22, 2018.

  17          You see that, right?

  18                 A     I see the signature.

  19                 Q     Now, I'm going to show you what

  20          will be marked as Exhibit Ten.           Now, the

  21          Exhibit Ten bears the Bates stamp series

  22          NYC_259.

  23                              (Whereupon, e-mail (NYC_259) was

  24                              marked as Plaintiff's Exhibit 10

  25                              for identification as of this
Case 1:18-cv-12137-JPC-JLC Document 225-16 Filed 03/05/22 Page 94 of 319


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   1                                J. WANGEL

   2                              date.)

   3                 Q      I'm going to give you an

   4          opportunity to review the exhibit before you

   5          get a chance to talk about it.           Now, again,

   6          it starts with the discussion on April 30th.

   7          You see that, right?

   8                 A      I do.

   9                 Q      As we scroll up there's an e-mail

  10          from Dr. Kaye to Dr. Jain and CC'd

  11          Ms. Swenson, and it's dated Monday, June 4,

  12          2018.      You see that, right?

  13                 A      I do.

  14                 Q      Just to kind of have a clear

  15          record.     On June 4, 2018, Dr. Kaye says:

  16          Hi, Beesh.      I wanted to loop you in on my

  17          situation since I'm not sure what's been

  18          communicated to you and Andrea.           I have

  19          worked at the Bellevue hospital Bronx court

  20          clinics since 1999.        And I have been medical

  21          director from 2004 to the present.            My

  22          current line is being transferred from

  23          Bellevue to CHS under the auspices of HHC

  24          regarding my position benefits titled job

  25          description, etc, CHS HR and Doctors'
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   1                                 J. WANGEL

   2          Council union reached an agreement in

   3          February 2018 that everything will stay the

   4          same and nothing will change.           The funding

   5          of my line and reporting structure, however,

   6          will change.      I will report to you rather

   7          than Jeremy Colley, and I will be paid by

   8          CHS rather than Bellevue.

   9                        Now, just to be clear the

  10          conversation that Dr. Kaye memorialized to

  11          the extent that she could took place on

  12          April 30.      You see this, right?

  13                           MS. CANFIELD:      Objection.     You

  14                     can answer.

  15                 A      I see the e-mail dated April 30.

  16                 Q      Right.     Then on June 4th, she's

  17          having a discussion with Dr. Jain about her

  18          title being changed and who she reports to

  19          being changed.

  20                        You see that, right?

  21                 A      I do.

  22                 Q      So do you recall who was

  23          responsible for changing who Dr. Kaye

  24          reports to?

  25                 A      I mean I know I can recall the
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                                                                  Page 96
   1                               J. WANGEL

   2          hierarchy of the leadership structure.             I

   3          don't know who ultimately made the decision.

   4                 Q     Well, did you play a part in

   5          making the decision in her reporting

   6          structure would change?

   7                 A     No.

   8                 Q     Then Dr. Jain responds.         Thought

   9          you should be aware of this from Melissa,

  10          this all started with the business cards

  11          being -- I guess he's emailing Dr. Ford.

  12          Thought you should be aware of this from

  13          Melissa.     This all started with the business

  14          cards being ordered as Director for court

  15          clinic directors.        I also looked at the

  16          positing and my own hiring paperwork, and it

  17          indicates the position as director.            Not a

  18          problem, but just so you know, the

  19          designations was out of left field.

  20                       So did you ever speak to Dr. Jain

  21          about the title change?

  22                 A     It's possible, but I don't recall

  23          specifically.

  24                 Q     Did you ever speak to Dr. Ford

  25          about the title change?
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                                                                  Page 97
   1                                J. WANGEL

   2                 A      Same.    Possible.    I don't recall

   3          any specific conversations about it.

   4                 Q      So do you recall Dr. Kaye raising

   5          this issue with you or having questions

   6          about why this title change and she believed

   7          whether or not it was in retaliation for her

   8          complaint?

   9                             MS. CANFIELD:    Objection as to

  10                     form.    You can answer.

  11                 A      I just remember the issue in

  12          general.      I don't remember a specific

  13          conversation.        If I recall correctly the

  14          position as director was just the sort of

  15          had uniformity from site to site.            That's

  16          all I recall about this.

  17                 Q      You said knew that it involved a

  18          matter of having uniformity from site to

  19          site.

  20                        Why are you privy to this effort,

  21          if you had no part in the decision-making

  22          process, Mr. Wangel?

  23                             MS. CANFIELD:    Objection.

  24                     Argumentative.     You can answer.

  25                 A      I mean there were so many other
Case 1:18-cv-12137-JPC-JLC Document 225-16 Filed 03/05/22 Page 98 of 319


                                                                   Page 98
   1                               J. WANGEL

   2          issues raised by Dr. Kaye I can't recall

   3          some of the conversations I had.            Honestly,

   4          I don't recall.       I don't have a role when it

   5          comes to what title --

   6                 Q     You said there were so many issues

   7          being risen by Dr. Kaye.         What do you mean

   8          by that?

   9                 A     I dealt with Dr. Kaye, Doctors'

  10          Council on a whole bunch of time keeping

  11          issues, lunch break, pay issues.            Pretty

  12          much everything we discussed thus far today.

  13                 Q     And did you resolve any of those

  14          issues?

  15                 A     You'd have to be more specific.

  16                 Q     Well, let's go back to the

  17          retention bonus.       We didn't quite finish

  18          that.

  19                       Now, the exhibit that's going to

  20          be shown here will be marked as Plaintiff's

  21          Exhibit 11.      It bears the bait stamp series

  22          NYC_886, NYC_882, NYC_883, NYC_884, 885,

  23          886, 887 and 888.

  24                              (Whereupon, e-mail (NYC_882-888)

  25                              was marked as Plaintiff's
Case 1:18-cv-12137-JPC-JLC Document 225-16 Filed 03/05/22 Page 99 of 319


                                                                  Page 99
   1                               J. WANGEL

   2                              Exhibit 11 for identification as

   3                              of this date.)

   4                 Q     Now, it should be noted that

   5          Defendant's production.         This is how it

   6          looked, how it was produced.            If you prefer

   7          to read it in this current capacity

   8          especially pages of 888, 887, 886 and 885,

   9          please let me know.        That's going to be

  10          pretty hard to read, but it's up to you.

  11                 A     I'm fine.

  12                 Q     So again, we have the same

  13          announcement that we discussed earlier,

  14          designating Dr. Kaye to a part-time status.

  15          You see that, right?

  16                 A     .67.

  17                 Q     Right, and $13,400 retention.          And

  18          then the confirmation from Kerry

  19          Kolodziejski of the percentage of 20,000

  20          that the purported .67, I guess, board

  21          status would have equated to.           Then you said

  22          you confirmed them all again.           So these are

  23          the earlier emails that we went through, and

  24          then let's see.       Let's keep going.

  25                       Here it is.      Then on
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                                                                 Page 100
    1                              J. WANGEL

    2          November 14, 2018.       You said these were the

    3          calculations on Kaye, which appear to be

    4          double checked.       Possible they can prepare a

    5          breakdown that we can forward to Doctors'

    6          Council and Kaye.       What did you mean by

    7          that?     Do you remember?

    8                A      Yeah, sure.     So I think we were

    9          trying to provide Doctors' Council with back

  10           up of how it was derived.         It's not just

  11           somebody in payroll saying .67.           We wanted

  12           to show exactly how we came to that .67.

  13                 Q      Then we go to Colleen Barrow.

  14           Where does Ms. barrow work at this time; do

  15           you know?

  16                 A      She was at Correctional Health the

  17           last time -- I haven't talk talked with her,

  18           Ms. barrow in a while.        I'm not sure since

  19           COVID.

  20                 Q      What unit was she working in?

  21                 A      Payroll.

  22                 Q      Was she working with you?         You

  23           were in labor relations, and payroll, Is

  24           that a unit that worked closely together

  25           with labor relations, or was it just a
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                                                                 Page 101
    1                              J. WANGEL

    2          different side of it?

    3                A      It's not assumably a part of the

    4          Department of Labor, but there was a

    5          transition to a electronic time keeping at

    6          Correctional Health, which required a whole

    7          lot of union.      So early on -- time keeping

    8          was certainly a challenge.          It's a different

    9          pay Kronos.     Eventually we went to

  10           electronic time keeping.         So at one point

  11           time keeping did fall under my purview.

  12           There was Ms. Barrow was a member of

  13           payroll.

  14                 Q      So Ms. barrow was a member of

  15           payroll team who worked under you at one

  16           time; is that right?

  17                 A      That's correct.

  18                 Q      So then she says to you, Jonathan,

  19           I sent an e-mail to Angela Mulett, wages and

  20           salary -- that's another unit?

  21                 A      I believe that's the central

  22           office wages and salaries, but yes, that's

  23           correct.

  24                 Q      She had wages and salary.         I'm

  25           just reading the e-mail.
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                                                                 Page 102
    1                               J. WANGEL

    2                A      Yeah.

    3                Q      Dr. Kaye should have received the

    4          full $20,000 retention amount because she is

    5          equal time employee working 40 hours per

    6          week.     Her full-time employment status

    7          should be one not .67.        You see that, right?

    8                A      I do.

    9                Q      Now, Ms. Barrow works for you, and

  10           she made the determination; is that correct?

  11                 A      I don't know.      Based on this

  12           e-mail I don't know if she just --

  13           Ms. Barrow said Dr. Kaye should receive the

  14           full 20k because she's a full-time employee

  15           working 40 hours.       That's what the e-mail

  16           read.

  17                 Q      How did she make this

  18           determination when you have a e-mail thread

  19           that spans at least a month saying

  20           otherwise; how did that happen?

  21                             MS. CANFIELD:     Objection as to

  22                     form.    You can answer.

  23                 A      Yeah.    From what I recall because

  24           Dr. Kaye raised a concern and Doctors'

  25           Council was involved we at Correctional
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                                                                 Page 103
    1                               J. WANGEL

    2          Health was trying to verify the Bellevue

    3          calculation.       Right.   Colleen was working on

    4          that in conjunction with a whole list of

    5          other folks, and that's why she was

    6          involved.

    7                       Again, CHS does not have

    8          involvement and should -- we were triple

    9          checking Bellevue calculations, which we

  10           really shouldn't be doing, but we were doing

  11           to try to respond Doctors' Council and get

  12           Dr. Kaye paid correctly.

  13                 Q      Now, Dr. Kaye disputes the

  14           motivation and she attributes this problem

  15           to ongoing retaliation from her EEOC charge.

  16           Would you disagree with that?

  17                             MS. CANFIELD:     Objection as to

  18                     form.    You can answer.

  19                 A      I am unaware of discriminating

  20           against Dr. Kaye, including myself, anybody

  21           in my office -- Dr. Kaye, in which way or

  22           form.     It was completely unacceptable if

  23           that were the case.

  24                 Q      Then you, Mr. Wangel, respond to

  25           Ms. Barrow, Angela responded.          I'm guessing
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                                                                 Page 104
    1                                J. WANGEL

    2          you're talking about Ms. Mulett.

    3                            MS. CANFIELD:     Is that a

    4                    question?

    5                            Objection.    You can answer.

    6                Q      You were speaking to Ms. Angela

    7          Mulett; is that right?

    8                A      I believe so, yes.

    9                Q      Now, we're scrolling up and this

  10           is the New York City health and hospital

  11           corporation time sheet profile request,

  12           right, is this the same system that's in

  13           place right now?

  14                             MS. CANFIELD:     Objection as to

  15                     form.     You can answer.

  16                 A      Yes.

  17                 Q      So here you have, I guess, a

  18           discussion or a break down of Dr. Kaye's

  19           actual work time and annual leave time and

  20           then a host of other fields, right.            Now,

  21           this actual print out doesn't necessarily

  22           disclose how many hours she worked for the

  23           time period shouldn't there be another print

  24           out here, Mr. Wangel?

  25                             MS. CANFIELD:     Objection to
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                                                                 Page 105
    1                               J. WANGEL

    2                    form.    You can answer.

    3                A      I'm not a 100 percent certain.          It

    4          does -- there is actual work time, which I

    5          believe is like physical hours worked not

    6          other paid time, like, annual or sick that

    7          are shown below.       I'm not sure what you mean

    8          should there be another screen.

    9                Q      Well, it says actual time usage I

  10           mean it looks like it's 113 for this year

  11           period; is that accurate?

  12                 A      Honestly, I'm not the expert when

  13           it comes the main frame system we did have

  14           somebody to take care of --

  15                 Q      So you're not even sure just based

  16           on this.     It was clear that Ms. Barrow had

  17           determined that by November 15 that Dr. Kaye

  18           was entitled to the full $20,000.           You do

  19           see that, right?

  20                             MS. CANFIELD:     Objection as to

  21                     form.    You can answer.

  22                 A      I see that in e-mail, yeah.

  23                 Q      What did you do, once Ms. Barrow

  24           made this determination what did you do to

  25           follow-up?
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    1                                J. WANGEL

    2                            MS. CANFIELD:     Objection as to

    3                    form.    You can answer.

    4                A      I don't recall.

    5                Q      Did you have any conversations

    6          with Dr. Yang about you know, Dr. Kaye

    7          receipt of the full amount versus the

    8          partial amount that she had received up

    9          until that point?

  10                 A      I don't recall a specific

  11           conversation, but if Dr. Kaye's truly

  12           entitled to the full 1.0 20,000 I would have

  13           taken appropriate steps to get her paid

  14           correctly.

  15                 Q      I'm going to show you what will be

  16           marked as Plaintiff's Exhibit 12 and for the

  17           purpose of the record Plaintiff's Exhibit 12

  18           bears the Bates series NYC_1058 you see

  19           that, Mr. Wangel?

  20                               (Whereupon, Email (NYC_1058) was

  21                               marked as Plaintiff's Exhibit 12

  22                               for identification as of this

  23                               date.)

  24                 A      I see the e-mail.

  25                 Q      Right.     And this is e-mail is to
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                                                                 Page 107
    1                               J. WANGEL

    2          Mr. Collins from Doctors' Council and it CCs

    3          you Mr. Wangel, right?

    4                A      Yep.

    5                Q      And at that point on December

    6          19th, 2018, Mr. Collins says, "Good morning.

    7          We've been informed by the payroll that Dr.

    8          Kaye should be receiving the remainder of

    9          her retention bonus payment of 6600 on the

  10           12/28 paycheck."       You see that right?

  11                 A      I do.

  12                 Q      Now after seeing all these emails,

  13           Mr. Wangel, do you recall if Dr. Kaye

  14           received the 6600 dollar lump sum payment?

  15                 A      I believe she did.

  16                 Q      What makes you believe that?

  17                 A      Just my recollection.

  18                 Q      And had anybody else experienced

  19           issues obtaining their retention bonus that

  20           transitioned from Bellevue to CHS at the

  21           time?

  22                 A      I don't recall, but I can tell you

  23           that I have regular conversations with

  24           Mr. Collins' Doctors' Council about dozens

  25           and dozens, and dozens of Doctors' Council
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                                                                 Page 108
    1                                J. WANGEL

    2          members and their FTE related

    3          (unintelligible).

    4                 Q      Now, at any point did it come up

    5          to your attention that Dr. Ford had

    6          mentioned or said to the effect that Dr.

    7          Kaye needed to be managed out?

    8                 A      I'm sorry, can you say that one

    9          more time.

  10                  Q      At any point did Dr. Ford convey

  11           to you that Dr. Kaye needed to be managed

  12           out?

  13                            MS. CANFIELD:      Objection.     You

  14                      can answer.

  15                  A      I don't recall a conversation no.

  16                  Q      Do you recall -- what do recall

  17           Dr. Kaye's relationship was with Dr. Ford,

  18           how would you describe it?

  19                  A      It's hard for me to comment I was

  20           not involved in the day-to-day I don't know

  21           what the interaction was I don't think Dr.

  22           Ford was Dr. Kaye's immediate supervisor.

  23                  Q      Okay.   But even if she wasn't did

  24           you recall any conversations she may have

  25           had about Dr. Kaye with you?
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    1                               J. WANGEL

    2                A      Nothing specific comes to mind.          I

    3          would need a little bit more -- I don't

    4          recall any specific conversation about Dr.

    5          Kaye.

    6                Q      Now, I'm going to ask you some

    7          more questions about some of the changes

    8          that Dr. Kaye actually experienced during

    9          her transition from CHS to H&H.           So I'm

  10           going to show you what will be marked as

  11           Plaintiff's Exhibit 13.

  12                               (Whereupon, Email (NYC_350-355)

  13                               was marked as Plaintiff's

  14                               Exhibit 13 for identification as

  15                               of this date.)

  16                 Q      Now, Plaintiff's Exhibit 13 bears

  17           the Bates series NYC_350 to NYC_ and they're

  18           in sequential order I guess this would be

  19           355 you see that right, Mr. Wangel?

  20                 A      I see the 355, yes.

  21                 Q      Yes.    And this list -- actually,

  22           the e-mail is from Zachary Feigman, and I'm

  23           not sure if I'm pronouncing his name

  24           correctly, to Ms. Swenson and Guilaine

  25           Blaise; is that correct?
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                                                                 Page 110
    1                              J. WANGEL

    2                A      Looks correct.

    3                Q      Who are these -- where do these

    4          individuals work, Mr. Wangel?

    5                A      Andrea Swenson was more like the

    6          administrator manager over FPECC.

    7          Ms. Blaise worked with me at labor relations

    8          administrative associate, and Zach, I don't

    9          remember.

  10                 Q      Now the subject is, "Need some

  11           info" and I guess Zach, as you called him,

  12           is saying, "Hey, Andrea, We need who the

  13           managers are for each of the FPECC

  14           employees" right "Also, can you confirm who

  15           gets the timestamp button and who gets the

  16           direct entry."      What's a timestamp button,

  17           do you know?

  18                 A      I do and just before I address the

  19           timestamp button what's the date on this

  20           e-mail?

  21                 Q      The date on this e-mail is

  22           July 2, 2018?

  23                 A      I said that Ms. Blaise worked with

  24           labor she didn't work with -- she may -- she

  25           was in operations before -- she may have
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                                                                 Page 111
    1                              J. WANGEL

    2          been with operations she may have been labor

    3          it's hard to say at this point I don't

    4          recall when she made the switch.

    5                       So the time stamp button I'd have

    6          to give you a little bit of background about

    7          time keeping so you'd understand.           So like I

    8          said the entire health and hospital paper

    9          time sheets up until, basically the

  10           pandemic.     Correctional health shortly after

  11           it move to Bellvuie Kronos for the

  12           electronic time keeping similar to city time

  13           throughout all agencies and because the

  14           individual units are located at the courts

  15           and there's not a large number of staff

  16           assigned to each of the courts it's not cost

  17           effective nor is it easy to install

  18           electronic device at the time the court

  19           building they're very expensive and there's

  20           not a lot of staff using them.           So in lieu

  21           of using biometric device to scan you can

  22           click a button in the Kronos, which is the

  23           timekeeping system for correctional health.

  24           Basically, click a virtual button and it

  25           populates your time sheet with the current
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    2          time.     So it's a way to capture time.

    3                Q      So then it lists various staff

    4          members and Dr. Kaye is the only director

    5          here, you notice this, right?

    6                            MS. CANFIELD:     Objection to

    7                    form.    You can answer.

    8                A      Again, it's hard for me to

    9          remember who was the director who was

  10           (unintelligible.

  11                 Q      At the time in July 2018 was any

  12           of the other individuals center directors,

  13           clinic director?

  14                 A      I don't believe so.

  15                 Q      Why is that, why is she the only

  16           clinic director on this list?

  17                 A      I don't know.

  18                 Q      And then there's another e-mail

  19           from the Ms. Swenson to Zach Fiegman and

  20           Guilaine Blaise and subject again, "Needs

  21           more info" and then you know, she,

  22           Dr. Mundy, they have, I guess, no timestamp

  23           and it lists Oliver Harper, Kanishk Solanki,

  24           and Jonathan Weiss, if they don't have a

  25           timestamp are they just filling out paper
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    2          time sheets?

    3                A      I'm a little uncertain where did

    4          they work then.

    5                Q      They worked under Dr. Mundy at the

    6          Manhattan court clinic all three of these

    7          individuals.      These were psychologist who

    8          worked for Dr. Mundy.

    9                A      I'm trying to understand.

  10                           MS. CANFIELD:       What's the

  11                     question?

  12                 A      Yeah, I'm a little confused.

  13                 Q      Fist off, who would have made a

  14           decision whether or not a staff person would

  15           have had to use a timestamp or they would

  16           have to use another form of timekeeping.

  17           Who made that decision?

  18                 A      It depends on your civil service

  19           classification, depends on the salary,

  20           depends on the direct manager depends to the

  21           employee.     If you are unionized employee,

  22           it's driven by I believe city wide

  23           agreement.

  24                 Q      What would the city wide agreement

  25           dictate in the instance?
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    1                               J. WANGEL

    2                A      I'm trying to make sure I

    3          understand -- versus time stamp.

    4                Q      I'm trying to understand -- I'm

    5          trying to get to why Dr. Kaye would have

    6          been the only director who would have had --

    7          would have been on this list of individuals

    8          --

    9                A      I don't know.      I mean it's hard

  10           for me to know why this group decided time

  11           stamp or no time stamp I wasn't consulted I

  12           don't really know the details of why.            It's

  13           a little difficult trying to decipher this.

  14                 Q      So you're not quite sure what the

  15           rational behind this list was and what made

  16           -- how the determination was made that some

  17           people had to have time stamps and others

  18           didn't.     Is that what you're testifying to?

  19                             MS. CANFIELD:     Objection as to

  20                     form.    You can answer.

  21                 A      Yeah.

  22                 Q      He said yeah.

  23                 A      I'm saying it's hard for me to

  24           determine based on this e-mail chain.            It's

  25           difficult for me to know what anybody's
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    1                                J. WANGEL

    2          rational was to determine whether it's time

    3          --

    4                Q      The question is also then did you

    5          have any part in making this determination

    6          Mr. Wangel?

    7                A      I don't believe so.

    8                Q      Who would have been the most

    9          senior person in making this determination?

  10                             MS. CANFIELD:     Objection as to

  11                     form.

  12                 A      It's sort of hard for me to answer

  13           you know I can give advise or give guidance

  14           on contracts that I do.         You know I think

  15           time keeping was new.        This sort of time

  16           keeping was new to correctional health.             You

  17           know, I'm not sure everybody fully

  18           understood how the decision should be made.

  19           I'm not sure if it's a decision between --

  20           implementing.       I don't recall being

  21           consulted.        I was involved in the project

  22           overall, yes, I don't know -- I don't see

  23           myself in this chain so it's hard for me to

  24           reply to the time stamp.

  25                 Q      I'm going to ask you something:
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    1                                J. WANGEL

    2          Time keeping was in what unit?

    3                A      What unit?     I mean correctional

    4          health had its own time keeping unit.

    5                Q      Right.

    6                A      And some role function -- not a

    7          100 percent independent from the central

    8          office though.

    9                Q      Who was the most senior manager

  10           over time keeping?

  11                 A      At this time is that what you're

  12           asking?

  13                 Q      Yes.

  14                 A      In 2018 I believe it was Ms. Laboy

  15           I want to say.        There was -- folks came and

  16           went -- there was some turnover.           There was

  17           Adelia Sferrazza was the head of payroll for

  18           a little while, changed hands a couple of

  19           times I can't actually recall in July

  20           of 2018?

  21                 Q      In July of 2018 you were reporting

  22           to Ms. Laboy; was that right?

  23                             MS. CANFIELD:     Objection as to

  24                     form.     You can answer.

  25                 A      I don't believe so.       This was only
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    2          11 months before I left CHS I would say, no.

    3                Q      So you were and Ms. Laboy were not

    4          in the same unit at this time?

    5                A      I don't believe so I don't recall

    6          the time exactly.

    7                Q      Let's see where you are in this

    8          the e-mail chain.

    9                          MS. CANFIELD:       And Ms. Hagan I

  10                     just went through the exhibits you

  11                     sent me and this exhibit is not

  12                     included in the batch.

  13                           MS. HAGAN:      It is in the

  14                     batch.

  15                           MS. CANFIELD:       It's not in the

  16                     batch.   I just checked three times.

  17                           MS. HAGAN:      I will send it

  18                     again, but it's in that batch.

  19     BY MS. HAGAN:

  20                 Q      So Mr. Wangel, here you have an

  21           e-mail from if Ms. Blaise to you on July 6

  22           and Adelia Sferrazza you see that, right?

  23                 A      I do.

  24                 Q      And it says, "Good morning, here

  25           the is the schedule that was provided by
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    1                              J. WANGEL

    2          Ms. Swenson.      Regards.    Need some info."

    3          Now, why would Ms. Blaise be sending you a

    4          schedule from Ms. Swenson?

    5                A      I don't know.      (Unintelligible.)

    6                Q      Well, here she is assistant

    7          director of correctional health services

    8          policy and planning and labor relations.             So

    9          Mrs. Blaise is working in labor relations;

  10           isn't that where you were working at that

  11           time?

  12                 A      Yes, I would say.

  13                 Q      She was working with you and for

  14           you at that time, right?

  15                 A      She worked in labor relations,

  16           yeah.

  17                 Q      Yes, for you and you were her

  18           supervisor; is that right?

  19                 A      I believe so, yeah.

  20                 Q      So, Ms. Blaise is in the e-mail

  21           thread from, I guess the initial e-mail, you

  22           see this, right?       So, she's reporting to you

  23           Ms. Swenson is engaging Ms. Blaise about the

  24           schedule and the time stamps.          Why is

  25           Ms. Swenson engaging Ms. Blaise, your staff
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    1                                J. WANGEL

    2          person, about how various CHS staff people

    3          are actually recording their time?

    4                            MS. CANFIELD:     Objection to

    5                    form.     You can answer.

    6                A      It's hard for me to remember

    7          specifically about the entire context here,

    8          but it could have been about the 30 minute

    9          lunch piece it could have been a whole list

  10           of topics, again, this e-mail came from

  11           years ago without any context it's hard to

  12           tell.

  13                 Q      Well, then here's further context

  14           here, then again, Ms. Sferrazza, Ms. Adelia

  15           Sferrazza, she e-mails you and Ms. Blaise

  16           and she tells you, "Please see the schedule

  17           below that will need to be added to Kronos

  18           and ATLS."        Now, if they weren't time

  19           stamping did the employees use Kronos

  20           instead?

  21                 A      So -- I'm not sure.       That's the

  22           phrasing.     So everybody used Kronos in some

  23           form or another, right, so now as part of

  24           the limitation of Kronos is you had to have

  25           a base schedule entered into Kronos, right.
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    1                               J. WANGEL

    2          That's sort of how the system works; so, you

    3          need to keep the schedule up-to-date and

    4          that was part of the project.          ATLS, ATLS

    5          how the central office folks call it, uses

    6          the mainframe at central office; so there

    7          was at one time when scheduling became part

    8          of the time keeping process and schedules

    9          had to be uploaded or entered into Kronos.

  10           So that could be what this is about.            It's

  11           hard for me to know exactly but that is part

  12           of the time keeping process.

  13                 Q      Now, I guess the question I would

  14           have is that Ms. Swenson was responsible for

  15           administrative staff, why was she engaging

  16           in -- why is she engaging in the schedule of

  17           the clinical staff including Dr. Kaye?

  18                             MS. CANFIELD:     Objection to

  19                     form.    Go ahead.

  20                 A      So as you've shown me more e-mails

  21           I believe that Ms. Blaise before she goes by

  22           DG, she was helping the time keeping folks

  23           help to get the schedules entered because

  24           there was a tremendous amount of work

  25           involved in not getting schedules for all
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    1                               J. WANGEL

    2          staff entered into Kronos correctly.            Again,

    3          this is just a snippet of a chain, but she

    4          was helping the time keeping folks at one

    5          point get all that stuff entered into

    6          Kronos.

    7                          MS. HAGAN:      As I represented

    8                    to the reporter.

    9                             (Whereupon, a recess was taken

  10                              from 12:30 p.m. to 1:02 p.m.)

  11                           MS. HAGAN:      We're going resume

  12                     it's -- just for purposes of time

  13                     keeping it's now 1:02 pm going on

  14                     1:03 pm.    And we have approximately

  15                     three and a half hours left of the

  16                     deposition so I want to resume and

  17                     just let you know that.        You should

  18                     be available to 6:00, right?

  19                 A      I'm sorry say that part again.

  20                 Q      You'll be available until six pm

  21           today; is that right?

  22                 A      'Til six?     I don't think we go

  23           until six.

  24                 Q      This deposition sent to you and

  25           you have to --
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    1                               J. WANGEL

    2                A      Yes, that's fine, I'll make myself

    3          available that's fine.

    4                Q      Thank you, Mr. Wangel.        I

    5          appreciate that.

    6                       Going forward I want to kind of

    7          ask you some more questions about Dr. Kaye's

    8          -- the change in Dr. Kaye's --

    9                           MS. CANFIELD:      I'm sorry I was

  10                     on mute.    I just want to say for the

  11                     record before we get started that

  12                     I'm missing Exhibits P1, 2, and 3,

  13                     and 13 they're not in the documents

  14                     that you sent over today earlier.

  15                            MS. HAGAN:     I'm not quite sure

  16                     if -- I believe that I sent them to

  17                     you.   If they're not I will send

  18                     them to you again, I believe that I

  19                     sent them to you in a, I guess a

  20                     batch - a batch of documents because

  21                     I wanted you to have them before

  22                     today's deposition.       And that's why

  23                     I sent them to you at 5:00 o'clock

  24                     this morning.

  25                            MS. CANFIELD:      As per the
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    1                              J. WANGEL

    2                    court's orders my motion to compel

    3                    is granted.    So, all sets of

    4                    documents need to be sent over to me

    5                    and I expect them in the subsequent

    6                    depositions as well.

    7                          MS. HAGAN:      I'm sorry, Ms.

    8                    Canfield, I will look through that

    9                    batch of documents to make sure that

  10                     I haven't already sent them and if I

  11                     haven't -- if I haven't I will send

  12                     them again.    But I'm assuming they

  13                     were there, but I apologize if

  14                     they're not.     So, let's keep going.

  15     BY MS. HAGAN:

  16                 Q      So, Mr. Wangel, I want to continue

  17           with the changes in Dr. Kaye's working

  18           conditions upon her transfer from Bellevue

  19           to the CHS, so I was going to ask you some

  20           questions about the first and foremost the

  21           -- to continue on with the retention bonus

  22           so that would be -- I would be showing you

  23           another exhibit which will be marked as

  24           Plaintiff's Exhibit 14.

  25                        Plaintiff's Exhibit 14.        The Bates
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    1                               J. WANGEL

    2          stamp series NYC_385 and it's dated

    3          July 13, 2018.       Do you see that, Mr. Wangel?

    4                A      I do.

    5                              (Whereupon, Email (NYC_385) was

    6                              marked as Plaintiff's Exhibit 14

    7                              for identification as of this

    8                              date.)

    9                Q      And Mr. Wangel, just getting into

  10           a discussion of Dr. Kaye's complaints about

  11           the 30 minute lunch that she was being made

  12           to forfeit for an hour lunch.          Do you recall

  13           that?

  14                             MS. CANFIELD:     Objection as to

  15                     form.    You can answer.

  16                 A      I remember the conversation about

  17           the lunch period I wouldn't categorize it as

  18           forfeiture.

  19                 Q      Is it your understanding -- do you

  20           remember Dr. Kaye's working hours prior to

  21           her discussions with you about her lunch

  22           hour?

  23                             MS. CANFIELD:     Objection as to

  24                     form.    You can answer.

  25                 A      I know that pursuant to the
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    1                               J. WANGEL

    2          Doctors' Council contract with health and

    3          hospitals it's 40 hour work week.           So,

    4          specific schedules and hours I don't recall

    5          about specific hours.

    6                Q      Would you say that it was static

    7          40 hours that you were not told otherwise by

    8          anyone else?

    9                A      With what was 40 hours, Dr. Kaye's

  10           schedule?

  11                 Q      As far as the work weeks for

  12           everyone who transitioned from Bellevue or

  13           transitioned from another entity to CHS,

  14           would you testify that everyone had to be on

  15           the 40 hour week or was it a sliding scale?

  16                             MS. CANFIELD:     Objection as to

  17                     form.    You can answer.

  18                 A      Again, the work hours are

  19           consistent with the contract.          I wasn't very

  20           deeply involved with the actual transition

  21           folks from one facility to another or

  22           specific schedules versus specific personnel

  23           I'm not sure how to respond.          Again, it's a

  24           40 hour work week.

  25                 Q      I'm sure you weren't intimately
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                                                                 Page 126
    1                                J. WANGEL

    2          involved or I guess very involved with maybe

    3          types of issues generally.          But it appeared

    4          that Dr. Kaye did reach you and did engage

    5          you on some level regarding this 30 minute

    6          doctor lunch, you did see this right?

    7                A      I did.

    8                Q      Would you need to read or review

    9          this e-mail in order to get an idea of how

  10           she engaged?

  11                 A      I'm happy to reread it.

  12                 Q      In order get the record clear.

  13           This is an e-mail from Dr. Kaye to you on

  14           July 13 2018 and the subject is, "30 minute

  15           lunch" and it's to you Mr. Wangel I can

  16           provide information regarding Bellevue

  17           physicians taking a 30 minute lunch.

  18           Approximately 13 years ago there was an

  19           agreement between doctor's counsel union and

  20           Bellevue hospital to increase the

  21           physician's salaries by increasing their

  22           workweek from 37 and a half hours per week

  23           to 40 hours per week.        And at the same time

  24           decrease their unpaid lunch time from one

  25           hour to a half hour.        I recall being at
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    1                              J. WANGEL

    2          union meetings when this was discussed and

    3          later when it was formerly implemented at

    4          Bellevue or MD or HHC pay line.           I am

    5          uncertain if I still have documentation

    6          about this in storage, but if necessary I'm

    7          guessing that either doctor's counsel, HHC,

    8          Bellevue payroll, or the city has archived

    9          documents pertaining to this official

  10           change."     And she says, "I don't know if

  11           there was -- if this was a city wide

  12           collective bargaining agreement or specific

  13           to Bellevue.      I do know that it applied to

  14           all physicians working for Bellevue and that

  15           included the Bronx and Manhattan court

  16           clinics doctor's.       I hope this information

  17           is helpful.     Regards."

  18                        Now, does that jog your

  19           recollection any?

  20                 A      With regard to the response to

  21           which question?

  22                 Q      With just what happened between

  23           you and --

  24                 A      Yeah, I can tell you there's more

  25           conversations about the 30 minute lunch.
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    1                              J. WANGEL

    2          Like I said, the Doctors' Council contract

    3          calls for a 40 hour workweek there were

    4          titles at other hospitals that require 37

    5          and a half workweek or 35 hour workweek and

    6          across the board system wide it's an hour

    7          lunch.    You are on-site working for the

    8          hours specified in your contract plus an

    9          hour of unpaid lunch.        Are there one off

  10           instances where a request can be made on a

  11           daily basis.      You have some, you know,

  12           overriding concern and perhaps you don't

  13           have balance to cover (unintelligible) and

  14           amend the request, sure, but system wide

  15           it's generally an hour lunch.          I remember

  16           speaking about this counsel about some

  17           specific Bellevue agreements I am not aware

  18           of one, if one was ever produced.           I don't

  19           recall Dr. Kaye ever mentioning this issue

  20           when we had our conversation before this

  21           transition took place.        I don't remember

  22           specific conversation about this particular

  23           topic.    I don't believe there was one.           I

  24           know Dr. Kaye had an opportunity to become a

  25           annual employee, which she chose not to, in
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    1                              J. WANGEL

    2          which case the annual agreement calls for a

    3          straight 40 hours where lunch is built in.

    4          So, 40 hours work and lunch is built in and

    5          that would have alleviate her concern.             I

    6          believe she was also offered the managerial

    7          employee that's group 11.         If you're a

    8          manager you have flextime, which is more

    9          flexibility as to the schedule.           I believe

  10           that option was not exercised.           Ultimately,

  11           as a unionized doctor under the contract a

  12           40 hour workweek and everybody pays an hour

  13           lunch.     That's how --

  14                 Q      Question, with Dr. Kaye's

  15           background -- first off, what PAGNY

  16           (phonetic) position would she have been

  17           offered at this time, do you know?

  18                 A      There were Doctor's Council

  19           members who worked for PAGNY also

  20           represented by Doctor's Council just a

  21           different part of it.

  22                 Q      Did you offer Dr. Kaye a PAGNY

  23           position?

  24                           MS. CANFIELD:       Objection.     You

  25                     can answer.
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    1                              J. WANGEL

    2                A      Wouldn't be my place to do so, no.

    3                Q      How did you know that Dr. Kaye was

    4          offered a PAGNY position?

    5                A      I just know that there are other

    6          staff holding different -- I mean everybody

    7          in a similar role they have different civil

    8          service qualifications.

    9                Q      The question is how:        Do you know

  10           that Dr. Kaye was offered a PAGNY position,

  11           what firsthand knowledge do you have to that

  12           affect?

  13                 A      I don't know I don't recall.

  14                 Q      Do you know who offered her a

  15           PAGNY position?

  16                 A      I don't.    Again, I wasn't involved

  17           in, you know, the discussion to bring this

  18           program over to correctional health.

  19                 Q      Just for purposes of closure do

  20           you know when Dr. Kaye was offered a ^

  21           position?

  22                 A      I don't.

  23                 Q      So were any other directors at any

  24           of the other centers offered a -- in the

  25           PAGNY line?
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    1                               J. WANGEL

    2                            MS. CANFIELD:     Objection as to

    3                    form.

    4                A      I believe there was one, there

    5          were four directors at the time.           I think

    6          one, possibly two.       I mean all the remaining

    7          three I believe there was one possible had

    8          how to the break down.

    9                Q      Wasn't Dr. Winkler a PAGNY

  10           employee?

  11                 A      Could have been again I don't

  12           recall specifically who is in which line.

  13                             MS. CANFIELD:     Is it possible

  14                     there's that ringing again and I've

  15                     seen the witness squint.

  16                 A      It's very loud.

  17                 Q      I've tried to silence my phone

  18           I've tried to do everything besides turn it

  19           off I don't have the luxury of turning off

  20           my phone.

  21            (A discussion was held off the record.)

  22     BY MS. HAGAN:

  23                 Q      Going back to my line of

  24           questioning.       Mr. Wangel, you said that you

  25           remember some things that transpired along
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    1                               J. WANGEL

    2          with -- as it pertains to Dr. Kaye's -- her

    3          suit or I guess her issues with the change

    4          from a 30 minute lunch to an hour lunch.

    5          Now, Dr. Kaye prior to this were you aware

    6          that the Dr. Kaye worked from 9:00 a.m. to

    7          5:30 p.m.?

    8                A      Prior to what?

    9                Q      5:30 p.m. prior to I guess the

  10           change that was put in place those were her

  11           work hours were you aware of that?

  12                             MS. CANFIELD:     Objection to

  13                     form.    You can answer.

  14                 A      I don't believe so.

  15                 Q      So, she never told you that she

  16           needed to work a certain set of hours to

  17           address the needs of her children?

  18                             MS. CANFIELD:     Objection to

  19                     form.    You can answer.

  20                 A      You were speaking pre-transition,

  21           right, so like I said before the initial

  22           conversation I had with Dr. Kaye, you know,

  23           in talking about compensation and other

  24           things, the issue of the 30 minute lunch did

  25           not come up it wasn't addressed at that time
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    2          and this chain looks like it's a couple of

    3          weeks after the transition took place.

    4                Q      Right.     But I'm going back to

    5          whether Dr. Kaye disclosed why she had to

    6          the work a 9:00 a.m. to 5:30 p.m. schedule?

    7                A      I believe she did.       I believe if I

    8          recall correctly it was related to child

    9          care and at the time that we had the

  10           discussion I said it was not having to

  11           provide the detail it was care for a child

  12           that intermittent would be appropriate, she

  13           could reach out to the department if that's

  14           appropriate and, you know.          But otherwise

  15           generally speaking if she's asking for a

  16           permanent reduction in the number of minutes

  17           or hours she needs to be in the workplace,

  18           the contract calls for the 40 hours, there's

  19           an hour lunch, anything else would be, you

  20           know, violations.

  21                        I can't unilaterally change

  22           schedules for the staff.          It's not my shop.

  23           It's not my department.         I don't know what

  24           the need is.

  25                 Q      Dr. Kaye worked this schedule for
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    1                               J. WANGEL

    2          years, Dr. Kaye -- would you agree with me,

    3          Dr. Kaye worked at the -- as the director of

    4          the court clinic or at the court clinic in

    5          the one capacity from 2000 up until the time

    6          she left, which would have been 2020, right,

    7          and you start working for the CHS in 2015;

    8          is that right, Mr. Wangel?

    9                            MS. CANFIELD:     Objection as to

  10                     form.    You can answer.

  11                 A      Correct.

  12                 Q      It's correct, right?

  13                 A      I started working in 2015, that's

  14           correct.

  15                 Q      Who made the decision that

  16           everyone -- that all of sudden this

  17           collective bargaining agreement had to be

  18           enforced in a uniform way?

  19                             MS. CANFIELD:     Objection as to

  20                     form.    You can answer.

  21                 A      I don't believe there was anybody

  22           who made the uniform decision I think that

  23           that's how the work schedule -- that's

  24           typical throughout the entire health and

  25           hospital system to take an hour lunch,
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    2          that's how it happens throughout the rest of

    3          the correctional health and on the PAGNY

    4          lines for the folks on Rikers there are

    5          physicians that's their schedule 40 hours

    6          with an hour lunch for the nine hours a day.

    7          I don't think anybody made a unilateral

    8          decision you want to bring conformity with

    9          the normal.

  10                 Q      Mr. Wangel, this is July 13 this

  11           is about 12 days after Dr. Kaye was

  12           officially brought over to CHS, right.             For

  13           12 days why wasn't she put on the one hour

  14           lunch break who made the determination

  15           within 12 days of her starting that she had

  16           to be put on a hour lunch break rather than

  17           the 30 minutes that she had?

  18                             MS. CANFIELD:     Objection as to

  19                     form.     You can answer.

  20                 A      I can't speak to who made that

  21           decision I don't recall I don't have that

  22           knowledge.        You're talking about a

  23           transition of a number of programs part of a

  24           large operation, you know, you're only

  25           talking two weeks in, right.          This is day 10
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    1                              J. WANGEL

    2          it's like -- or less.        So I again, I can't

    3          speak to exactly how the issue came up.

    4                Q      I want to give you some

    5          perspective.      How many people work at H&H?

    6                A      H&H direct pay staff you're

    7          asking?

    8                Q      Yes, how many people work at H&H?

    9                A      More than 40,000.

  10                 Q      How many of people worked at CHS

  11           about that time, about?

  12                 A      Well, you're counting apples to

  13           apples.    It's about 70,000 including the

  14           affiliates that CHS has a heavy number of

  15           staff also pushing 3,000, I'd say.

  16                 Q      So out of the 3,000 Dr. Kaye's

  17           work schedule comes across someone's work

  18           radar and at that time within 12 days of her

  19           being transitioned into this line it is

  20           brought someone's attention that she's

  21           working an hour verses 30 minutes of 3,000

  22           people and she's engaging you who has, I

  23           guess, purview over 3,000 people at the

  24           time.     How did that happen?

  25                           MS. CANFIELD:       Objection as to
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    1                              J. WANGEL

    2                    form.   You can answer if you're

    3                    able.

    4                A      You're saying there's 3,000 people

    5          with leadership of FPECC.         They don't

    6          supervise 3,000 people it's a much smaller

    7          group of staff that they manage.           My

    8          position as the head of legal at the time of

    9          correctional health I mean, this question as

  10           to the contract interpretation or what are

  11           the appropriate hours to work those kinds of

  12           questions are appropriate to labor probably.

  13                 Q      Did anyone from the FPECC

  14           management come to you about Dr. Kaye's work

  15           hours?

  16                 A      I definitely had conversations

  17           with the FPECC staff about the scheduling to

  18           recall a conversation with one individual I

  19           don't remember specifically again this is

  20           three years ago.

  21                 Q      Any of the other directors have

  22           their hours changed?

  23                 A      Not that I'm aware of, I mean it's

  24           possible.     I believe that the eight hours

  25           worked one hour lunch was consistent with
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    2          the way the other directors were working

    3          pursuant to their own contract are only

    4          required to be on site for the eight hours.

    5                Q      So you're not sure if there were

    6          any other directors who were subjected to

    7          this change or a change in their hours; am I

    8          right?

    9                            MS. CANFIELD:     Objection as to

  10                     form.    You can answer.

  11                 A      I don't recall.

  12                 Q      Would it be your testimony or

  13           could you say for certain that all of the

  14           directors worked eight hour days, 40 hour

  15           weeks?

  16                             MS. CANFIELD:     Objection as to

  17                     form.    You can answer.

  18                 A      I could say that they should be

  19           working consistent with their collective

  20           bargaining agreements and management roles.

  21           So, managers work a 35 hour week with an

  22           hour lunch and the doctors work an eight

  23           hour day with a lunch built in and other

  24           (unintelligible) hour day.

  25                 Q      Are you that depending on the
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                                                                 Page 139
    1                               J. WANGEL

    2          entity they were employed by that was the

    3          distinguishing factor and not gender?

    4                            MS. CANFIELD:     Objection as to

    5                    form.    You can answer.

    6                A      Tells you what the collective

    7          bargaining agreement calls for each --

    8                Q      And I'm asking you about this --

    9          I'm asking you what the reason was for Dr.

  10           Kaye's work week to be changed.           She

  11           allege's that it was gender discrimination

  12           and retaliation and you're are citing a

  13           collective bargaining agreement and/or I

  14           guess entity managerial entity?

  15                             MS. CANFIELD:     Objection to

  16                     form.    You can answer.

  17                 A      My response to that those are the

  18           hours that the collective bargaining

  19           agreement calls for I am not aware of any

  20           fact or circumstance where Dr. Kaye's hours

  21           were changed based on gender discrimination.

  22                 Q      Did Dr. Jain ever give you a

  23           directive to change Dr. Kaye's hours?

  24                             MS. CANFIELD:     Objection as to

  25                     form.    You can answer.
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    1                               J. WANGEL

    2                A      No.    I'm not responsible for Dr.

    3          Kaye's hours.

    4                Q      Did Dr. Jain discuss with you or

    5          insist upon Dr. Kaye's hours being changed?

    6                            MS. CANFIELD:     Objection as to

    7                    form.    You can answer.

    8                A      I had discussions with Dr. Jain

    9          about the requirements of the contract, but

  10           any changes in schedule would not run

  11           through me.       I give advice to counsel about

  12           how the bargaining agreements are

  13           constructed and what's required.

  14           (Unintelligible).       Operational decision is

  15           made, that's not a labor relations decision.

  16           That happened with the leadership

  17           department.

  18                 Q      I'm going to ask you something,

  19           Mr. Wangel, you're the senior, now, you're

  20           the assistant vice president of labor

  21           relations, right, but at the time you were

  22           the senior director of labor relation,

  23           right?

  24                 A      At the time in July 2018 you're

  25           asking?
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    1                               J. WANGEL

    2                Q      Yes.

    3                A      I was the senior director of labor

    4          relations for correctional health services.

    5                Q      Now, were you acting in the legal

    6          capacity or were you acting -- first off,

    7          were you acting in the legal capacity, let's

    8          just ask that question first?

    9                          MS. CANFIELD:       Objection.

  10                 A      I was not of counsel.

  11                 Q      You were not counsel?

  12                 A      My corporate title was not counsel

  13           at that time.

  14                 Q      What was you corporate title

  15           again?

  16                 A      Senior director.

  17                 Q      You were not in like an agency

  18           attorney, or executive attorney title or

  19           anything akin to that, right?

  20                 A      I was not an attorney title while

  21           at correctional health.

  22                 Q      Okay.    So I'm going to further up

  23           in the e-mail I'm going to finish with this

  24           one that was the Exhibit 14.

  25                        I'm going to show you what will be
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                                                                 Page 142
    1                                J. WANGEL

    2          marked as Exhibit 15.

    3                              (Whereupon, Email (NYC_395-400)

    4                              was marked as Plaintiff's

    5                              Exhibit 15 for identification as

    6                              of this date.)

    7                Q         I'm going to show you what's been

    8          marked as Plaintiff's Exhibit 15.

    9                A         That will work.

  10                 Q         I'm going to show you what's being

  11           marked as Plaintiff's Exhibit 15,

  12           Plaintiff's Exhibit 15, bears the Bates

  13           series NYC_385.       And --

  14                             MS. CANFIELD:     I'm sorry 385.

  15                             MS. HAGAN:    385.

  16                             MS. CANFIELD:     That was No.

  17                     14.

  18                             MS. HAGAN:    Oh, it is.     I'll

  19                     change it.    This will be number 15

  20                     then.     Will be marked as an e-mail

  21                     bearing the Bates series 395, 396,

  22                     397, 398, 399, and 400.        395 to 400,

  23                     you see that, right?

  24                             MS. CANFIELD:     No, it's not up

  25                     yet.
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    1                                J. WANGEL

    2                          MS. HAGAN:      So I'm going to

    3                    show you what's going to be marked

    4                    as Plaintiff's Exhibit 15.

    5                Q      I'm going to show you that and

    6          then I'm going to go back to what's going to

    7          be Plaintiff's Exhibit 14.          Plaintiff's

    8          Exhibit 14 was the e-mail where Dr. Kaye

    9          explains she can reference an agreement that

  10           was made between Doctors' Council union and

  11           Bellevue 13 years ago, you saw that, we were

  12           discussing that earlier, right?

  13                 A      Right.

  14                 Q      So, anyone who was working a 37

  15           hour workweek would go to 40 hours a week

  16           and their lunch hour would decrease from one

  17           hour to half hour.        You saw that, right?

  18                 A      I see the e-mail.

  19                 Q      This is the e-mail she sent you on

  20           July 13, 2018 that was Exhibit 14.            Exhibit

  21           15 you have an e-mail thread and I'm going

  22           to start at the beginning of the e-mail

  23           thread for purposes of clarity.           In the

  24           beginning of the e-mail thread there's a

  25           Bates stamp NYC_396 and it comes from Dr.
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    1                               J. WANGEL

    2          Kaye, the same e-mail we were discussing

    3          earlier; you see this right?

    4                A      Yes.

    5                Q      And then we scroll up and it's

    6          from you -- there's another e-mail

    7          subsequent thereto from you to Mr. Campese;

    8          you see that right?

    9                A      I do.

  10                 Q      And it's -- the subject is 30

  11           minute lunch.       Now, you say, "Below is an

  12           e-mail from a former Bellevue staffer

  13           Doctor's Council now with CHS FPECC.            Are

  14           you familiar with the agreement referenced

  15           trying to determine if these staff should be

  16           on a standard one hour lunch."           Now, at this

  17           time you're not sure yourself; am I right?

  18                 A      Not sure about what?

  19                 Q      Whether or not the staff should be

  20           on a standard one hour lunch?

  21                 A      No.    That's the general rule.

  22                 Q      Well, I'm just saying you're not

  23           the sure you're trying to determine.            That's

  24           what you are saying.        These are your words

  25           trying to the determine if the staff should
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    1                              J. WANGEL

    2          be on a standard one hour lunch.           That

    3          doesn't sound like someone who has made a

    4          determination as of yet; am I right?

    5                          MS. CANFIELD:       Objection.     You

    6                    can answer.

    7                A      I'm responding to Dr. Kaye's

    8          e-mail saying it should be a 30 minute

    9          lunch.     So my e-mail to Mr. Campese and Ms.

  10           McCarthy is trying to determine if she

  11           should be on a standard one hour lunch

  12           because that's the standard.

  13                 Q      You've been at CHS all of, let's

  14           see three years now and Dr. Kaye's been

  15           working there for 18 at the time; am I

  16           right?

  17                           MS. CANFIELD:       Objection.

  18                 A      She was not working at CHS, sorry.

  19                 Q      Well, she was working at the Bronx

  20           court clinics for 18 years; am I right?

  21                 A      I'll take your word for it.

  22                 Q      On July 23, you get an e-mail from

  23           Mr. Campese going to you, Michelle McCarthy

  24           and Rosalind Barrow.        First off, who's

  25           Michelle McCarthy?
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                                                                 Page 146
    1                               J. WANGEL

    2                A      She was formally Mr. Campese's

    3          deputy.

    4                Q      And Rosalind Barrow who is she?

    5                A      She also works at central office

    6          labor relations deputy director.

    7                Q      Now, you say, Rosalind, do you

    8          have any info on this in your file, Matt,

    9          right.    Who's Ms. Barrow where does he work?

  10                 A      She works at the central office

  11           labor relations.

  12                 Q      Then Ms. Barrow e-mails back, "I

  13           have attached the MOU, language of the

  14           contract, as well as the Scott Van Orden

  15           Payroll memo on the additional hours for the

  16           Doctors."     You see that, right?

  17                 A      I do.

  18                 Q      And she said deputy director labor

  19           relations in New York City health and

  20           hospital, so that would have meant that she

  21           is from the office of labor relations.             Now,

  22           is this from your office, Mr. Wangel?

  23                 A      Again, it's been so long central

  24           labor relations oversees labor for the

  25           entire system although, correctional health
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                                                                 Page 147
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    2          does operate somewhat independently.

    3                Q      Okay.    She sends these documents

    4          that she's referencing, right?           And on the

    5          first one it's dated November 23, 2004, you

    6          see this right?

    7                A      Yes.

    8                Q      Now, in this document effective

    9          February 1st 2005, 130.5 hours additional

  10           per year except for PCP hourly sectional.

  11           HHC half hour per day if any change will

  12           inform Doctors Council."          Now, she's working

  13           for HHC at this point, right, Dr. Kaye,

  14           right?

  15                             MS. CANFIELD:     Objection as to

  16                     form.     You can answer.

  17                 A      She's always been working in the

  18           health and hospitals I think.          Correctional

  19           health and Bellevue are health and

  20           hospitals, so.

  21                 Q      You receive this document and it's

  22           saying specifically a half hour a day.             Did

  23           you read this document, Mr. Wangel?

  24                 A      I'm sure I did at the time.

  25                 Q      How are you still determining that
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    1                                J. WANGEL

    2          she has to take a hour lunch period if it

    3          clearly says a half hour?

    4                A      Can you direct me to where it

    5          shows a half hour lunch.

    6                Q      It says a half hour here let's go

    7          further.     We can go further.

    8                          MS. CANFIELD:       Can you show

    9                    him exactly where you're pointing?

  10                     Do you see where it is, Mr. Wangel?

  11                           MS. HAGAN:      Sure.

  12                 A      I do.    I believe so effective

  13           2-1-05, 130. -- hours additional per year

  14           except primary care hours, etc.           And HHC an

  15           extra half hour per day.          Going from 37 and

  16           a half to 40 hours a week.          That's

  17           referencing extra time at work.

  18                 Q      Do you see anything about the 37

  19           and a half hours or 40 per week here?

  20                 A      Sure.

  21                           MS. CANFIELD:       What you

  22                     represented I think is

  23                     (unintelligible.)

  24                 A      Right.

  25                 Q      Let's keep going through the rest
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    1                              J. WANGEL

    2          of the document so that we can work together

    3          on this, okay.

    4                       So, I want to draw your attention

    5          to -- let's just make sure I have this

    6          right.    I'm going to draw your attention

    7          here now to this memo this Scott Van Orden.

    8                          MS. CANFIELD:       And I just want

    9                   to add for the record I don't have

  10                    this document either in the files

  11                    that you sent over.

  12                           MS. HAGAN:      I strongly believe

  13                    that I sent them to you, but if I

  14                    have not what I will do is I will

  15                    send them to you again in the bulk

  16                    that I sent them to you in the first

  17                    place and I will actually make sure

  18                    that I direct you to the actual page

  19                    numbers that each of the exhibits

  20                    are on.    I hope that you are not

  21                    misrepresenting the record because I

  22                    am certain that I have sent them all

  23                    to you, but if I haven't I apologize

  24                    I will make sure that I have no --

  25                    not overlooking anything.         But I am
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                                                                 Page 150
    1                               J. WANGEL

    2                    certain that they are in that batch

    3                    of documents.

    4    BY MS. HAGAN:

    5                Q      Now, there is a memo from Mr. Van

    6          Orden to the payroll managers and it's dated

    7          January 8, 2005, you see that, Mr. Wangel,

    8          right?

    9                A      I do.

  10                 Q      It says the full-time annualized

  11           employees the normal work week for an

  12           annualized Pay Code "A" physicians and

  13           dentist" which Dr. Kaye is she's a

  14           physician; am I right?

  15                 A      From my understanding.

  16                 Q      So, employees now working 37 and a

  17           half hours will be required to work 40

  18           hours.     Employees now working 35 hours will

  19           required to work 37 and a half hours per

  20           week.     Primary care physicians work week

  21           requirements are not changing and will

  22           continue to be required to work a minimum of

  23           37 and a half hours, right.          So, at the time

  24           of this arrangement Dr. Kaye was working

  25           9:00 a.m. to 5:30 p.m.; would you agree or
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    1                               J. WANGEL

    2          disagree?

    3                            MS. CANFIELD:     Objection to

    4                    form.    You can answer.

    5                A      Could you repeat the question at

    6          the time of this agreement in 2005.

    7                Q      At the time that you met Dr. Kaye

    8          she represented to you that she had been

    9          working 9:00 a.m. 530 p.m.; is that right?

  10                 A      When I met Dr. Kaye prior to this

  11           transition taking place she was still an

  12           employee at Bellevue hospital, I believe Dr.

  13           Kaye was trying to make a decision about how

  14           she wanted the dispute in terms of her

  15           employer to be I don't think we discussed

  16           her actual hours of work at that time there

  17           was no conversation about 37 and a half to

  18           40 or lunch period or anything like that.

  19           It was driven by compensation, time, and

  20           benefits.

  21                 Q      Would it be fair to say that a

  22           9:00 to 5:00 workday would be how many

  23           hours, Mr. Wangel?

  24                 A      You're asking me would that

  25           include lunch or not?
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    1                              J. WANGEL

    2                Q      Let's include lunch 9:00 to 5:00

    3          with lunch is what?

    4                A      Physically present for eight hours

    5          and an hour for lunch that's a 35 hour

    6          workweek.

    7                Q      I'm asking you nine to five is how

    8          many hours without a lunch break?

    9                A      Eight hours.

  10                 Q      Eight hours a day and that would

  11           have meant that Dr. Kaye was originally

  12           working 37 and a half hours, right?

  13                           MS. CANFIELD:       Objection.

  14                 A      I don't understand how you get to

  15           37 and a half.

  16                 Q      Well, according to this:

  17           "Employees now working 37 and a half hours

  18           will be required to work 40 hour per week."

  19           Right.    And if Dr. Kaye's hours were -- if

  20           she was working eight and a half hours a

  21           day, right, and she was taking a half hour

  22           lunch she was working eight hours day?

  23                 A      I can't speak to Dr. Kaye's hours

  24           of work in 2005.

  25                 Q      That's what she represented to you
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                                                                 Page 153
    1                              J. WANGEL

    2          when she was having her discussions about

    3          her workday and her workweek she's

    4          representing to you that she worked an eight

    5          and a half hour day with a half hour lunch

    6          and that's how she got to be -- how she

    7          would work the eight hour day; is that

    8          right?

    9                          MS. CANFIELD:       Objection.

  10                 A      My testimony was that when I met

  11           with Dr. Kaye prior to this transition we

  12           did not discuss the hours worked or anything

  13           related to the lunch break.

  14                 Q      Now, according to this document,

  15           right, it's not necessarily specifying how

  16           long their lunch hour has to be.           Do you see

  17           anything to that effect in here?

  18                 A      As you scroll through now like I

  19           said before, the standard lunch break, the

  20           one hour regardless of 35, 37 and a half --

  21                 Q      When you received this document

  22           did you actually adhere to the document did

  23           you take it into consideration?

  24                 A      I'm unclear consideration of what.

  25                 Q      Well, apparently Dr. Kaye's
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                                                                 Page 154
    1                               J. WANGEL

    2          position is supported by this document and

    3          it doesn't appear that it was even

    4          acknowledged.       Here a CHS employee Rosalind

    5          Barrow shared with you the very document

    6          that Dr. Kaye referenced in her prior e-mail

    7          saying that this agreement had been reached

    8          and she had been adhering to it up until

    9          this point and when she referenced the

  10           document after everyone had asked about it

  11           there had been no efforts to adhere to it.

  12           Why is that?

  13                             MS. CANFIELD:     Objection as to

  14                     form.    You can answer if you're

  15                     able.

  16                 A      So, Ms. Hagan, you said yourself

  17           that this document does not speak to the

  18           lunch break.       So, I'm not sure adherence to

  19           what, there's no language about lunch break.

  20           Adherence to what part of this document.

  21           The 40 hour week is what she was required to

  22           work.

  23                 Q      She was working a 40 hour workweek

  24           and if she's saying I was working 9:00 to

  25           5:30, right, why must -- if she's making the
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                                                                 Page 155
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    2          40 hours that way, why did her hours have to

    3          the change to a nine hour workweek in order

    4          to accommodate CHS's standard.           You were

    5          requiring -- nine hours a day?

    6                            MS. CANFIELD:     Objection as to

    7                    form.    You can answer.

    8                A      Again, I am not required Dr. Kaye

    9          to work in specific schedule.          I didn't want

  10           then, not my decision to make.

  11                 Q      Who required --

  12                 A      Let me answer your question.            So

  13           again, eight hours worked and an hour of

  14           lunch is what standard as my e-mail said

  15           throughout the entire system, right.            If

  16           there is an operational decision that needs

  17           to be made whether or not a director or

  18           somebody in charge of the unit or somebody

  19           who is supervising needs to be present at

  20           their work location or a supervised staff

  21           who otherwise would be available for work.

  22           That's an operational decision made by the

  23           program.

  24                        If you need to be present for nine

  25           hours a day to make that happen, that's a
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                                                                 Page 156
    1                              J. WANGEL

    2          decision that was made by the CHS, FPECC.

    3                Q      I'm going to direct your attention

    4          back to the portion of the document that we

    5          were discussing earlier.         Prior to this

    6          document coming into effect, Dr. Kaye was on

    7          an hour lunch break, right?          And according

    8          to this document on February 1, 2005, then a

    9          half hour a day, was added per day, which

  10           means then her lunch break went from an hour

  11           to a half hour.       However, way she came up

  12           with getting this additional half hour, she

  13           choose or whoever chose to have the half

  14           hour lunch break rather than the hour lunch

  15           break, why was this not added, especially

  16           she had been working in this capacity for

  17           over 18 years at that time and she had this

  18           document that's been basically issued by her

  19           union, why was that not acceptable?

  20                           MS. CANFIELD:       Objection.

  21                     Compound question.      You can answer?

  22                 A      So again, this document doesn't

  23           reference a lunch break.         We're not talking

  24           about why break was a half hour a day --

  25           that's three minute of work time going from
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                                                                 Page 157
    1                              J. WANGEL

    2          37 and a half to 40, right?          I can't speak

    3          for Bellevue -- of FPECC.         Someone in a

    4          position of leadership at Health and

    5          Hospitals made a decision to move the entire

    6          FPECC program to Correctional Health.

    7                Q      Who was that?

    8                A      I have no idea.      That's not my

    9          decision to make.       I wasn't involved in

  10           that.     I don't know.     A decision was made to

  11           move the entire FPECC program over to

  12           Correctional Health.        How Correctional

  13           Health chooses to manage that program, I

  14           mean, it's a difference, it's different

  15           leadership managing FPECC, because it

  16           changed hands.

  17                        So if operationally management

  18           feels that the management of the staff at

  19           each of the FPECC sites needs to be present

  20           for the full nine hours, eight hours work a

  21           day or whatever, that hour break, that's

  22           management's discretion.

  23                 Q      And were all the directors at all

  24           of the court clinics, were each of them

  25           required to work nine-hour days?
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                                                                 Page 158
    1                              J. WANGEL

    2                A      I don't know.      But again, there

    3          are other collective bargaining agreements

    4          at play here.      Right?    So we have to conform

    5          with the collective bargaining with Doctors'

    6          Council and Health and hospital.

    7                Q      Who made the decision that Dr.

    8          Kaye could not reduce her lunch hour by half

    9          an hour verses having to work an extra half

  10           hour a day; who made that decision?

  11                 A      Ultimately I actually don't know

  12           or I don't recall.

  13                 Q      And who told you that Dr. Kaye's

  14           hours had to change?

  15                 A      I'm not sure somebody did tell me

  16           that Dr. Kaye's hours had to change.

  17                 Q      So how did it come to be that Dr.

  18           Kaye's hours changed then?

  19                 A      My general recollection is that in

  20           uniform across the board, Health and

  21           Hospitals doctors and other titles that are

  22           H&H employees, everyone takes an hour break.

  23           And to make an exception here, would mean

  24           others would be entitled to the same; and

  25           operationally that's not feasible.
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                                                                 Page 159
    1                              J. WANGEL

    2                 Q      Operationally for what exactly?

    3          Operationally in terms of what?

    4                 A      If you had every staff member who

    5          shouldn't be taking an hour lunch break as

    6          typically and consistent across the system.

    7          Leaving a half hour early, there would not

    8          be--

    9                 Q      Let's put this in context.        Dr.

  10           Kaye worked for the court clinics, right?

  11           How is her leaving at 5:00 a problem for the

  12           courts?

  13                  A      I don't know.     That's not my

  14           decision to make.       I'm not a supervisor.         I

  15           don't work for FPECC.        That's not a labor

  16           and relation's decision.

  17                  Q      Is a operational decision from Dr.

  18           Kaye's supervisor?

  19                  A      I don't know.     I can't speak for

  20           them.      I don't manage FPECC.      It's not my

  21           decision to determine what's necessary for

  22           the FPECC program.

  23                  Q      Who manages FPECC?

  24                  A      Today I'm not sure.      There was

  25           Dr. Jain, there was Dr. Ford, Andrea Swenson
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                                                                 Page 160
    1                               J. WANGEL

    2          was an administrating manager.           Those were

    3          the folks.

    4                Q      So you were not necessarily

    5          responsible for changing Dr. Kaye's hours

    6          but you participated in, I guess, reading

    7          these various documents and perhaps giving

    8          your opinion as to what you believe they

    9          meant; am I right?

  10                 A      I don't give you an opinion.          I'm

  11           telling you exactly what I told them.            This

  12           is the collective bargaining call this is

  13           the practice throughout the system.

  14                 Q      Where is the collective bargaining

  15           agreement that said Dr. Kaye had to take an

  16           hour lunch; where is that?

  17                 A      It's actually not there.         That's

  18           the best practice for the entire system for

  19           as long as anybody can remember.

  20                 Q      So there's no document that says

  21           Dr. Kaye has to take an hour lunch?

  22                             MS. CANFIELD:     Objection to

  23                     form.    You can answer.

  24                 A      Not that I'm not aware of, no.

  25                 Q      Okay.    I'll move on.
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                                                                 Page 161
    1                                J. WANGEL

    2                A      And there's also no document that

    3          says the other 42,000 people who worked with

    4          the system have to take a lunch, but they

    5          do.

    6                Q      Now, at some point how would

    7          describe Dr. Kaye's relationship with her

    8          supervisor Dr. Jain?

    9                A      I wouldn't hazard to guess.

  10                 Q      Did Dr. Jain ever come to you to

  11           complain about Dr. Kaye at any time?

  12                 A      To complain, no.

  13                 Q      Did Dr. Jain ever accuse Dr. Kaye

  14           of anything to your knowledge?

  15                 A      I'm not aware of it.

  16                 Q      So you don't recall Dr. Jain ever

  17           having any allegations against Dr. Kaye

  18           during the course of your employment?

  19                             MS. CANFIELD:     Objection as to

  20                     form.     You can answer.

  21                 A      Dr. Jain having accusations

  22           against Dr. Kaye, you said?

  23                 Q      Yes.

  24                 A      Not that I recall.

  25                 Q      So I'm going to show you what is
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    1                              J. WANGEL

    2          to be marked Plaintiff's Exhibit 16.            For

    3          purposes of the record Plaintiff's Exhibit

    4          16 bears the Bates stamp series NYC_1060 to

    5          NYC_1061.

    6                             (Whereupon, Email

    7                             (NYC_1060-1061) was marked as

    8                             Plaintiff's Exhibit 16 for

    9                             identification as of this date.)

  10                 Q      I'm going to start at the

  11           beginning of the thread, as I had before.             I

  12           think you should be seeing now NYC_1060 and

  13           NYC_1061.     Do you see that?       Do you see sent

  14           from my IPhone right now at the bottom of

  15           the page?

  16                           MS. CANFIELD:       Yes.

  17                 Q      So it's an e-mail from Dr. Jain

  18           to, I guess -- first, it's an e-mail from

  19           Dr. Jain.     It says, may be better in person

  20           or over the phone.       I'm free -- let me start

  21           from the beginning.        I'm sorry.

  22                        So it starts from Dr. Jain at the

  23           bottom of, in the middle of NYC_1061.            It

  24           says:     Hi, Elizabeth I'm letting you know I

  25           am in the Bronx court clinic.          I am told
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                                                                 Page 163
    1                              J. WANGEL

    2          that Dr. Kaye has handwritten notes out of

    3          the charts and has them in her possession.

    4          They are no longer in the charts and we

    5          cannot find them.       We can discuss more

    6          tomorrow.     Beesh.

    7                       Do you recall this on December 20,

    8          2018?     Do you recall any of this, Mr.

    9          Wangel?

  10                 A      I don't believe so.

  11                 Q      So then Dr. Ford says, "thanks,

  12           Beesh.     Who else is aware of this?"         Right?

  13           Then Dr. Jain says, "maybe better in person

  14           or over the phone.       I'm free now, but okay

  15           also for when we meet tomorrow."           Then Dr.

  16           Jain responds:      We looked again and cannot

  17           locate them according to Lucrecia some of

  18           the charts were pulled on November 18 and

  19           there were subsequent charts as well."

  20                        Now, at any point did it come to

  21           your attention that Dr. Kaye accused Dr.

  22           Jain of destroying his handwritten notes?

  23                 A      I'm sorry, destroy the notes?

  24                 Q      Did Dr. Jain himself destroy his

  25           notes?
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    1                               J. WANGEL

    2                A      Not that I recall.

    3                Q      So you never heard any discussion

    4          from either Dr. Jain or Dr. Kaye about the

    5          destruction of handwritten notes in the

    6          client's file?

    7                            MS. CANFIELD:     Objection.      You

    8                    can answer.

    9                A      I'm trying to remember.        Again,

  10           it's a while back.       As you scroll I'm trying

  11           to remember the details, if I spoke with JW.

  12           I'm trying to remember.         We spoke to, papers

  13           were filed.       I don't recall.

  14                 Q      She's asking for specifics and she

  15           felt like that would be more helpful.            Then

  16           Dr. Jain describes it.        There were at least

  17           ten files involved and then ten files

  18           involved.     Is that enough for you or should

  19           we scroll up even more?

  20                             MS. CANFIELD:     Objection.      For

  21                     what?

  22                 Q      Well, this is actually an exchange

  23           between Dr. Ford and Mr. Wangel.           So she

  24           sent him this thread to bring him up to

  25           speed, so I guess she could obtain advice.
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    1                              J. WANGEL

    2          Would that be accurate, Mr. Wangel?

    3                A      All I know is she sent it to me.

    4          The purpose of why she sent it, I can't

    5          speak to it.      Trying to recall the details

    6          here.

    7                          MS. CANFIELD:       This e-mail

    8                    doesn't say Dr. Kaye accused Dr.

    9                    Jain of --

  10                           MS. HAGAN:      I'm going to stop

  11                     you because you're testifying on --

  12                           MS. CANFIELD:       I'm just saying

  13                     that she's saying that Dr. Kaye

  14                     maybe took the notes.

  15                           MS. HAGAN:      I asked him that,

  16                     and again I would ask --

  17                 A      That's why I'm asking for

  18           clarification.      I already testified that I'm

  19           not aware of the destruction of files.             I

  20           was asking to scroll.        I get the fact, the

  21           e-mail, but I don't recall anything about

  22           these files.

  23                 Q      Now, at any point now Dr. Kaye

  24           also alleges that she was subject to she

  25           felt that -- she's concerned about fishing
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                                                                 Page 166
    1                               J. WANGEL

    2          emails.    Do you recall?

    3                A      Dr. Kaye was concerned about

    4          fishing emails?

    5                Q      Yes.

    6                A      I think I need a little bit more

    7          context.     Again, this is a while back so.

    8                Q      At some point there was a series

    9          of emails that were exchanged with Dr. Kaye

  10           and staff about emails that she received

  11           from a Teleakie (phonetic) Parker.            Do you

  12           recall who that is?

  13                 A      I don't recall.

  14                 Q      Do you recall any e-mails that Dr.

  15           Kaye may have sent showing concern that her

  16           credentialing information, Social Security

  17           number, that stuff was being sought out of

  18           nowhere?

  19                 A      Yeah.    I think there was a while

  20           back, if I remember the details.            I believe

  21           central office HR had messaged a large group

  22           of the staff related to a credentialing

  23           issue of some sort.        I think there was a

  24           concern of who spoke to.         It was a

  25           legitimate purpose.
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    1                              J. WANGEL

    2                Q      So was this some kind of project

    3          per se?

    4                A      I mean it's an HR function.         I

    5          think HR is required to keep everybody up to

    6          date as far as credentialing.          It's just a

    7          function of HR if I remember, there was some

    8          concern about who and why they are asking.

    9                Q      Did any of the other center

  10           directors receive an e-mail as part of this

  11           initiative; do you recall?

  12                 A      All I can say I believe it was

  13           initiative that involved clinical staff.                 I

  14           can't speak who did -- I really wasn't

  15           involved in the project.

  16                 Q      It involved clinical staff?

  17                           MS. CANFIELD:       Can you put an

  18                     objection before.      I got it out.       I

  19                     don't know if anyone heard me.

  20                 Q      And you said it involved clinical

  21           staff; is that right?

  22                 A      Credentialing clinical staff,

  23           yeah.

  24                 Q      So I want to kind of go through a

  25           discussion of this fishing, of Dr. Kaye's
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                                                                 Page 168
    1                               J. WANGEL

    2          concern about fishing emails.

    3                       I'm going to first draw your

    4          attention to what will be marked as

    5          Plaintiff's Exhibit 17.

    6                              (Whereupon, Payroll Audit Report

    7                              (NYC_2159-2161) was marked as

    8                              Plaintiff's Exhibit 17 for

    9                              identification as of this date.)

  10                 Q      For purposes of the record exhibit

  11           17 bears the Bates stamp series NYC_2159,

  12           2160, 2161.       Let me just make sure I share

  13           the screen.

  14                        You should be looking at the

  15           bottom of the Correctional Health

  16           services -- you should see Health and

  17           Hospitals corporation; Do you see that?

  18                 A      HR payroll audit report.

  19                 Q      Has there been any other audit

  20           reports exercises prior to this exercise to

  21           your knowledge, Mr. Wangel?

  22                             MS. CANFIELD:     Objection as to

  23                     form.    Can we see the whole email

  24                     again.    I don't have this one in my

  25                     batch.
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                                                                 Page 169
    1                                J. WANGEL

    2                          MS. HAGAN:      You have it

    3                    actually.     This is Defendant's

    4                    production.     I'm going to have to

    5                    look through the documents because I

    6                    did send you 125 pages worth of

    7                    exhibits this morning.       I think

    8                    that's actually consistent with the

    9                    number of pages that was produced

  10                     for today.    If there is a

  11                     discrepancy, it seems you don't have

  12                     any of the exhibits and that can't

  13                     be true.

  14                           MS. CANFIELD:       It's 165 pages.

  15                           MS. HAGAN:      It should

  16                     certainly should be there, but if

  17                     it's not, I will get them to you.

  18                     If it's there, I will direct you to

  19                     the pages accordingly as to where

  20                     they are.     I apologize for any

  21                     inconvenience, Ms. Canfield.         I'll

  22                     be sure to make sure that we get

  23                     this right.     I apologize.

  24                 Q      So now, NYC_2159 through 2161,

  25           right.     And the bottom page is the Health
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    1                              J. WANGEL

    2          and Hospital audit report.

    3                       Now, I'm asking, Mr. Wangel, had

    4          there ever been an occasion prior to this

    5          exercise that CHS to your knowledge had

    6          engaged in any other exercise to this

    7          effect?

    8                          MS. CANFIELD:       Objection.     You

    9                    can answer.

  10                 A      So first of all, I'm not even sure

  11           what this is related to.         It doesn't have

  12           anybody's name or I'm not even sure what

  13           this is.     I'm not sure why you're calling it

  14           an exercise.

  15                 Q      Have you seen one of these before?

  16                 A      I'm sure.     Looks like a standard

  17           mainframe-type printout.

  18                 Q      For the purposes of the record so

  19           that's it's clear, it says, Health and

  20           Hospital Corporation HR payroll audit

  21           report.     You see that, right?

  22                 A      I see the title.

  23                 Q      It says the business unit

  24           Correctional Health services.          I'm going to

  25           ask you in your capacity, have you ever seen
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                                                                    Page 171
    1                              J. WANGEL

    2          an HR payroll audit report?

    3                          MS. CANFIELD:       Is this the

    4                    full document.

    5                Q      I'm asking in general.        I'm not

    6          asking you for the whole document.

    7                A      I mean there's a whole bunch of

    8          different audits that are conducted.             I

    9          can't tell you what information was related

  10           to who and for what period of time.            I just

  11           don't know what this is and why --

  12                 Q      These are reports generated by a

  13           system.

  14                 A      I don't recall the specific

  15           purpose of this document.

  16                 Q      I'm just asking you if you've seen

  17           any report of this nature before.           I'm not

  18           saying this report.        I'm asking you --

  19                 A      You're showing me one quarter of a

  20           page.     I don't recall what this is.

  21                 Q      I'm asking you are these reports

  22           generated by Health and Hospitals, Mr.

  23           Wangel?

  24                           MS. CANFIELD:       Objection.

  25                 A      I would they are.       Obviously from
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                                                                 Page 172
    1                                J. WANGEL

    2          the Health and Hospitals system, but I don't

    3          know if they are generated from Health and

    4          Hospital.

    5                Q      I'm asking have you ever seen one

    6          before?    I'm going to scroll up.         Counsel

    7          felt the need to --

    8                A      Obviously this is Dr. Kaye.

    9                Q      Okay, right.     So here we have her

  10           title.    Her paid leave of absence, any

  11           number of things, position number, effective

  12           status date.

  13                 A      Okay.

  14                 Q      Et cetera, right?

  15                 A      Right.

  16                 Q      Now, looking at page one and page

  17           two of this particular report for Dr. Kaye.

  18           I'm not sure who these other employees are.

  19           Have you ever seen one of these before?

  20                 A      I can't recall seeing this

  21           document before.        I may have, but I don't

  22           recall seeing it.

  23                 Q      I'm not saying this document for

  24           any report similar to this, any other HR

  25           payroll audit reports, have you ever seen
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                                                                   Page 173
    1                                J. WANGEL

    2          any of them before?

    3                A      One, I'm not sure what an HR audit

    4          report is.        I think it's titled audit

    5          report.     I'm not sure what it's auditing.

    6          I'm not exactly sure of the purpose.            I

    7          can't say that I've seen this particular

    8          report before.

    9                Q      Did you know that Dr. Kaye was

  10           part of an audit report exercise at any

  11           given point?

  12                 A      I don't recall.

  13                             MS. CANFIELD:     Objection as to

  14                     form.

  15                 Q      So then the CHS personnel actions,

  16           is this some kind of mail group?           And, if

  17           so, who presides over the mail group?

  18                 A      I guess personnel actions is HR

  19           mailbox.     Copy, me, Laboy.

  20                 Q      Nos, who would send an e-mail that

  21           says:     Hi, attached you will find supporting

  22           documents for HR payroll audit report

  23           October 30.       Kindly let us know if you have

  24           any questions.        Thanks, Ali."

  25                        Who's Ali?
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                                                                 Page 174
    1                                J. WANGEL

    2                 A      Ali, she works for human

    3          resources.

    4                 Q      She works for human resources,

    5          right?

    6                        Now this Dr. Y, who's signature do

    7          you know that to be?

    8                             MS. CANFIELD:    Objection as to

    9                     form.    You can answer.

  10                  A      I actually don't know.       I've never

  11           seen that particular before.

  12                  Q      Have you seen Dr. Yang ever sign

  13           her name that way before?

  14                  A      I don't believe so, no.

  15                  Q      So you're not sure if it is her or

  16           not?

  17                              MS. CANFIELD:    Objection as to

  18                      form.    You can answer.

  19                  A      I believe I already did -- no, I

  20           don't recognize that as Dr. Yang's

  21           signature.

  22                  Q      But you can't say if it is or not.

  23           You can't say if that's Dr. Yang's signature

  24           or someone else's; am I right?

  25                  A      I don't know who's signature that
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                                                                 Page 175
    1                                J. WANGEL

    2          is.

    3                Q      Have you seen this report now that

    4          we've reviewed it together?

    5                A      Honestly, I was copied on it and

    6          whoever called why it was run or who ran it

    7          or for what purpose, no.

    8                          MS. CANFIELD:       I'm going to

    9                    make sure you give me a chance to

  10                     object, okay.

  11                           THE WITNESS:      Sure.

  12                 Q      I'm going to respectfully ask you.

  13           Dr. Kaye had some concerns, very serious

  14           concerns about being subject to fishing

  15           types of emails where her identity had been

  16           stolen in the past.        Do you recall those

  17           conversations or any emails to that effect?

  18                           MS. CANFIELD:       Objection as to

  19                     form. You can answer.

  20                 A      Only with regard to what you said

  21           previously about credentialing.           I remember

  22           it being part of that coming to my attention

  23           in that context.

  24                 Q      Right.     And did anyone simply tell

  25           Dr. Kaye that there was an exercise being
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                                                                 Page 176
    1                               J. WANGEL

    2          done by random employees in which to review

    3          their credentials?

    4                            MS. CANFIELD:     Objection to

    5                    form.    You can answer.

    6                A      I can't speak to what anybody else

    7          says to Dr. Kaye.       I think I recall

    8          communicating with multiple unions.            There

    9          was a concern from a number staff related to

  10           the union that it was, in fact, a legitimate

  11           business purpose.

  12                 Q      Did anyone actually tell Dr. Kaye

  13           that this is being done?

  14                 A      I can only speak to myself, and I

  15           don't recall if I did or didn't.

  16                 Q      Why not?

  17                 A      Why not?    Why don't I remember?

  18                 Q      You don't have any reason why

  19           you -- you don't remember even having an

  20           exchange with Dr. Kaye; am I right?

  21                 A      That's correct.      And I'll tell you

  22           typically a vast, vast, vast majority of the

  23           time unless a unionized staff member reaches

  24           out to me, I don't want to communicate with

  25           staff without a union rep.          So if Dr. Kaye
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                                                                 Page 177
    1                              J. WANGEL

    2          has concerns, I would want her union to be

    3          part of the conversation at least know

    4          what's going.      Not to say that these

    5          concerns aren't addressed.          But there's

    6          comes a point the union should be there.             I

    7          was communicating with multiple -- on

    8          multiple fronts related to this issue.

    9          There was a concern with a number of staff

  10           and a number of different --

  11                 Q      What I'm going to do is I'm going

  12           to show you what's going to be marked as

  13           Plaintiff's Exhibit 18.         Plaintiff's Exhibit

  14           18 bears Bates stamp series NYC_2629,

  15           NYC_2630.     I'm going to show you the

  16           beginning of the document.

  17                              (Whereupon, Email

  18                              (NYC_2629-2630) was marked as

  19                              Plaintiff's Exhibit 18 for

  20                              identification as of this date.)

  21                 Q      Now, before we get into the body

  22           of it.    It says it's from Teleakie Parker,

  23           assistant coordinating manager of

  24           operations, right?       Where would operations

  25           fall into the purview of your departments
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                                                                 Page 178
    1                               J. WANGEL

    2          over at CHS?

    3                A      It's separate and apart from

    4          labor, but I believe Ms. Parker she did work

    5          for operations at some point.          Now, I'm not

    6          sure if HR was asking operations folks to

    7          help with this.       I don't know.      Operations

    8          is separate and apart from labor.

    9                Q      At some point Dr. Kaye was told

  10           that she was part of the project.           Would you

  11           agree or was --

  12                             MS. CANFIELD:     Objection.     No

  13                     foundation.     You can answer.

  14                 Q      Would you agree from what you've

  15           seen so far that Dr. Kaye was part of the

  16           project?

  17                             MS. CANFIELD:     Objection.

  18                 A      Part of the project?

  19                 Q      Yes or no.     What was Dr. Kaye part

  20           of the project?

  21                             MS. CANFIELD:     Objection as to

  22                     form.    No foundation.     Go ahead.

  23                 A      I wouldn't call it a project.          I

  24           say that it's a requirement that certain

  25           titles performing certain functions would be
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                                                                 Page 179
    1                               J. WANGEL

    2          credentialing.

    3                Q      So, Ms. Parker reaches out Dr.

    4          Kaye and on March 7, 2019.          You see that,

    5          right?

    6                A      (No verbal response given.)

    7                Q      And she ask for a list of required

    8          documents that she must complete and submit.

    9          You see this, right?

  10                 A      I do.

  11                 Q      And she says she has to do so by

  12           March 11, 2019.       You see that, right?

  13                 A      I do.    It says please submit

  14           before.

  15                 Q      And the e-mail on March 7 at

  16           11:03 a.m., you see that?         So she has about

  17           two business days to get all this stuff

  18           together, right?

  19                        If the e-mail is sent on Thursday,

  20           Mr. Wangel, and she only has 'til Monday,

  21           how many business days does that give her?

  22           It list at least one, two, three, four,

  23           five, six, seven, eight, nine, ten, eleven

  24           documents.

  25                 A      Two and a half.
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                                                                 Page 180
    1                              J. WANGEL

    2                Q      Maybe two and a half business days

    3          at best, right?

    4                A      Are you asking me?

    5                Q      Asking you.     I'm trying to

    6          understand.

    7                A      I can never tell.       Sometimes you

    8          at the end of the question you say right and

    9          you move on; sometimes you wait for a

  10           response.     It's hard to know when you're

  11           asking me for an answer.

  12                 Q      I'm working on that.        I'm going to

  13           work on that.

  14                 A      I'm trying to figure out when I'm

  15           suppose to answer that.         Yeah, two and a

  16           half days.

  17                 Q      Two and a half business days.          So

  18           then Dr. Kaye responds to Ms. Parker she's a

  19           credential physician at H&H and has been

  20           since 1999.     On July 1 the management of my

  21           department was moved from Bellevue to

  22           Correctional Health Services, both of which

  23           are under auspice H&H.        Right?     And we were

  24           told that the credentialing status of

  25           Bellevue court clinics employees would roll
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                                                                 Page 181
    1                              J. WANGEL

    2          over to CHS.      I was never informed that I

    3          would be required to re-credential at CHS.

    4                       Is this true?

    5                A      I don't know.      I see that I'm

    6          copied on this e-mail, but labor relations

    7          is not involved in any way in credentialing

    8          or re-credentialing.

    9                Q      I'm asking you if is it's true to

  10           carry over from what you understood.

  11                 A      I never had a conversation or made

  12           aware of it was happening.          I can speak

  13           generally that credentialing and

  14           re-credentialing happens all the time.             I

  15           can't imagine that if you were credentialing

  16           once it carries on to your entire duration

  17           of employment with your employer.           I don't

  18           know anything specific about was told to

  19           staff in regards to the transition here.

  20                 Q      Mr. Wangel, you've been working

  21           now at H&H and CHS and whatever other entity

  22           is affiliated with this organization for a

  23           group of doctors and physicians for sometime

  24           now, at least since 2015.         I think you

  25           probably know at this point that doctors
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                                                                 Page 182
    1                               J. WANGEL

    2          probably get re-credentialed every ten

    3          years; would that be accurate?

    4                            MS. CANFIELD:     Objection as to

    5                    form.    You can answer.

    6                A      Again, labor is not responsible

    7          for credentialing, and I am not familiar

    8          with the rules.

    9                Q      Did you know, yes or no, that

  10           doctors were re-credentialed every ten

  11           years?

  12                 A      No.

  13                 Q      You're not really that familiar

  14           with the credentialing process; am I right?

  15                 A      I know a little bit.

  16                 Q      At any point did you represent to

  17           Dr. Kaye or anyone else if they had

  18           recurrent credentials at Bellevue that those

  19           current credentials would then be

  20           transferred over to CHS?

  21                 A      I don't recall having any

  22           conversation about believe it or not whether

  23           or not another facilities credentialing

  24           process or verified credential carried over

  25           to CHS.
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                                                                 Page 183
    1                               J. WANGEL

    2                Q      I'm going to ask you, were any

    3          doctors told that they would have to

    4          re-credential upon the transfer to CHS?

    5                            MS. CANFIELD:     Objection as to

    6                    form.    You can answer.

    7                A      I can only speak for myself.

    8          Again, I'm not aware of those conversations.

    9          It's not part of any function.           I was not

  10           part of any conversation or made aware of

  11           what was told instead.

  12                 Q      Who would have had those

  13           conversations with Dr. Kaye?

  14                 A      I don't know whether it would have

  15           been the former Bellevue.         There's a whole

  16           credentialing unit for the system.            I think

  17           it's handled centrally now.          HR was clearly

  18           involved here because something had happened

  19           and they were asking for documents --

  20           re-credentialed as appropriate.           So HR

  21           handles that function for CHS.

  22                 Q      Who's Wilma Soto?

  23                 A      She's the director of human

  24           resources I believe.

  25                 Q      Did you send this e-mail direct to
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                                                                 Page 184
    1                                 J. WANGEL

    2          Wilma Soto; am I right?         That's what it says

    3          here, right?

    4                           MS. CANFIELD:      Objection.

    5                     Documents speaks for itself.

    6                 Q       Yes or no, did you send the e-mail

    7          to Wilma Soto?

    8                 A       What you're showing me, yes.        It

    9          shows I sent the e-mail to Ms. Soto.

  10                  Q       Did you followup with Ms. Soto

  11           after this?

  12                  A       I don't recall what the follow up

  13           was.       I could have.   I don't recall

  14           specifically.

  15                  Q       Mr. Wangel, I'm certain you would

  16           agree with me that potentially having your

  17           ID, your Social Security number and birth

  18           date used for improper purposes can be of a

  19           grave concern to anyone; am I right?

  20                  A       Sure.

  21                  Q       And so being in your position and

  22           having spoken to Dr. Kaye about the

  23           transition, wouldn't it have been of

  24           interest to you for her or anyone else in

  25           her position that there's this initiative
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                                                                 Page 185
    1                                J. WANGEL

    2          and she shouldn't worry that it's not some

    3          kind of like issue.        It's not some kind of

    4          like nefarious effort by anyone?

    5                            MS. CANFIELD:     Objection as to

    6                    form.     You can answer.

    7                A      The question is whether or not I

    8          think somebody should have told Dr. Kaye

    9          that it was for a legitimate business

  10           purpose?

  11                 Q      Yes.

  12                 A      I believe those conversations were

  13           happening on a wide scale.          This went well

  14           beyond Dr. Kaye's situation.          Again, there

  15           was a whole host of staff who had concerns

  16           about this and timeframe.         I think

  17           ultimately there were some adjudgments made

  18           as to the timeframe and the latitude people

  19           were given to provide documentation that

  20           need to be re-credentialed.

  21                        I understand the concerns for sure

  22           and that was conveyed to all the staff or by

  23           the union or by HR who had conversations

  24           with the staff.

  25                 Q      I'm going to ask you, Mr. Wangel,
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                                                                 Page 186
    1                              J. WANGEL

    2          did you see fit at any given time to speak

    3          to Dr. Kaye about the fact that there was a

    4          legitimate business purpose allegedly for

    5          this re-credentialing exercise?

    6                          MS. CANFIELD:       Objection as to

    7                    form. You can answer.

    8                A      You're asking whether I felt I

    9          should personally reach out to Dr. Kaye or

  10           whether someone should reach out to Dr.

  11           Kaye?

  12                 Q      Well, you delegate to someone else

  13           maybe you actually do so in writing so Dr.

  14           Kaye would at least know --

  15                 A      Honestly, I had conversations with

  16           HR because HR knew I was having

  17           conversations.      There was a very big concern

  18           and I was forwarding Dr. Kaye's concern to

  19           Ms. Soto, who works for HR and works with

  20           credentialing.

  21                 Q      I'm going to enter into the record

  22           Plaintiff's Exhibit 19.         Right?    Plaintiff's

  23           Exhibit 19 bears the Bates stamp series

  24           NYC_3004, 3005, 3006, 3007 and 3008, right?

  25                              (Whereupon, Email
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    1                               J. WANGEL

    2                              (NYC_3004-3008) was marked as

    3                              Plaintiff's Exhibit 19 for

    4                              identification as of this date.)

    5                       Now, I'm going bring your

    6          attention to a portion of the e-mail where

    7          Dr. Kaye explains her position as to why

    8          she's adamant --

    9                            MS. HAGAN:    Does someone have

  10                     a dog in the background?

  11                             THE WITNESS:    Yeah, I do.      I'm

  12                     sorry about that.

  13                 Q      In the e-mail from Dr. Kaye to, I

  14           guess, spamadmin, why did Dr. Kaye's e-mail

  15           go to spam.       Do you know?

  16                             MS. CANFIELD:     Objection as to

  17                     form.    You can answer.

  18                 A      It appears that's who she sent it

  19           to.

  20                 Q      Okay, well, I don't know.         It's

  21           dated March 11, 2019.        It says, to whom it

  22           may concern, I have been a physician at HHC

  23           for two decades.       I was hired in 1999.        I

  24           was a victim of identity theft(inaudible).

  25                 A      I see what you're saying.
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                                                                 Page 188
    1                              J. WANGEL

    2                Q      "The detective who investigated my

    3          case at the time determined that it was

    4          probable that this breech occurred during my

    5          initial HHC credentialing process.

    6          Following this negative experience I am

    7          vigilant in my efforts to protect against

    8          the misuse of my personal data."           Right?

    9          "My department was transferred from Bellevue

  10           hospital to Correctional Health Services

  11           July 1st, 2018.       Since that time, I have

  12           been subjected to repeated privacy

  13           violations.     With each occurrence I

  14           attempted to address the violation and was

  15           assured on two occasions, incorrectly, that

  16           the problem had been resolved."

  17                        Do you recall any of this?

  18                           MS. CANFIELD:       Objection as

  19                     form you can .

  20                 A      Generally.     I don't recall Dr.

  21           Kaye's e-mail specifically to spamadmin,

  22           which is an It box.        You think you're

  23           getting something in your e-mail from an

  24           outside any type of spam-related thing.

  25           They typically block those types of
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                                                                  Page 189
    1                                  J. WANGEL

    2          messages.

    3                 Q       Further from some time away Dr.

    4          Ford go to it, and she sent it to Ms. Laboy

    5          who then CC's you.          Right?    This is on

    6          July 2, 2019.        So at some so point it makes

    7          it out of the spam.         And Dr. Ford then

    8          emails both of you.         She says please send me

    9          whatever resolution you have for this.

  10                  A       She didn't e-mail me.      I was

  11           copied.      She emailed HR.

  12                  Q       Right.     You're copied and so is

  13           Wilma Soto and Jessica Laboy.

  14                  A       It's to Jessica and me as a CC.

  15                  Q       Why would she CC you?      I'm just

  16           curious.

  17                            MS. CANFIELD:        Objection.

  18                  A       I can't speak to why I'm copied on

  19           the e-mail.

  20                            MS. CANFIELD:        Objection.

  21                            Jonathan, make sure you pause

  22                      please.

  23                            THE WITNESS:        Sorry.

  24                  Q       Then Ms.     Laboy continues CCing

  25           you.       Then again Dr. Ford goes from CCing
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                                                                 Page 190
    1                              J. WANGEL

    2          you to actually addressing it to you.            She

    3          says, who should I direct Melissa to speak

    4          to in Doctors' Council.         And Ms. Laboy

    5          answers, Kevin, right?        I guess she seeks

    6          additional guidance from Ms. Kent.

    7                       Did you have any further dealings

    8          or any further involvement in this issue

    9          with Dr. Kaye in fishing --

  10                 A      No.   I can tell you at the time --

  11           this is July 2019 -- I was basically tying

  12           up certain business at Correctional Health.

  13           I actually was there just to close out

  14           certain things, this not being one of those

  15           items.    I was already transitioning to the

  16           new position at that point.

  17                 Q      So I'm going to ask you now about

  18           some questions that are involved, that

  19           involved the Dr. Kaye's reporting of a 730

  20           exam.

  21                 A      You can keep talking.        I hear you.

  22                 Q      So I'm going to ask you some

  23           questions that involve Dr. Kaye's recording

  24           of a 730 examination.        Do you remember any

  25           of those of what happened?
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    1                                J. WANGEL

    2                             MS. CANFIELD:    Objection.

    3                 A      I recall some of the circumstance,

    4          yes.

    5                 Q      What do you recall?      Let's start

    6          with that.

    7                 A      I recall that there was an

    8          instance where Dr. Ford became aware of

    9          reviewing the transcripts that Dr. Kaye was

  10           recording certain proceedings on a personal

  11           device of the notes to the Court and there

  12           were others taking part in the hearing.

  13                  Q      First and foremost, let's kind of

  14           put this into context.        How familiar are you

  15           with 730 examinations from this point?

  16                  A      Not very.

  17                  Q      You're very familiar with them?

  18                  A      I said not very.

  19                  Q      Where does 730 examinations take

  20           place?

  21                  A      Where did it take place?

  22                  Q      Where did it typically take place?

  23           Where?

  24                              MS. CANFIELD:    Objection as to

  25                      form.    You can answer.
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    1                                J. WANGEL

    2                A      I believe Dr. Kaye's place of

    3          business in the court clinics.

    4                Q      We're not talking about a hearing.

    5          We're talking about the examinations.            To

    6          your understanding what is a 730

    7          examination, Mr. Wangel?

    8                            MS. CANFIELD:     Objection as to

    9                    form.     You can answer.    He said he

  10                     wasn't that familiar, so.

  11                             MS. HAGAN:    I think you're

  12                     prompting the witness.

  13                 A      Yeah.

  14                 Q      To your knowledge, Mr. Wangel,

  15           what is a 730 examination?

  16                 A      I believe it has to do with

  17           fitness to stand trial.

  18                 Q      Would you say that the 730

  19           examination process for forensic psychiatry

  20           is distinct from treatment?

  21                             MS. CANFIELD:     Objection as to

  22                     form.     You can answer.

  23                 A      I can't speak to the area of

  24           the -- I don't know.        It's not my area of

  25           expertise.        I have no idea.
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    1                                J. WANGEL

    2                Q      At some point you made a

    3          determination that Dr. Kaye should not have

    4          recorded the examinations she conducted; am

    5          I right?

    6                          MS. CANFIELD:       Objection.

    7                A      Sorry.     Yeah, I noticed, and -- no

    8          that is not correct.

    9                Q      Who made the determination you

  10           should not record the examination?

  11                           MS. CANFIELD:       Objection.

  12                 A      So the issue itself was sent to

  13           corporate compliance for a determination.

  14           That's what corporate compliance does.

  15                 Q      Who sent it to corporate

  16           compliance, Mr. Wangel?

  17                 A      I believe I did.

  18                 Q      Why did you send it corporate

  19           compliance?

  20                 A      Because it's not a labor relations

  21           determination to make.

  22                 Q      Did Ms. Yang tell you to send it

  23           to corporate compliance?

  24                 A      We definitely discussed it, and

  25           then I think jointly we decided that was the
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                                                                 Page 194
    1                                J. WANGEL

    2          appropriate remedy to -- whether or not it

    3          was appropriate.

    4                Q      So you and Ms. Yang determined

    5          that you should send, I guess, the matter to

    6          corporate compliance.

    7                       Now, Mr. Wangel, how did you come

    8          to learn that Dr. Kaye recorded the

    9          examination?

  10                           MS. CANFIELD:       Asked and

  11                     answered.     You can answer it again.

  12                 A      I believe Dr. Ford brought it to

  13           my attention.

  14                 Q      Who?

  15                 A      Dr. Ford.

  16                 Q      Dr. Ford.

  17                        Dr. Ford contacted you and told

  18           you that Dr. Kaye had recorded an

  19           examination.        Do you recall when that

  20           conversation took place?

  21                 A      I don't remember the exact timing.

  22                 Q      She emailed you?

  23                 A      I'm sure she did.

  24                 Q      And how did she, I guess,

  25           substantiate or support her claim that --
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                                                                 Page 195
    1                              J. WANGEL

    2                          MS. CANFIELD:       Objection.

    3                          COURT REPORTER:       Can you

    4                    repeat that.

    5                Q      How did Dr. Ford support her claim

    6          or back up her claim that Dr. Kaye had

    7          recorded the examination?

    8                A      To my understanding, if my

    9          recollection is correct that in her -- I

  10           can't speak to her what she does, her

  11           day-to-day clinical work in the course of

  12           business at H&H.       I think she was reviewing

  13           the transcript and was actually in the court

  14           transcript that Dr. Kaye had testified she

  15           recorded it.

  16                 Q      I mean you're an attorney, Mr.

  17           Wangel, right?

  18                 A      That's correct.

  19                 Q      So for Dr. Ford to be reviewing a

  20           transcript of what, of a court hearing.             Do

  21           you recall what it was?

  22                           MS. CANFIELD:       Objection to

  23                     form. You can answer.

  24                 A      I don't recall.

  25                 Q      Did you read the transcript
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    1                               J. WANGEL

    2          yourself, Mr. Wangel?

    3                A      I believe at the time I did.

    4                Q      Do you remember that Dr. Kaye was

    5          testifying at the controverting hearing?

    6                A      I don't recall that.

    7                Q      Do you know what a controverting

    8          hearing is?

    9                A      I don't.

  10                 Q      So you're reading a transcript,

  11           you're not sure why Dr. Kaye was testifying

  12           or the context at which she was testifying.

  13           But Dr. Ford brings this to your attention,

  14           and you read this transcript; am I right?

  15                 A      I read the portion that was

  16           relevant to the recording.

  17                 Q      You read a portion of the

  18           transcript.       You didn't read the entire

  19           controversion hearing transcript; am I

  20           right?

  21                             MS. CANFIELD:     Objection as to

  22                     form.    You can answer.

  23                 A      I'd say that's accurate.

  24                 Q      You don't know if any person who

  25           engaged in evaluations or examinations had
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                                                                 Page 197
    1                               J. WANGEL

    2          actually recorded the inmate or defendant in

    3          that instance?

    4                            MS. CANFIELD:     Objection as to

    5                    form.    You can answer.

    6                A      If I was aware who recorded?

    7                Q      First off, do you know if anyone

    8          else testified besides Dr. Kaye that day?

    9                            MS. CANFIELD:     Objection as to

  10                     form.    You can answer.

  11                 A      I don't recall I definitely read a

  12           portion of the transcript.          I can't say that

  13           I read the entire thing.          I read the portion

  14           that was relevant to the recording.

  15                 Q      Did you know that there were two

  16           other people who actually testified at the

  17           controversion hearing?

  18                 A      I don't recall.

  19                 Q      Did you read that Dr. Winkler

  20           testified at any point?

  21                 A      I don't recall.

  22                 Q      Dr. Nicole Charter testified at

  23           the contoversion hearing.

  24                             MS. CANFIELD:     Objection.

  25                 A      I don't recall.
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                                                                 Page 198
    1                               J. WANGEL

    2                Q      Did at any point did it come to

    3          your attention that Dr. Charter actually

    4          recorded her examination?

    5                            MS. CANFIELD:     Objection.

    6                    Assumes facts.     You can answer.

    7                A      I don't recall.

    8                Q      So, Mr. Wangel, you made a

    9          determination with Ms. Yang that what was

  10           brought to your attention by Dr. Ford needed

  11           to be referred to corporate compliance; is

  12           that right?

  13                             MS. CANFIELD:     Objection.

  14                 A      Can you just repeat the whole

  15           question.     Say it again.

  16                 Q      At some point you and Ms. yang

  17           came to the determination that Dr. Kaye's

  18           recording of one examination should be

  19           brought to corporate compliance, right?

  20                             MS. CANFIELD:     Objection as to

  21                     form.    You can answer.

  22                 A      So the head, the chief of the

  23           mental health service and the head of

  24           Correctional Health had concerns.           It was

  25           not an appropriate topic for labor and
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                                                                 Page 199
    1                              J. WANGEL

    2          relations to investigate and we sent it to

    3          corporate compliance, which is an entity

    4          that's outside of Correctional Health.             And

    5          that is what the corporate compliance office

    6          does.     They make an examination of whether

    7          something was appropriate or not.

    8                Q      I'm going to ask you something.

    9          Was there a policy, a written policy against

  10           recording at the time that this referral was

  11           made to the corporate compliance department?

  12                 A      I don't believe so.

  13                 Q      So why was a determination made to

  14           defer the matter to corporate compliance if

  15           there had been no policy in place to begin

  16           with?

  17                 A      There's not a policy on every

  18           subject; otherwise we'd have a huge number

  19           of policies.      So in this case it seemed as

  20           if the conduct at least raised some concerns

  21           at the very least, and it was coming to me

  22           from the highest folks in the mental health.

  23           And the decision was made to send the issue

  24           to corporate compliance.

  25                 Q      At any point did you reference any
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                                                                 Page 200
    1                                J. WANGEL

    2          materials to bolster or support or to guide

    3          Ms. Yang or Dr. Ford in their assessment of

    4          the situation, since there was no policy

    5          that CHS had in place?

    6                            MS. CANFIELD:     Objection as to

    7                    form.     You can answer you .

    8                A      Not exactly sure what you mean.

    9                Q      Well, for example, CHS never had a

  10           policy against recording examinations in

  11           place; am I right?

  12                             MS. CANFIELD:     Objection as to

  13                     form.     You can answer.

  14                 A      Yes.     That was my attorney.

  15                 Q      And you're an attorney and you

  16           know that New York is a one-party recording

  17           state; am I right?

  18                             MS. CANFIELD:     Objection as to

  19                     form.     You can answer.

  20                 A      I'm an attorney.

  21                 Q      Your an attorney, but did you know

  22           that New York State is a one-party recording

  23           state?

  24                             MS. CANFIELD:     Objection.

  25                 A      Generally.     But I'm not a privacy
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    1                                J. WANGEL

    2          lawyer.     I don't know if there are other

    3          situations where it might not be appropriate

    4          to record.

    5                Q      During the course of this exercise

    6          did you do any research whatsoever in order

    7          to make an informed assessment as to whether

    8          Dr. Kaye engaged in inappropriate conduct?

    9                            MS. CANFIELD:     Objection as to

  10                     form.     You can answer.

  11                 A      Like I said the issue was sent to

  12           corporate compliance.        That's their job.

  13           It's not my job to do that.

  14                 Q      I'm going to show you some

  15           exhibits.

  16                        If it wasn't your job, Mr. Wangel,

  17           I'm surprised you were reading the

  18           transcript to begin with.         Why was that?

  19                             MS. CANFIELD:     Objection.

  20                     It's argumentative, but you can

  21                     answer.

  22                 A      By the head of the mental health

  23           service who had some concerns, and it's

  24           difficult to know how to respond to that

  25           without reading what was said.
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    1                               J. WANGEL

    2                Q      Couldn't you have said at some

    3          point at the beginning of the exchange, it's

    4          not my purview, Ms. Yang, I think you should

    5          do something different?

    6                            MS. CANFIELD:     Objection as to

    7                    form.    You can answer.

    8                A      Ms. Yang or Ms. Ford?

    9                Q      It was Dr. Ford and Ms. Yang.

  10           First Dr. Ford approached you; am I right?

  11                 A      I believe that's correct.         I think

  12           she did reach out.

  13                 Q      At that point couldn't you have

  14           said, hey, Dr. Ford, I don't think this is

  15           in my scope, my work area.          I don't really

  16           know too much about this process and this

  17           doesn't seem like something that would be

  18           under my purview, right?

  19                             MS. CANFIELD:     Objection.     You

  20                     can answer.

  21                 A      That was the ultimate decision

  22           that was made.       That's what happened.

  23                 Q      Actually it's not in writing

  24           that's what happened.        Instead something

  25           else transpired in writing.          Let's look at
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                                                                 Page 203
    1                                J. WANGEL

    2          that.

    3                       Let's go into Plaintiff's Exhibit

    4          20.   Right?    Plaintiff's Exhibit 20, let's

    5          start at the bottom.        And it's an e-mail

    6          from you --

    7                             (Whereupon, Email

    8                             (NYC_2688-2690) was marked as

    9                             Plaintiff's Exhibit 20 for

  10                              identification as of this date.)

  11                 Q      The bate stamp, Exhibit 20 bears

  12           the Bates stamp number NYC_2688, 2689 and

  13           2690.     Do you see it?

  14                           MS. CANFIELD:       I don't have

  15                     this either.

  16                           MS. HAGAN:      It should be in

  17                     that file.    From what you're saying,

  18                     I didn't send you anything, and I

  19                     know that's not true.       I will go

  20                     through them and mark each page.

  21                     I'm certain I sent you all of with

  22                     my note and the package.        And you

  23                     can send the package to the Court so

  24                     they can see that I actually sent

  25                     them all.     Let's keep going.
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    1                                  J. WANGEL

    2                 Q       So, Mr. Wangel, the e-mail starts

    3          on March 20, 2019.          You see that, right?

    4                 A       I did.

    5                 Q       It's from you to Ms. Patsos,

    6          right?       And you're referring the matter to

    7          her.       And you say, it appears Dr. Kaye a

    8          psychiatrist in CHS forensic physiatric

    9          evaluation court clinics electronically

  10           recorded on multiple occasions evaluations

  11           of patients.

  12                          Where is the evidence that Dr.

  13           Kaye did so on multiple occasions?            What

  14           were the other occasions?           Do you know?

  15                  A       I don't recall.

  16                  Q       So the recordings appear to have

  17           been created without the consent of the

  18           patient or counsel.

  19                          Now, Dr. Kaye is a forensic

  20           psychiatrist.       Do you know that forensic

  21           psychiatrist don't treat the inmates that

  22           they engage?

  23                  A       Yes, right.    They are there to

  24           make an evaluation.

  25                  Q       You're referring to the
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                                                                 Page 205
    1                                J. WANGEL

    2          defendant/inmate as a patient.           They are not

    3          her patient.

    4                A      So --

    5                          MS. CANFIELD:       I don't think

    6                    there was a question there,

    7                    Jonathan.

    8                Q      No, I'm asking you.       Are you aware

    9          that inmate and defendants that Dr. Kaye was

  10           seeing at that time were not her patients?

  11                           MS. CANFIELD:       Objection.

  12                 A      I can tell you that Correctional

  13           Health and Health and Hospitals is in the

  14           business of care, and we do not refer to

  15           persons in custody as inmates.

  16                 Q      Well, Dr. Kaye is not taking care

  17           of an inmate.      She's examining them.

  18                 A      I don't either, but I refer to the

  19           folks who are incarcerated as patients.

  20                 Q      Clear here that Dr. Kaye is not

  21           acting as a treating physician.           She's

  22           acting as an evaluator, which is distinct

  23           from being a treating physician.           I mean the

  24           repercussion from using the wrong

  25           terminology could potentially have an impact
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                                                                 Page 206
    1                               J. WANGEL

    2          on Dr. Kaye to actually practice medicine,

    3          which is what happened after this exchange

    4          was taken place.       I'm just pointing this out

    5          to you.

    6                            MS. CANFIELD:     Now are you

    7                    testifying or are you trying to --

    8                            MS. HAGAN:    I'm going further

    9                    into the e-mail.

  10                 Q      The recordings appear to have been

  11           created without the consent of the patient

  12           or counsel.       It is not the practice of CHS

  13           to electronically record evaluations.

  14                        Now, CHS only had the court

  15           clinics and its purview, and their purview

  16           since 2018.       Would that be accurate?

  17                             MS. CANFIELD:     Objection as to

  18                     form.    You can answer.

  19                 A      I believe so.

  20                 Q      You sure that there wasn't any

  21           interactions between CHS and the court

  22           clinics in 2015?

  23                 A      Correctional Health services

  24           became part of Health and Hospitals again.

  25           It was -- multiple times in 2015.           I can't
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                                                                 Page 207
    1                              J. WANGEL

    2          speak to if there was interaction.            Again, I

    3          do labor, not med work, so I don't know.

    4                Q      How did you make a determination

    5          that it was not a practice of CHS to

    6          electronically record evaluations?

    7                A      How did I make that determination?

    8                Q      Yes.

    9                A      I believe I asked Dr. Ford.         And I

  10           can tell you that previously you asked about

  11           why I referred to as a patient.           I believe

  12           that folks who appear in are already in US

  13           custody are under the care of CHS.            Whether

  14           it's Dr. Kaye's patient or a patient of

  15           Correctional Health, we refer to those folks

  16           as patients and not inmates.

  17                 Q      Just to be clear, Dr. Kaye over

  18           the 20-year career working at the court

  19           clinics never had a patient.          She has never

  20           treated any of the inmates that she has

  21           evaluated over the years, so they are not

  22           her patients.

  23                           MS. CANFIELD:       Ms. Hagan, you

  24                     misstated --

  25                           MS. HAGAN:      You're having a
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                                                                 Page 208
    1                               J. WANGEL

    2                    speaking objection and that's

    3                    inappropriate, I'm going back to

    4                    what I'm saying.

    5                Q      So Dr. Kaye has never had a

    6          patient; would you agree?         If the

    7          evaluator -- to your knowledge have you

    8          known Dr. Kaye to ever treat any of the

    9          inmates that she has seen and has

  10           evaluated?

  11                             MS. CANFIELD:     Objection as to

  12                     form.    You can answer.

  13                 A      Again, we don't refer Correctional

  14           Health, Health and Hospital do not refer

  15           incarcerate person as -- my e-mail said the

  16           recordings appear to have been potentially

  17           created without the consent of the patients,

  18           not without the consent of Dr. Kaye's

  19           patients.

  20                 Q      I'm going to proceed.        Not it is

  21           not the practice of CHS - now, CHS has the

  22           court clinics in their purview from anywhere

  23           from three years to maybe one year and a

  24           half at this time.       How does CHS have any

  25           practice of doing anything if they have
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                                                                  Page 209
    1                               J. WANGEL

    2          never managed the court clinics prior to?

    3                            MS. CANFIELD:     Objection as to

    4                    form.    You can answer.

    5                A      Again, as a person who works in

    6          labor relations, I don't know.           I'm not

    7          involved in the rational as to why this

    8          program moved to Correctional Health.            I

    9          don't know any why they specifically

  10           expertise with regards to FPECC asking Dr.

  11           Ford, Dr. yang or anybody else.           It's not my

  12           position.

  13                 Q      You made statements, conclusory

  14           statements here without knowing for certain

  15           and actually not seeing anyone practice and

  16           not actually engaging anyone.          You're saying

  17           that there's a practice and you're not even

  18           sure of it yourself; am I right?

  19                             MS. CANFIELD:     Objection as to

  20                     form.    You can answer.

  21                     Argumentative and harassing.

  22                 Q      I'm going to ask you have you ever

  23           seen a practice or not of the evaluators

  24           electronically or not electronically

  25           recording the examinations?
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    1                              J. WANGEL

    2                A      I was informed that it's not a

    3          practice.     And in this instance my

    4          understanding Dr. Kaye used a personal

    5          device, right, and are there other potential

    6          risk with using a personal device to record

    7          work product and that was one of the reasons

    8          why it was considered --

    9                Q      I'm going to ask you something,

  10           Mr. Wangel, have you ever sat in on a 730

  11           examination up until this point?

  12                 A      No.

  13                 Q      Have you sat on one after these

  14           allegations have come to light?

  15                 A      No.   I haven't.

  16                 Q      How do you know what the practice

  17           is first hand?

  18                           MS. CANFIELD:       Objection.

  19                 A      First hand, I wouldn't.

  20                 Q      You would not know firsthand what

  21           the practice was because you have never

  22           attended a 730 evaluation, have you?

  23                           MS. CANFIELD:       Objection.     You

  24                     can answer -- again.

  25                 A      I have never attended a 730 exam.
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                                                                 Page 211
    1                               J. WANGEL

    2          And my information was based on the

    3          information I received from the chief of

    4          mental health for Correctional Health

    5          Services.     It is not the practice of FPECC

    6          or CHS to record these examinations.

    7                Q      Regardless of who the information

    8          came from, as an attorney wouldn't it

    9          constitute hearsay anyway; since you don't

  10           have any firsthand knowledge yourself of

  11           what the practice is?

  12                           MS. CANFIELD:       Objection.     You

  13                     can answer.

  14                 A      I'm not sure how the 730 is

  15           corporate compliant.

  16                 Q      You don't have any firsthand

  17           knowledge and as a practicing attorney you

  18           do know what the concept of hearsay; am I

  19           right?

  20                           MS. CANFIELD:       Objection, as a

  21                     practicing attorney.       He testified

  22                     that he wasn't functioning as

  23                     counsel.

  24                 Q      This man went to three years of

  25           law school, he has passed the bar
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    1                               J. WANGEL

    2          examination, he has taken -- I'm assuming he

    3          knows what the definition of hearsay is;

    4          don't you, Mr. Wangel?

    5                            MS. CANFIELD:     Objection as to

    6                    form.    You can answer.

    7                A      So I'm not sure why you think this

    8          is a corporate -- whatever.          What my emails

    9          says it appears that Dr. Kaye, right,

  10           electronically recorded.

  11                 Q      You say it is not the practice.

  12           We were going back to the practice.            You are

  13           saying there is a practice at CHS that you

  14           have no firsthand knowledge that exist.             You

  15           have never been to a 730 examination, you

  16           said that, right?       At this time you have

  17           never been to one and after this e-mail you

  18           said you have never been to one, right?

  19                        So you don't know firsthand what

  20           the practice of CHS is as it pertains to

  21           whether or not these exams are recorded or

  22           not; am I right?

  23                             MS. CANFIELD:     Objection as to

  24                     form.    You can answer.

  25                 A      You are correct to say I never
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                                                                 Page 213
    1                               J. WANGEL

    2          attended a 730.       This e-mail conversation

    3          had a CHS chief of the mental health service

    4          who is in charge of the entire mental health

    5          service including FPECC who says it is not

    6          the practice, and that's what I was

    7          conveying to corporate compliance.

    8                Q      What I am asking you is whether

    9          you had any firsthand knowledge about any

  10           CHS policy of recording evaluations.             Have

  11           you seen that in practice yourself because

  12           there is no written policy; we agreed to

  13           that.     Have you seen an actual policy in

  14           practice where electronically recording

  15           evaluations is prohibited?

  16                           MS. CANFIELD:       Objection.       You

  17                     can answer.

  18                           And can we move off this

  19                     point.   I think you've made your

  20                     point.

  21                 A      Yeah.    There was no policy at the

  22           time specifically in this instance.            But

  23           again, this involved a personal device and

  24           there are policies in place about recording

  25           on something that's not a CHS device.
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    1                               J. WANGEL

    2                Q      That policy took place after this

    3          transpired; would that be correct?

    4                            MS. CANFIELD:     Objection as to

    5                    form.    You can answer.

    6                A      There are plenty of private

    7          policies that are corporate wide.

    8                Q      Was the policy drafted after Dr.

    9          Kaye was accused of doing this?

  10                 A      What policy?

  11                 Q      A policy that prohibited or at

  12           least, I guess, threatened some kind of

  13           disciplinary action should anyone engage in

  14           the recording of anyone at HHC going

  15           forward.

  16                             MS. CANFIELD:     Objection.

  17                 A      A policy was put in place

  18           afterward; that is correct.

  19                 Q      Afterwards.     Not beforehand.

  20                 A      That particular policy was after

  21           this occurrence, correct.

  22                 Q      Now, in the course of the policy

  23           being drafted, did you participate in the

  24           drafting of that policy, Mr. Wangel?

  25                 A      I believe so.      I don't recall the
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    1                                J. WANGEL

    2          specifics though.

    3                Q      Did you read anything -- did you

    4          ever read anything from APPL about recording

    5          of examinations?

    6                            MS. CANFIELD:     Objection as to

    7                    form.    You can answer.

    8                A      I don't believe so.

    9                Q      Why not?

  10                 A      Why didn't I?

  11                 Q      Right.     Why didn't you?

  12                 A      I don't know.      I can't.

  13                 Q      So at some point Dr. Yang gives

  14           you what appears to be a thumbs up regarding

  15           the recording on April 4.         You see that,

  16           right?

  17                             MS. CANFIELD:     Objection as to

  18                     form.    Where is that?

  19                 Q      Thumb mark here.       You see this,

  20           right?

  21                 A      I do.

  22                 Q      Clearly been referred and

  23           everything else.        Was this a thing that's

  24           common between you and Dr. Yang regarding

  25           matters of this nature?
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    1                               J. WANGEL

    2                            MS. CANFIELD:     Objection as to

    3                    form.    You can answer.

    4                A      Is what something that's common?

    5                Q      Well, she's sending you thumbs up

    6          like this is great.        Right?    Isn't that

    7          usually what that means?

    8                A      I think it's pretty common.         More

    9          of an acknowledgment that I followed up.             I

  10           don't know if it means certainly means a

  11           good thing.       Thumbs up is an acknowledgment

  12           of my response.

  13                 Q      Would be it fair to say that Dr.

  14           Kaye was not in Dr. Yang's good graces at

  15           this point?

  16                             MS. CANFIELD:     Objection as to

  17                     form.    You can answer.

  18                 A      I can't answer that.

  19                 Q      You can't say that you never heard

  20           Dr. Yang say anything negative about Dr.

  21           Kaye?

  22                 A      Not that I recall.       I mean we

  23           discussed the topic that we just talked

  24           about only about the appropriate steps we

  25           would take.
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    1                               J. WANGEL

    2                Q      At any point did you hear Dr. Yang

    3          say that Dr. Kaye was difficult to work

    4          with?

    5                            MS. CANFIELD:     Objection.

    6                A      No.

    7                Q      Or that others complained that Dr.

    8          Kaye was difficult to work with?

    9                A      I don't believe so, but I'm not

  10           sure who you're speaking about.

  11                 Q      I'm talking about Dr. Yang.         Did

  12           you ever hear Dr. Yang say that others

  13           complained about Dr. Kaye being difficult to

  14           work with?

  15                             MS. CANFIELD:     Objection as to

  16                     form.    You can answer.

  17                 A      No.

  18                 Q      So you didn't -- so at this point

  19           you're not saying that there was any

  20           animosity or retaliatory animus toward Dr.

  21           Kaye by Dr. Yang?

  22                 A      I can't say that, no.

  23                 Q      And you're saying that Dr. Yang

  24           never miff that Dr. Kaye filed the EEOC

  25           charge against her and HHC?
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    1                              J. WANGEL

    2                A      You keep using that word miff.          I

    3          never heard Dr. Yang or myself use the word

    4          miff.

    5                Q      So you're saying you've never used

    6          the word miff before?

    7                A      I don't believe so.

    8                Q      I'm going to show you what is

    9          going to be marked as Plaintiff's Exhibit

  10           21.

  11                              (Whereupon, Email (NYC_2794,

  12                              2797-2800) was marked as

  13                              Plaintiff's Exhibit 21 for

  14                              identification as of this date.)

  15                 Q      Plaintiff's Exhibit 21 bears the

  16           Bates stamp series NYC_ -- I'm going to show

  17           you what will be marked as Plaintiff's

  18           Exhibit 21.     And Plaintiff's Exhibit 21

  19           bears the bate stamp series NYC_2794.            Then

  20           it skips to NYC2797, 2798, 2799, and let me

  21           move this up, 2800.

  22                 A      Actually nothing on the screen.

  23                 Q      You should see the corporate

  24           compliance report, right?         Do you see that

  25           it should say confidential and the water
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                                                                 Page 219
    1                               J. WANGEL

    2          mark; do you see that?

    3                A      I do.

    4                Q      So first to give us context I'd

    5          like to show you an e-mail.          It's an e-mail

    6          from Dr. Yang to Dr. Ford, Dr. MacDonald and

    7          yourself.     You're CC'd on this; you see this

    8          right?

    9                A      Hold on.

  10                 Q      It's an e-mail from Dr. Yang to

  11           Dr. Ford, Dr. MacDonald and then yourself;

  12           you see that right?

  13                 A      I do.

  14                 Q      It's dated May 9, 2019, and as an

  15           attachment it has a summary investigation

  16           memorandum.     You see that right?

  17                 A      Yeah.

  18                 Q      And then to go further down into

  19           it, it says from Ms. Patso to Ms. Doctor

  20           Yang and yourself and Sophia.          It says, Hi,

  21           Patsy.    Please see the attached memorandum

  22           summarizing the Office of Corporate

  23           Compliance investigation of the report

  24           regarding Dr. Kaye, including

  25           recommendations.        Please let me know if you
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                                                                 Page 220
    1                               J. WANGEL

    2          have any questions.

    3                       Did you read this summary,

    4          confidential investigatory memorandum?

    5                A      I'm sure I did.

    6                Q      You did.    Did you have any input

    7          as far as the content of the memorandum or

    8          any suggestions thereafter?

    9                            MS. CANFIELD:     Objection as to

  10                     form.    You can answer.

  11                 A      Non whatsoever.

  12                 Q      None.    Did you talk to anyone

  13           about the context of the memorandum?

  14                 A      You're talking about before this,

  15           you're saying; is that what you're asking

  16           me?

  17                 Q      Well, either before or after.

  18                 A      Well, clearly there was

  19           conversations post the issuance of the

  20           report.     I had nothing to do with the

  21           investigation about corporate compliance or

  22           what was being investigated.          It was

  23           completely insulated office.

  24                 Q      If it had been determined Dr. Kaye

  25           had actually violated an established policy
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                                                                 Page 221
    1                               J. WANGEL

    2          at H&H, right, I guess wouldn't she have

    3          encountered your office in terms of

    4          discipline if that was the case?

    5                            MS. CANFIELD:     Objection as to

    6                    form.    You can answer.

    7                A      Could you just repeat the first

    8          part of your question.

    9                Q      If, in fact, there had been an

  10           established policy in place, right, where

  11           recording was prohibited and Dr. Kaye

  12           allegedly violated that established policy

  13           and she was subjected to punitive measures;

  14           would your office have had to engage her at

  15           that point?

  16                 A      If the report required -- if the

  17           report recommended disciplinary action

  18           against Dr. Kaye through labor than, yes.

  19                 Q      As a member of the collective

  20           bargaining unit, wouldn't Dr. Kaye have

  21           fallen under labor if she had, in fact,

  22           reached an established CHS policy?

  23                             MS. CANFIELD:     Objection.     You

  24                     can answer.

  25                 A      I mean I'm not sure I totally
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                                                                 Page 222
    1                                J. WANGEL

    2          understand the question.          Could you repeat

    3          it or rephrase it.

    4                Q      Well, the policy subsequently

    5          wrote after all this transpired, right, Dr.

    6          Kaye allegedly did it again, right.

    7          Wouldn't she have had the conversation

    8          subjected to your office's jurisdiction at

    9          that point if she had actually violated the

  10           established policy put in place after this

  11           incident took place?

  12                           MS. CANFIELD:       Objection.

  13                     Asked and answered.       You can answer

  14                     it again.

  15                 A      Only if the decision was made to

  16           actually proceed with the administrative

  17           disciplinary.

  18                 Q      Who would have made that decision

  19           Mr. Wangel?

  20                 A      You're asking me on a what-if

  21           scenario.     I don't know.

  22                 Q      In this instance, who would have

  23           made the decision to discipline Dr. Kaye?

  24                 A      It which instance?

  25                 Q      In this instance.       I mean there
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                                                                  Page 223
    1                              J. WANGEL

    2          were all these findings, right.           It was

    3          determined there wasn't a written policy in

    4          place; it was determined that New York is a

    5          one-party reporting state.          It was also

    6          determined at that time -- these are

    7          findings here.      I'm not just making it up.

    8          The findings kind of speak for themselves --

    9          that the AAFPL did not prohibit or stated it

  10           was against any ethical standards to

  11           actually record.       In fact, the paper

  12           examines both pros and cons of recording.

  13                        So the question, therefore, is --

  14           I'm referencing this article here.            That's

  15           what I'm talking about AAFPL, the American

  16           Academy of Forensic Psychiatry Laws, which

  17           you said you didn't look at when you were

  18           kind of discussing whether or not it would

  19           be appropriate to pursue any kind of action

  20           against Dr. Kaye.       Before I get further --

  21           I'm sorry.

  22                           MS. CANFIELD:       Is there a

  23                    question here?

  24                           MS. HAGAN:      I'm stopping

  25                    myself.
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                                                                 Page 224
    1                                J. WANGEL

    2                Q      Mr. Wangel, you represent members

    3          of the collective bargaining union, right?

    4                            MS. CANFIELD:     Objection.

    5                A      No.

    6                Q      You don't represent.        You preside

    7          over an office that deals with employees

    8          that are members of unions, right?

    9                            MS. CANFIELD:     Objection.

  10                     Already answered.

  11                 A      That's fair to say.

  12                 Q      You're fairly familiar with the

  13           term aggressive discipline; am I right?

  14                 A      I am.

  15                 Q      Now, would you say getting a memo

  16           of this nature would be the first step of

  17           the disciplinary process or somewhere in the

  18           middle?

  19                             MS. CANFIELD:     Objection as to

  20                     form.     You can answer.

  21                 A      Neither.

  22                 Q      Huh?

  23                 A      Neither.     I would say it's

  24           neither.

  25                 Q      Where would this document fall in
Case 1:18-cv-12137-JPC-JLC Document 225-16 Filed 03/05/22 Page 225 of 319


                                                                 Page 225
    1                              J. WANGEL

    2          the purview, in the spectrum of discipline?

    3                A      Which document are you referring

    4          to?

    5                Q      I'm talking about the memorandum

    6          that Dr. Kaye eventually received that

    7          basically said that she had engaged in

    8          inappropriate recording of an inmate?

    9                A      The memo from Dr. Ford.

  10                 Q      Yes.

  11                 A      It would be outside of discipline.

  12                 Q      How could it be outside of

  13           discipline?     She's being warned if she does

  14           it again she's going to be either written up

  15           or terminated; how is that not discipline?

  16                           MS. CANFIELD:       Objection.     You

  17                     can answer.

  18                 A      So there's a counsel conducted

  19           member of management, the supervisor and is

  20           outside of labor relations.          My office has

  21           no involvement with this issue.           There's no

  22           charges, there's no hearing, that should be

  23           supervisor counseling.

  24                 Q      I'm going to ask you something

  25           supervisory counsel could it just been a
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                                                                 Page 226
    1                                J. WANGEL

    2          verbal discussion rather than a written

    3          document that Dr. Kaye may have continue to

    4          refer to unless it was removed from her

    5          file?

    6                            MS. CANFIELD:     Objection as to

    7                    form.     You can answer.

    8                A      You're asking me, could it have

    9          been done verbally.

  10                 Q      Yes.

  11                 A      A conversation could have

  12           happened.     Sure.

  13                 Q      Why did management feel the need

  14           to reduce this to writing especially if it

  15           potentially continued to have an impact of

  16           Dr. Kaye's employability going forward?

  17                             MS. CANFIELD:     Objection.

  18                     Assume facts.     You can answer.

  19                 A      I can't speak for Dr. Ford.         That

  20           came from Dr. Ford.        I can't speak for her.

  21           It didn't come from my office.

  22                 Q      So Dr. Ford is the person that

  23           determined that Dr. Kaye should receive a

  24           written memo; is that right?

  25                             MS. CANFIELD:     Objection as to
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                                                                   Page 227
    1                                J. WANGEL

    2                    form.    You can answer.

    3                A      I just know she issued it.         I

    4          can't say for certain it was her.

    5                Q      I'm going to show you what's going

    6          to be marked as Plaintiff's Exhibit 22.

    7          Plaintiff's Exhibit 22 bears bate series

    8          NYC_2804, right?

    9                              (Whereupon, Email (NYC_2804) was

  10                               marked as Plaintiff's Exhibit 22

  11                               for identification as of this

  12                               date.)

  13                 Q      And it starts with an e-mail from

  14           Ms. Patso to Dr. Yang and yourself and, I

  15           guess, Ms. Khalid again, right.           And it goes

  16           back to referencing the office of corporate

  17           investigation, right; you see that right?

  18                             MS. CANFIELD:      Can we see the

  19                     bate stamp, please.

  20                             MS. HAGAN:    The bate stamp is

  21                     NYC_2804.     That's it.

  22                 Q      Scroll up.      From Dr. Ford to

  23           Dr. Yang and doctors MacDonald and yourself,

  24           Mr. Wangel; you see that right?

  25                 A      I see that.
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                                                                 Page 228
    1                                 J. WANGEL

    2                 Q       Dr. Ford specifically says, thank

    3          you.       I'm out tomorrow, but we'll follow up

    4          on Monday about the discipline.           You see

    5          that right?

    6                 A       I see that, yeah.

    7                 Q       You see the word discipline in Dr.

    8          Ford's e-mail; am I right?

    9                 A       I do.

  10                  Q       You just testified that it wasn't

  11           disciplinary, but clearly Dr. Ford believes

  12           at this time that it's a disciplinary memo,

  13           right?

  14                            MS. CANFIELD:      Objection.      You

  15                      can answer.

  16                  A       Possibly.

  17                  Q       She's using that terminology; am I

  18           right?

  19                  A       She used the term discipline.

  20                  Q       So then I'm going to show you

  21           another document.        This is going to be

  22           marked as Plaintiff's Exhibit 23 and it

  23           bears the Bates series the first page would

  24           be NYC_2869, NYC_2870.         This would be

  25           Plaintiff's Exhibit 23.
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                                                                 Page 229
    1                               J. WANGEL

    2                             (Whereupon, Email

    3                             (NYC_2869-2870) was marked as

    4                             Plaintiff's Exhibit 23 for

    5                             identification as of this date.)

    6                Q      I guess to go back into a full

    7          discussion, this is another incident that

    8          Dr. Kaye is alleged to have engaged in, I

    9          guess, in some kind of inappropriate conduct

  10           of sorts.     So here there's a complaint from

  11           Andrea Swenson to Dr. Jain and Mr. Muirjr.

  12           You see this, right?

  13                 A      I see what's displayed.

  14                 Q      Do you recall Ms. Swenson

  15           complains about an interaction that she had

  16           with Dr. Kaye?

  17                           MS. CANFIELD:       Objection.

  18                 A      Vaguely.    Without --

  19                 Q      Do you need to read the e-mail?

  20                 A      I do.

  21                 Q      Why don't I give you sometime to

  22           read that.

  23                 A      Okay.

  24                 Q      I'm going to ask you some more

  25           questions, right.
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                                                                 Page 230
    1                               J. WANGEL

    2                       Now, Mr. Wangel, after reading

    3          this e-mail does this refresh your

    4          recollection?

    5                A      A little bit.      It's kind of all

    6          over the place.

    7                Q      Well, Ms. Swenson wrote this now

    8          and Ms. Swenson seemed to be upset; am I

    9          right?

  10                 A      I guess so.     If you say so, yeah.

  11                 Q      This is involving a fishing email

  12           that we discussed earlier --

  13                 A      There's a lot on the e-mail.

  14           There's a bunch of different topics, so.

  15                 Q      Well, apparently it was a exchange

  16           or conversation that Ms. Swenson and Dr.

  17           Kaye had.     And Ms. Swenson felt, I guess,

  18           that Dr. Kaye used inappropriate language

  19           and, I guess, expressing or articulating her

  20           frustration with the lack of outcome.            At

  21           that point of her inquiries about the

  22           fishing emails that she had suspected,

  23           right?

  24                             MS. CANFIELD:     Objection to

  25                     form.    You can answer.
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                                                                  Page 231
    1                               J. WANGEL

    2                A      I guess so, yeah.

    3                Q      And was this incident ever brought

    4          to your attention, Mr. Wangel?

    5                            MS. CANFIELD:     Objection as to

    6                    form.    You can answer.     That subject

    7                    of the e-mail?

    8                Q      The content of the e-mail.

    9          Ms. Swenson's allegations of against Dr.

  10           Kaye.     Did the contents of this e-mail and

  11           the allegations therein, were they ever

  12           brought to your attention Mr. Wangel?

  13                 A      They could have been.        I don't

  14           recall specifically.        What's the timing of

  15           this?

  16                 Q      This is May 31, 2019.        Right?

  17                 A      Just for context this is right

  18           around the time the last -- I stayed on with

  19           CHS for a number of months overlap.            I was

  20           trying to transition at this point.

  21                 Q      I have a question.       At some point

  22           was your position ever kind of fluid or in

  23           flux?

  24                             MS. CANFIELD:     Objection as to

  25                     form.    You can answer.
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                                                                 Page 232
    1                               J. WANGEL

    2                A      Which position?

    3                Q      How you worked between the units

    4          and the management, was there ever a time

    5          where you just kind of like, even if had to

    6          give a title, you performed multiple

    7          functions because management, you know, took

    8          to you?

    9                            MS. CANFIELD:     Objection as to

  10                     form.    You can answer, if you're

  11                     able.

  12                 A      I mean kind of hard to respond.

  13           You can only do what's in your purview as

  14           far as your specific role.          I was

  15           responsible for a number of different areas.

  16           Like I said before time, payroll stuff --

  17           but after transitioned out, there's

  18           different roles.       People come to you because

  19           they come for advice or direction.            So labor

  20           does that, not just with regards to personal

  21           health but across the system.          Some place to

  22           go to for help.

  23                 Q      I'm going to draw your attention

  24           to another exhibit.

  25                             MS. CANFIELD:     It just said my
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                                                                  Page 233
    1                                J. WANGEL

    2                    internet is unreliable.        I don't

    3                    know what the issue is.

    4                              (Whereupon, a recess was taken

    5                              from 3:06 p.m. to 3:17 p.m.)

    6                Q      I'm going to try to move on to

    7          another email, another exhibit.           So I'm

    8          going t to move to Exhibit No. 24.

    9                       Now again, you maintain that the

  10           memos that Dr. Kaye received were not

  11           disciplinary in nature.         Would you agree

  12           with that?

  13                             MS. CANFIELD:     Objection as to

  14                     form.     You can answer.

  15                 A      I'm sorry I was reconnecting.          Say

  16           it again.     I'm sorry.

  17                 Q      You would agree that it's your

  18           position that the memos that Dr. Kaye

  19           received were not disciplinary in nature.

  20           I'm going to ask you, you said that the one

  21           audio regarding specifically was not

  22           disciplinary, right?

  23                 A      You said memos.

  24                 Q      Yes.

  25                 A      We're talking about the memo from
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                                                                 Page 234
    1                                J. WANGEL

    2          Dr. Ford, right?

    3                Q      Right.

    4                       Dr. Kaye received two memos.          One

    5          as it pertained to audio recording exams,

    6          and then Dr. Kaye received another memo as

    7          it pertained to unprofessional conduct.

    8                       Do you recall the second memo?

    9                A      I don't recall the second one

  10           offhand.

  11                 Q      So I will show you that one.          So,

  12           Mr. Wangel, by any chance have you seen --

  13           Exhibit 24 bears the Bates stamp series

  14           NYC_2978.

  15                        Do you see that document, Mr.

  16           Wangel?

  17                 A      I do.

  18                              (Whereupon, Memorandum

  19                              (NYC_2978) was marked as

  20                              Plaintiff's Exhibit 24 for

  21                              identification as of this date.)

  22                 Q      Now, by any chance -- it's dated

  23           June 6, 2019, and the subject is

  24           unprofessional conduct and communication.

  25           You see that, right?
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                                                                 Page 235
    1                               J. WANGEL

    2                A      I do.

    3                Q      And it talks about Ms. Swenson and

    4          the statement that Dr. Kaye allegedly made.

    5          Quote, "you have a job because of physicians

    6          like me", or words to that effect.            And that

    7          she had disrupted the work space for

    8          approximately 40 minutes by speaking

    9          unprofessionally to Ms. Swenson in the work

  10           space.

  11                        Now, would you say this is

  12           actually disciplinary or would it be in the

  13           beginning of the spectrum of progressive

  14           discipline?

  15                           MS. CANFIELD:       Objection.

  16                     Asked and answered.       You can answer

  17                     again.

  18                 A      So with a EEO notice that's coming

  19           from a supervisor outside of labor relations

  20           --

  21                 Q      Yes?

  22                 A      -- it's not part of the formal

  23           disciplinary process.        It's the counseling

  24           from a supervisor.

  25                 Q      How come this doesn't say anything
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                                                                 Page 236
    1                               J. WANGEL

    2          about counseling in this e-mail?

    3                            MS. CANFIELD:     Objection as to

    4                    form.    You can answer.

    5                A      I don't know I can't speak to the

    6          documents construction.

    7                Q      The last sentence of -- I'd like

    8          to ask about the last sentence.           The last

    9          sentence says employees engage in

  10           unprofessional conduct or act contrary to

  11           NYC Health and Hospital policies and

  12           procedures may be subject to administrative

  13           action up to and including termination of

  14           employment.

  15                        Now, it's not quite clear as to

  16           whether or not this is just a warning or

  17           counseling memo, especially the last

  18           sentence is threatening termination should a

  19           further incident take place; would that be

  20           fair to say?

  21                 A      The last sentence says, the

  22           employees who engage in unprofessional

  23           conduct may be subject to admin action up to

  24           and including termination of employment.             I

  25           mean this is pretty nonspecific as far as
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                                                                 Page 237
    1                              J. WANGEL

    2          the who and what.       It's just general -- I

    3          don't know who put this put together -- it

    4          is a document that came from a supervisor to

    5          a subordinate.      It is not through labor

    6          relations.     There's no due process hearing

    7          here, there's no notice of statement of

    8          process served, no hearing judgment or

    9          arbitrator or anybody.        This is something

  10           from a supervisor to a subordinate in the

  11           regular course of business.

  12                 Q      This is something that's been put

  13           in Dr. Kaye's personnel file, and this is

  14           something that she has to reference when she

  15           applies for medical licenses because it is

  16           in her personnel file.

  17                        So even though she may not have

  18           been subjected to a formal disciplinary

  19           process, would you agree this document is in

  20           her personnel file?

  21                           MS. CANFIELD:       I'm gong to

  22                     object to the earlier part where you

  23                     testified that this is something

  24                     that's reportable.      But you can

  25                     answer.
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                                                                 Page 238
    1                               J. WANGEL

    2                A      I don't know whether or not it's

    3          reportable.       I'm not sure what's in Dr.

    4          Kaye's personal file, so.

    5                Q      Would this memo go in her

    6          personnel file?

    7                A      You said would it go.        Again, I

    8          don't know who's placing what in Dr. Kaye's

    9          personnel file.       It's an outside thing.

  10           This had nothing to do with my file.

  11                 Q      Dr. Kaye signs under protest as

  12           you see, right.       Almost a full month later

  13           on July 1st, 2019.       It's debatable that the

  14           meeting took place on June 6, or would all

  15           these people in attendance signed the same

  16           day as Dr. Ford, Mr. Muirjr and Dr. Kaye on

  17           July 1, 2019?

  18                        Would you agree that there seems

  19           to be a discrepancy between the dates of the

  20           memo and the dates of the signatures on the

  21           document?

  22                             MS. CANFIELD:     Objection as to

  23                     form.    You can answer.

  24                 A      I mean there's a date on the memo.

  25           There's a date, which I'm assuming is Dr.
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                                                                 Page 239
    1                               J. WANGEL

    2          Kaye's signature on the first line.            Which

    3          she's saying on 7/1 she received and signed

    4          under protest.       Then it looks like Dr. Ford

    5          and Mr. Muirjr on the same day.           When you

    6          say it's a discrepancy, I don't know whether

    7          this is --

    8                Q      I'm sorry.     The date of the memo

    9          says June 6, 2019, right?         Are we in

  10           agreement on that?

  11                 A      Yes, we are.

  12                 Q      Then the date on the signatures on

  13           all three signatories says July 1, 2019.

  14           Are we in agreement on that?

  15                 A      Yes.

  16                 Q      I'd like to go to another exhibit,

  17           and this would be -- now, what will be

  18           marked as Plaintiff's Exhibit 25.           25 bears

  19           the Bates stamp series NYC_2945.           It starts

  20           with an e-mail from Dr. Ross MacDonald, he

  21           has a question regarding the recording of

  22           forensic exam, question mark.          Right?

  23                               (Whereupon, Email (NYC_2945) was

  24                               marked as Plaintiff's Exhibit 25

  25                               for identification as of this
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                                                                 Page 240
    1                               J. WANGEL

    2                             date.)

    3                Q      And then he has an e-mail from

    4          Dr. Ford to Drs. Ross, Dr. MacDonald and you

    5          Mr. Wangel and the subject again is, did we

    6          complete the discipline.         You see that

    7          right?

    8                A      Okay, sure.

    9                Q      Now again, we have these two

  10           professionals who have been engaged in

  11           various individuals at HHC referring to

  12           these incidents as discipline.           You do see

  13           this, right?

  14                           MS. CANFIELD:       Objection.

  15                 A      I do.

  16                           THE WITNESS:      Sorry.

  17                 Q      So Dr. Ford says, note, Kaye was

  18           out on FMLA and leave until the time I

  19           clarified my role in this until yesterday.

  20           I am calling her today to schedule.

  21           Clarence and I are meeting with her.

  22                        This is on June 18, 2019, I would

  23           say about at least 13 days or so, two weeks

  24           before the signing of the documents that we

  25           referenced as Exhibit 24, right?
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    1                                J. WANGEL

    2                          MS. CANFIELD:       Objection.

    3                A      Before the signing?

    4                Q      Yes.     I'm going to show you

    5          another document in this line of

    6          questioning.        Mark this as Plaintiff's

    7          Exhibit 26.

    8                              (Whereupon, Email (NYC_1521,

    9                              1525) was marked as Plaintiff's

  10                               Exhibit 26 for identification as

  11                               of this date.)

  12                 Q      Mr. Wangel, now we talked about

  13           this document somewhat.         The audio recording

  14           730 competency evaluation.          Now, Mr. Wangel

  15           did you participate in the drafting of this?

  16                           MS. CANFIELD:       Please give the

  17                     Bates Stamp number for the record.

  18                           MS. HAGAN:      The Bates stamp

  19                     series is NYC_1521 and NYC_1525.

  20                     For the record NYC_1525 on that page

  21                     shows Mr. Wangel emailed Dr. Kaye.

  22                     I guess it showed a read receipt

  23                     that he actually obtained sign under

  24                     protest document.

  25                           MS. CANFIELD:       I'm sorry.
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                                                                  Page 242
    1                               J. WANGEL

    2                    What are you saying that document

    3                    represents.

    4                           MS. HAGAN:     Represents that he

    5                    received an amended signature of the

    6                    written allegation.       That's the

    7                    subject of the e-mail says.

    8                           MS. CANFIELD:      I didn't

    9                    understand.    You're kind of going

  10                     out.

  11                 Q      It says it's the amended signature

  12           of written allegations.         Then we're going up

  13           to the subsequent document, which is the

  14           memo from Dr. Ford to Dr. Kaye.           Do you

  15           remember this document, Mr. Wangel?

  16                 A      As you're showing it to me, yes.

  17                 Q      Did you have any part in authoring

  18           this document, Mr. Wangel?

  19                 A      It's possible that I was

  20           consulted.       I mean it's not uncommon.

  21                 Q      Did you research any of the issues

  22           involved in the audio recording of forensic

  23           evaluations?

  24                            MS. CANFIELD:      Objection.

  25                     Asked and answered.       You can answer
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                                                                 Page 243
    1                                J. WANGEL

    2                    again.

    3                A      I don't recall.

    4                Q      So you don't recall -- you don't

    5          recall you researched it all in your

    6          participation in the drafting of the

    7          document?

    8                A      I'm not certain that I did.         I may

    9          have been consulted.        Again, I don't recall.

  10           I'm not sure.

  11                 Q      But you're not denying that you

  12           had a part in this at all?

  13                             MS. CANFIELD:     Objection as to

  14                     form.     You can answer.

  15                 A      Like I said, I honestly don't

  16           recall.     I don't know.

  17                 Q      Now, at any point did Dr. Kaye ask

  18           you or approach you about reasonable

  19           accommodations?

  20                 A      I believe I testified earlier when

  21           we had the discussion about the 30-minute

  22           meal time.        I think it was we talked about

  23           FMLA accommodation, but anytime issue to

  24           have accommodation or anything to that

  25           effect comes up, it's not in my purview to
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                                                                 Page 244
    1                              J. WANGEL

    2          accommodate.

    3                Q      But I'm just asking you -- I

    4          understand what your position is.           I'm

    5          asking you if she approached you about

    6          reasonable accommodations regarding her

    7          workday.     Did she, yes or no?

    8                A      It's possible.      I don't recall

    9          specifics, but it's possible.

  10                 Q      You say you don't recall

  11           specifics, but then one year after, did you

  12           ever been tell anyone that they were not to

  13           deal with this because filed an EEOC charge?

  14                 A      I'm sorry.     You lost me.

  15                 Q      Did you tell staff that you could

  16           not deal with because she had filed an EEOC

  17           charge?

  18                 A      Couldn't deal with what?

  19                 Q      I guess Dr. Kaye and her

  20           reasonable accommodation?

  21                 A      Certainly not.      And request for

  22           accommodation are handled outside of

  23           Correctional Health which is central office

  24           at the time -- handled -- CHS.

  25                 Q      So you're saying you would never
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                                                                 Page 245
    1                                J. WANGEL

    2          say that to anyone?

    3                A      You're asking me?

    4                Q      Yes.

    5                A      Yes, absolutely.

    6                Q      I'm going to show you what's been

    7          marked as Plaintiff's Exhibit 27.

    8                              (Whereupon, Email (NYC_755 -

    9                              756) was marked as Plaintiff's

  10                               Exhibit 27 for identification as

  11                               of this date.)

  12                 Q      And Plaintiff's Exhibit 27 bears

  13           the bate stamp series NYC_755 and NYC_756.

  14                        I'm going to start at the

  15           beginning of the thread.          It starts with an

  16           e-mail from Dr. Kaye to Ms.          Villanueva, and

  17           you're CC'd on this Mr. Wangel, you see

  18           that?     And is Dr. Yang, Ford.       You see this,

  19           right?

  20                 A      I do.

  21                 Q      And it's dated October 25, right?

  22                 A      It is.

  23                 Q      And Dr. Kaye talks about being a

  24           dedicated public servant for 19 years, the

  25           medical director since 2004.          And she says,
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                                                                 Page 246
    1                              J. WANGEL

    2          she worked an eight and a half hour shift

    3          with a 30-minute unpaid lunch for over 13

    4          years.    She's asking for a reasonable

    5          accommodation to return to her prior shift,

    6          split shifts or the ability to work

    7          remotely.     She talks about the past

    8          practice.     You see this, right?

    9                       You need more time to read it.

  10                 A      I see it.     I'll let you know if I

  11           need more time.

  12                 Q      So then -- are you done?

  13                 A      Go ahead.

  14                 Q      And so then Kevin Marrazzo, the

  15           EEO officer, you reach out to him, right?

  16           I'm not sure if you reach out, but you

  17           reference him.      You say Mr. Marrazzo is the

  18           EEO officer assigned to Correctional Health

  19           Services.     Please reach out to him directly

  20           and he will explain the procedure to request

  21           reasonable accommodation.         So you refer to

  22           him initially, right?        But then you write at

  23           the top back to Ms. Villanueva without any

  24           party CC'd.     Just FYI CHS has been in

  25           communication with legal affairs Blanche
Case 1:18-cv-12137-JPC-JLC Document 225-16 Filed 03/05/22 Page 247 of 319


                                                                 Page 247
    1                              J. WANGEL

    2          regarding this employee pending EEOC matter.

    3                       Now, Mr. Wangel, why did you feel

    4          did the need to tell Ms.         Villanueva that

    5          there was a pending EEOC matter pending?

    6                A      I don't recall.

    7                Q      Do you think that this was helpful

    8          or even appropriate?

    9                A      I'm not sure how I can answer

  10           that.

  11                 Q      I mean you wrote this, Mr. Wangel.

  12           I mean, what were you thinking?

  13                           MS. CANFIELD:       Objection.

  14                     Asked and answer, you can answer

  15                     again.

  16                 Q      I'm asking what went through your

  17           mind when you wrote this?

  18                 A      I honestly don't recall this.

  19           It's three years ago.

  20                 Q      But you're saying, hey, there's a

  21           pending EEOC matter even though Dr. Kaye is

  22           asking for reasonable accommodations; what

  23           does one have to do with the other?

  24                 A      Which two things?

  25                 Q      The pending EEOC charge and Dr.
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                                                                 Page 248
    1                                J. WANGEL

    2          Kaye's request for accommodation?

    3                          MS. CANFIELD:       Objection.       I

    4                    don't think he testified to that.

    5                A        --

    6                Q      Sorry.     Why did you feel the need

    7          to tell Ms. Villanueva there's a pending

    8          EEOC matter?

    9                A      Yeah.    I don't recall.

  10                 Q      And you have no further

  11           explanation as to that, as to why you did

  12           that?

  13                 A      I don't.

  14                 Q      I'm going to direct your attention

  15           to what's going to be marked as Plaintiff's

  16           Exhibit 28.

  17                               (Whereupon, Email (NYC_757 -

  18                               758) was marked as Plaintiff's

  19                               Exhibit 28 for identification as

  20                               of this date.)

  21                 Q      Bears the Bates stamp series

  22           NYC_757 and 758.

  23                        Now, again you see Dr. Kaye's

  24           email request for an accommodation, as we

  25           went over.     And we see your email.         Now,
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    1                               J. WANGEL

    2          you're referring to Dr. Kaye to

    3          Mr. Marrazzo, right.        It says, please reach

    4          out to him directly and he will explain the

    5          procedure to request the accommodation.

    6                       Now, at any point did you contact

    7          Mr. Marrazzo and tell him there was a

    8          pending EEOC charge that pertained to Dr.

    9          Kaye?

  10                 A      I don't believe so.

  11                 Q      Did you contact anyone else

  12           outside of Ms. Villanueva about Dr. Kaye's

  13           pending EEOC charge?

  14                 A      I don't believe so, no.

  15                 Q      But you just felt compelled to

  16           tell Ms. Villanueva, that was the only

  17           person, right?

  18                             MS. CANFIELD:     Objection as to

  19                     form.    You can answer.

  20                 A      I believe I already testified to

  21           that.

  22                 Q      Was Dr. Kaye reasonable

  23           accommodations ever granted?

  24                             MS. CANFIELD:     Objection.

  25                 A      I don't know.
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                                                                 Page 250
    1                                J. WANGEL

    2                Q      So now Ms. Laboy says to you, can

    3          you remove PY from the responses.           Have you

    4          ever been told this?

    5                A      Yeah, I have.

    6                Q      Why?     Why have you been told this?

    7                A      In plenty of instances there a

    8          member of leadership doesn't want to be

    9          copied on a whole set of exchanges that they

  10           don't need to be involved in, and ask to be

  11           taken off the exchange.

  12                 Q      Ms. Yang as a senior officer of

  13           CHS has a duty to address instances of

  14           discrimination and other allegations of

  15           improper conduct in her capacity.           Why

  16           should she be removed from these emails?

  17                             MS. CANFIELD:     Objection as to

  18                     form.     You can answer.

  19                 A      This is a string about a request

  20           for accommodation.        Everybody request

  21           accommodation copies Dr. Yang -- she emails

  22           about this. (inaudible)

  23                 Q      Dr. Kaye has had a number of

  24           issues; am I right?

  25                             MS. CANFIELD:     Objection as to
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                                                                 Page 251
    1                                J. WANGEL

    2                    the form.     You can answer.

    3                A      That's what you're saying.

    4                Q      I'm asking you.      We've been --

    5                A      We've been talking about this for

    6          six hours now.

    7                Q      Exactly, exactly.       So it would

    8          stand to reason that Dr. Kaye, seeing that

    9          she's not getting any traction, would be

  10           concerned about any further endeavors and

  11           she would go to the most senior person in

  12           her program in order to see change; would

  13           you agree?

  14                           MS. CANFIELD:       Objection.     You

  15                     can answer.

  16                 A      Yeah.    Nothing Dr. Kaye in writing

  17           to Dr. Yang directly if she's not on an

  18           e-mail.     Dr. Kaye is more than welcome to

  19           put her in there.

  20                 Q      Nonetheless she writes these

  21           things and, I guess, you're told to remove

  22           her, remove Dr. Yang from these emails.             Has

  23           Dr. Yang ever told you, I don't want any

  24           more emails from Dr. Kaye?

  25                           MS. CANFIELD:       Objection.     You
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                                                                 Page 252
    1                              J. WANGEL

    2                    can answer.

    3                A      Not that I recall.

    4                Q      Now, we also talk about Dr. Kaye's

    5          pursuit of FMLA.        Do you recall that?

    6                A      Somewhat.

    7                Q      What do you recall of Dr. Kaye's

    8          attempt of FMLA?

    9                A      Our discussion or Dr. Kaye's

  10           attempts?

  11                 Q      What discussion?

  12                 A      You're talking about what we

  13           discussed today on this deposition or

  14           outside of that?

  15                 Q      At the time.     At the time.

  16                 A      I mean again, all I recall is that

  17           an issue came to my attention about FMLA.             I

  18           would have directed it to the appropriate

  19           folks.     I don't get involved in FMLA.

  20                 Q      So you don't get involved at all?

  21                 A      I mean a request may come to me.

  22           Somebody may ask me for the information.

  23           It's not in the purview of labor to make

  24           that decision about whether or not somebody

  25           is eligible for FMLA.
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                                                                 Page 253
    1                              J. WANGEL

    2                Q      I'm going to draw your attention

    3          what's going to be marked as Plaintiff's

    4          Exhibit 29.     Plaintiff's Exhibit 29 bears

    5          the Bates Stamp NYC_1114.

    6                             (Whereupon, Email (NYC_1114) was

    7                             marked as Plaintiff's Exhibit 29

    8                             for identification as of this

    9                             date.)

  10                 Q      It's dealing with Dr. Kaye's

  11           request for her prior shift to be restored.

  12           You see that right?

  13                 A      (No verbal response given.)

  14                 Q      Now, Dr. Kaye says:       Dear, Drs.

  15           Jain and Ford, thank you for your well

  16           wishes.    My family and I mourn my brother's

  17           untimely death.       He meant a lot to all of us

  18           and it will definitely take time.           With that

  19           said, I may need additional time to

  20           readjust, as you know me and my children

  21           have been struggling with my current shift.

  22           As I'm sure you can imagine things are more

  23           difficult for my family and I now.

  24           Especially since my children were extremely

  25           close to their uncle.        So she goes on,
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                                                                 Page 254
    1                               J. WANGEL

    2          right.     And she says, if possible I ask that

    3          you and the agency restore me back to my old

    4          shift.     My son has always needed me to work

    5          the prior shift so that I can assist him

    6          with his medical treatment, but since his

    7          ailments have been further aggravated, I

    8          need to be there for him now even more.             You

    9          see this, right?

  10                 A      I do.

  11                 Q      Then you respond to Dr. Jain and

  12           Ford and Yang, please don't respond.            This

  13           will be treated as a request for

  14           intermittent FMLA.       I'll be in touch

  15           shortly.     You see this, right?

  16                 A      I do.

  17                 Q      You just testified that you didn't

  18           really deal with FMLA, didn't you?

  19                 A      That wasn't my testimony.

  20                 Q      So what is it?      How are you --

  21                 A      I said I don't make the decision

  22           to determine whether or not FMLA is approved

  23           or not.

  24                 Q      How did you make the determination

  25           this request by Dr. Kaye to return to her
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                                                                 Page 255
    1                              J. WANGEL

    2          prior schedule was a request for

    3          intermittent FMLA leave?

    4                A      Based on Dr. Kaye's e-mail.

    5                Q      She doesn't FMLA at all?

    6                A      The circumstances mentioned in the

    7          her e-mail seemed appropriate for

    8          intermittent FMLA request.

    9                Q      You're making a determination,

  10           one, that it is appropriate for FMLA, but

  11           then you say you don't deal with FMLA.             You

  12           tell them not to respond.         You tell your

  13           superiors and then Dr. Kaye's not to respond

  14           to that.     You see this, right?

  15                           MS. CANFIELD:       Objection.     You

  16                     can answer.

  17                 A      I do see it, yes.

  18                 Q      Dr. Kaye also raises a number of

  19           whistleblowing issues in her complaint.             Are

  20           you aware of those allegations?

  21                 A      Somewhat.     I don't recall the

  22           specifics, no.

  23                 Q      At some point, Mr. Wangel, didn't

  24           you give permission to access Dr. Kaye's

  25           mailbox, e-mail box?
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                                                                 Page 256
    1                              J. WANGEL

    2                          MS. CANFIELD:       Objection.     You

    3                    can answer.

    4                A      Did I give permission, is that

    5          what you're asking?

    6                Q      Didn't you obtain permission to

    7          access Dr. Kaye's e-mail box and to monitor

    8          her emails?

    9                          MS. CANFIELD:       Objection.

  10                 A      I believe at one point I did have

  11           access.     I wouldn't phrase it as monitoring

  12           her emails.

  13                 Q      What would you phrase it as?

  14                 A      Investigator access.        It's typical

  15           that labor engage in investigation.

  16                 Q      Has labor investigated any of the

  17           other center directors in this fashion?

  18                 A      I'm not sure I could respond.

  19                 Q      Yes or no.     Let's go down the

  20           list.

  21                 A      All I can say if a similar

  22           allegation arose, it would be the same

  23           action.

  24                 Q      What allegation arose against Dr.

  25           Kaye?
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                                                                 Page 257
    1                               J. WANGEL

    2                A      If I recall the reasons for the

    3          investigation were the potential that the

    4          sensitive information was sent outside of --

    5                Q      What kind of sensitive

    6          information?

    7                A      Information that was still

    8          confidential and should have remained

    9          confidential and not sent outside of the

  10           workstation.

  11                 Q      What information are you

  12           referencing?

  13                 A      I don't recall specifically.

  14                 Q      So who told you to, one, monitor

  15           Dr. Kaye's emails?

  16                             MS. CANFIELD:     Objection as to

  17                     form.    You can answer.

  18                 A      Again, you keep saying monitor.          I

  19           assume watching the e-mail trend.           That's

  20           not what happened.

  21                 Q      So what happened?

  22                 A      It's an investigation to see

  23           whether or not information was sent out.

  24                 Q      What was the outcome of the

  25           investigation?
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                                                                 Page 258
    1                                 J. WANGEL

    2                 A       I don't recall the specifics.         I

    3          mean this is typical in labor, right.

    4          There's hundreds of cases, if not thousands,

    5          of grievances happening at a time.            It's

    6          very hard to remember especially this long

    7          ago.       If I recall correctly, I think there

    8          was -- I can't even speak.

    9                 Q       Okay.   Mr. Wangel, did there ever

  10           come a time that Dr. Kaye basically

  11           criticized a private practice policy that

  12           you put in place?

  13                  A       A private practice policy.

  14                            MS. CANFIELD:      Can you put an

  15                      objection before that question.

  16                  Q       Now, Mr. Wangel, did you ever

  17           participate in a drafting of a private

  18           practice policy?

  19                  A       It's possible.

  20                  Q       Did it ever come to your attention

  21           that Dr. Kaye had issues or felt that there

  22           were ethical issues that were raised by this

  23           private practice policy that you penned

  24           along with others?

  25                  A       Again, it's very much remember the
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                                                                 Page 259
    1                                J. WANGEL

    2          specifics.        If you refresh my memory, I'm

    3          more than happy to --

    4                Q      Well, Dr. Kaye alleges that she

    5          raised issues about the potential of double

    6          dipping specifically and the conflict of

    7          interest and that she experienced

    8          retaliation in weight of those complaint.

    9          Do you recall that?

  10                             MS. CANFIELD:     Object based on

  11                     form.

  12                 A      I remember Dr. Kaye raising a

  13           concern about the 730 process in general.

  14           And my role as a labor relations was not one

  15           of whether or not 730 exams are conducted

  16           appropriately or inappropriately.           Again, I

  17           said I'm not the expert on the process, so

  18           it's hard to recall the specifics there.

  19                 Q      Well, Dr. Kaye raised issues in

  20           several context.        One, that involved with

  21           the potential double dipping as it was

  22           contained in the private policy that was

  23           being circulated within CHS.          Then she also

  24           raised some concerns about the --

  25                             MS. CANFIELD:     Objection.
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                                                                 Page 260
    1                              J. WANGEL

    2                          Are you testifying?

    3                          MS. HAGAN:      No, I'm asking.

    4                    I'm trying to ask Mr. Wangel if he

    5                    is familiar or remembers the

    6                    instances where Dr. Kaye raised

    7                    issues with some of the initiatives

    8                    and policies that were raised on

    9                    under the CHS.     So far Mr. Wangel

  10                     may have participated in the

  11                     drafting of it.     He's not quite sure

  12                     if Dr. Kaye raised issues about

  13                     that, about specifics instances.          So

  14                     I'm trying to give him context.           I'm

  15                     trying to get down to the nuts and

  16                     bolts of this.

  17                           MS. CANFIELD:       He didn't

  18                     testify to any of that.

  19                           MS. HAGAN:      Okay.    So let's

  20                     keep going.

  21                 Q      So, Mr. Wangel, you said you

  22           participated in the drafting of the private

  23           practice policy; is that right?

  24                           MS. CANFIELD:       Objection.

  25                 A      No.   I did not say that.
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                                                                 Page 261
    1                               J. WANGEL

    2                Q      Did you have any part in drafting

    3          the private practice policy?

    4                A      I believe I said I may have, but I

    5          don't recall.

    6                Q      Oh, you don't recall.        Did you

    7          participate in the drafting of any other

    8          policies that came out of CHS?

    9                A      Sure.    Yes.

  10                 Q      I'm going to show you what's

  11           marked as Plaintiff's Exhibit 30.           I'm going

  12           to -- Exhibit 30 bears the Bates Stamp

  13           series NYC_2192, 2193, 2194, 2195 and 2196,

  14           2197, and what appears to be 2198.

  15                              (Whereupon, Email

  16                              (NYC_2192-2198) was marked as

  17                              Plaintiff's Exhibit 30 for

  18                              identification as of this date.)

  19                        For purposes of giving you the

  20           opportunity to refresh your recollection,

  21           I'm going to prior email thread.           It appears

  22           that a Jeffrey Herrera is e-mailing a

  23           Jeffrey Lutz and you Jonathan Wangel and

  24           CC'ing Ms. Laboy.       Subject:     Email Access to

  25           Active Employee.
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    1                                J. WANGEL

    2                       Do you see that right?

    3                A      I do.

    4                Q      Is there a reason why Dr. Kaye's

    5          not specifically referenced in the subject

    6          of the email?       I mean it is her email.        Is

    7          there a reason why this clandestine

    8          referring to, I guess, this investigation

    9          that took place?

  10                             MS. CANFIELD:     Objection as to

  11                     form.     You can answer.

  12                 A      You're asking me why Dr. Kaye's

  13           name isn't mentioned in the subject line of

  14           the e-mail?

  15                 Q      Yes.

  16                 A      I have no idea why Jeff Herrera

  17           wouldn't put an employee's name in the

  18           subject of his e-mail.

  19                 Q      Let's start, who is Jeff Herrera?

  20                 A      He worked at the time in

  21           Correctional Health Department.

  22                 Q      What was his title?

  23                 A      He was the director or senior

  24           director.

  25                 Q      Of what, IT?
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    1                                J. WANGEL

    2                A      Correct.     Yeah, some IT.      I'm not

    3          sure if it's director or senior director,

    4          but some IT title.

    5                Q      Let's go to Mr. Lutz, who is he?

    6                A      He is the Correctional Health and

    7          Hospitals EITS, which is also It, commonly

    8          known as.     He works in the central corporate

    9          office.

  10                 Q      Then let's go to, well, we know

  11           who Ms. Laboy is, right?          She's requesting,

  12           Ms. Laboy is requesting that you be provided

  13           access to the mailbox of active employee

  14           Melissa Kaye; you see that right?

  15                 A      Yes.

  16                 Q      Has Ms. Laboy ever asked for you

  17           to have access any of the other forensic

  18           psychiatric evaluators mailboxes?

  19                             MS. CANFIELD:     Objection as to

  20                     form.     You can answer.

  21                 A      I don't believe so.

  22                 Q      So Dr. Kaye was the only one,

  23           right?

  24                 A      As far as I remember.

  25                 Q      So then Mr. Lutz says, approved.
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    1                                J. WANGEL

    2          Joe, please work with Jonathan on this.             I

    3          don't know who is Joe.        Joe is Jeffrey

    4          Herrera?

    5                A      No.    Joe is, Joe Moore.

    6                Q      And who is Mr. Moore?

    7                A      He also works for central office

    8          IT.

    9                Q      So then you go up to Mr. Moore he

  10           says, Jonathan you know the drill.            I need

  11           the date range and search terms and I will

  12           set you up in Clearwell.          You see that?

  13                 A      Yes.

  14                 Q      Have you done this before?

  15                 A      I believe I testified to that.

  16           It's common.        It's part of labor relations

  17           investigations.       It's not uncommon to search

  18           employee e-mail.

  19                 Q      Had you investigated Dr. Kaye's

  20           e-mail before?

  21                 A      I don't believe so, no.

  22                 Q      And you're saying that -- and then

  23           you say, you ask for a specific date range,

  24           July 1st through present outbound e-mail to

  25           external recipients.        Focus on legal aid
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                                                                 Page 265
    1                               J. WANGEL

    2          society and personal e-mail address all or

    3          part of the phrase FPECC policy

    4          psychological testing, and thank you with an

    5          exclamation point.       Right?

    6                A      You're asking if I see it?

    7                Q      Yeah.

    8                A      Yeah, I see it.

    9                Q      Thanks.    And then we go up and it

  10           looks like Mr. Moore kinds of gives you a

  11           report, right.       It says this is complete

  12           previous collection was 460 messages.            The

  13           recollect date added 101 messages.            So there

  14           must have been a previous collection.

  15                        What is he referencing Mr. Wangel?

  16           Was there another investigation of Dr.

  17           Kaye's mailbox?

  18                             MS. CANFIELD:     Objection as to

  19                     form.    You can answer.

  20                 A      My request to the previous email

  21           where I say thank you -- because Joe, the

  22           guy in IT, actually has to do this, joe

  23           Moore.     It's not a quick or easy task that

  24           he has to do.       So that's why he goes through

  25           a lot of emails relating to certain
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                                                                 Page 266
    1                              J. WANGEL

    2          investigations.

    3                       So with regards to this, the

    4          collection process, it doesn't just happen

    5          immediately.      Again, I don't work for IT,

    6          but it's not just a point in time.            It's

    7          referencing to do that's because you can

    8          have a person, a series of e-mails and then

    9          a reply, and then a third and fourth and

  10           fifth.    He's not going to produce seven

  11           emails for me -- so all the previous emails

  12           are just rolled up into the one, so you get

  13           them all in a single thing.

  14                 Q      I'm aware of the process, but I

  15           think you may differ on what it takes or

  16           what entails.      But I appreciate that

  17           Clearwell is very sophisticated program.

  18           But I'm sure that Mr. Moore has other things

  19           he's working on so -- I mean perhaps there's

  20           an issue, but I don't believe -- I know it

  21           doesn't Clearwell very long to engage in

  22           type of process, but we won't go there

  23           today.

  24                        Now, in the paragraph I'm focusing

  25           on it appears that Mr. Laboy found that Dr.
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                                                                 Page 267
    1                              J. WANGEL

    2          Kaye sent a total of 87 documents, 120 items

    3          through her personal Gmail address in

    4          violation of the acceptable use policy,

    5          section nine.      Usually by BCC'ing her

    6          personal email address and at least one

    7          which contained patient information, copied

    8          to folder, Patient.        I did not review all

    9          87.   I picked a couple at random to see what

  10           method she was using to send e-mails to her

  11           personal account.

  12                        Now, Mr. Wangel, if, in fact, Dr.

  13           Kaye had a breach of policy on this level,

  14           why wasn't she brought up on any charges or

  15           talked to?

  16                 A      I mean I don't recall the

  17           specifics of that incident.          I'd have to

  18           refresh my memory of what occurred in this

  19           email from IT.      I mean a lot goes into a

  20           decision whether or not the charges should

  21           be brought against a staff member.

  22                 Q      I'm going to ask you something.

  23           Did you talk to Dr. Kaye about her usage or

  24           her activities with the e-mail?

  25                 A      I don't recall if me or anybody in
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                                                                 Page 268
    1                              J. WANGEL

    2          my office did.

    3                Q      Did you tell -- let's go through

    4          each of the defendants.         Did you tell Dr.

    5          Yang that Dr. Kaye was doing this?

    6                A      I don't recall specifically.          I

    7          may have had a conversation with Dr. Yang

    8          specifically about this.         It's possible.

    9                Q      Did you tell Dr. Ford that Dr.

  10           Kaye was engaged in this activity?

  11                 A      Again, possible, but I don't

  12           recall any specific conversations.

  13                 Q      I'm going to ask, did you tell

  14           Dr. Jain?

  15                 A      Same answer.

  16                 Q      Are you sure -- you keep referring

  17           to the individuals as patients versus the

  18           inmates.     I'm going to ask you from your

  19           training and from your knowledge of what

  20           CHS', the various services that CHS

  21           provides, Dr. Kaye was not treating any

  22           patients.     She wasn't treating anybody.          She

  23           was evaluating inmates.         So what exactly,

  24           what kind of information did she actually,

  25           was actually found to be inappropriate?
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    1                               J. WANGEL

    2                            MS. CANFIELD:     Objection as to

    3                    form.    This e-mail is not from the

    4                    witness.    It's from Joe Moore, but

    5                    you can answer.

    6                            MS. HAGAN:    I'm assuming that

    7                    Mr. Wangel read the report.

    8                Q      Did you read the report, Mr.

    9          Wangel?

  10                 A      I'm sure I did.      So again, to

  11           address the patient issue you raised, it is

  12           Correctional Health Services and even if Dr.

  13           Kaye is not the treating physician, the

  14           person under evaluation is a patient of

  15           Correctional Health.        And across the board,

  16           we do not refer to incarcerated persons as

  17           inmates.     They are patients.

  18                 Q      None of the people she encounter

  19           are her patients.       They are not her

  20           patients.

  21                 A      I am not saying that they're Dr.

  22           Kaye's patients.       Am I?

  23                 Q      In fact, when Dr. Kaye engages

  24           these inmates, they are handcuffed and they

  25           are in custody.       They are not --
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                                                                 Page 270
    1                              J. WANGEL

    2                A      Correct.     Right.    And the DOC is

    3          responsible for their custody and control

    4          and remain in their custody, Correctional

    5          Health is charged with care.          And for a

    6          number of reasons, including mental health

    7          reasons, they are referred to as patients,

    8          not inmates.

    9                Q      She's not engaging in a mental

  10           health capacity.        She's accepting --

  11                 A      I am not saying she is.

  12                           MS. CANFIELD:       Okay.

  13                        We're going to move forward

  14           upwards.     Again, says he already has case

  15           opened on Dr. Kaye and collected her e-mail

  16           from October 15, 2018 to October 7, 2018.

  17           Per our discussion, I will collect all new

  18           e-mail from December 7, 2018, until today

  19           and will merge it into the old collection

  20           and have it ready for you by Monday.

  21                        Now, you said you had not had more

  22           than one of these, I guess, investigations

  23           of Dr. Kaye's email.        Would you like to

  24           change your testimony to that effect?

  25                 A      I believe I said I didn't recall.
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                                                                 Page 271
    1                              J. WANGEL

    2          Based on Joes's e-mail of 10/15/18, 12/7/18.

    3                Q      In a subsequent e-mail you asked

    4          for access for to the e-mail box for July 1

    5          onward and I'm assuming it's for

    6          July 1st, 2019.       Let's go back down, if

    7          necessary.

    8                A      Again, it's hard to remember the

    9          specifics of any one investigation, but this

  10           type of thing is common.         There are tons of

  11           things happening at any given time so

  12           remembering the specifics about this

  13           particular one is not easy.

  14                 Q      Do you know the outcome of this

  15           investigation?      This is a lot of effort for

  16           you not to remember what happened.

  17                 A      It's really not.       Again, this is

  18           common.    There's nothing super --

  19                 Q      Well, you talk about it being a

  20           lot of effort for Mr. Moore, but you're

  21           saying it was not a lot of effort for you

  22           either.

  23                 A      It's in the report.

  24                 Q      So you go and having Mr. Moore

  25           practice is exercised and then you reading
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                                                                 Page 272
    1                              J. WANGEL

    2          this, you don't --

    3                A      I can tell you that my office has

    4          never drafted disciplinary charges against

    5          Dr. Kaye.     We have never taken disciplinary

    6          actions against Dr. Kaye in Labor Relations.

    7                Q      So then I'm going to show you

    8          what's marked as Plaintiff's Exhibit 31.

    9                             (Whereupon, Email (NYC_1134) was

  10                              marked as Plaintiff's Exhibit 31

  11                              for identification as of this

  12                              date.)

  13                 Q      It bears the Bates stamp series

  14           NYC_1134.     It's from you, Mr. Wangel, to Dr.

  15           Ford.     And it starts the beginning of the

  16           e-mail is from Dr. Jain to Dr. Ford.            And

  17           they are discussing the distribution of the

  18           psychological testing policy.

  19                        Do you see that?

  20                 A      I see the subject line.        I haven't

  21           read the whole policy.

  22                 Q      I'll let you read it.

  23                        What's important to me for our

  24           discussion is that Dr. Jain says, it was

  25           also brought to my attention today that
Case 1:18-cv-12137-JPC-JLC Document 225-16 Filed 03/05/22 Page 273 of 319


                                                                  Page 273
    1                                J. WANGEL

    2          either this policy or the discussion of this

    3          policy was being circulated among the legal

    4          aid attorneys citywide and they were

    5          concerned.

    6                       Now, did you tell Dr. Jain that

    7          Dr. Kaye had been circulating the

    8          psychological testing policy?

    9                A      I don't recall specifically having

  10           that discussion with her.

  11                 Q      So then Dr. Ford says to Dr. Jain:

  12           Hi, Beesh, there is something to do if you

  13           know information that the policy is being

  14           circulated to legal aid attorneys, including

  15           Jonathan for guidance.        Right?     You see

  16           this?

  17                 A      I do.

  18                 Q      And then you say, do we know for

  19           sure that Dr. Kaye circulated the draft

  20           externally.     Right?

  21                 A      That's what the e-mail says.

  22                 Q      Then you follow up, you say,

  23           please forward me the draft.           Right?

  24                 A      Right.

  25                 Q      Now, does it ever come to your
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                                                                 Page 274
    1                              J. WANGEL

    2          attention -- do you ever find that Dr. Kaye

    3          ever distributed this policy?

    4                A      As a result of the IT

    5          investigation -- I'm trying to.           I honestly

    6          don't recall.      I don't remember if there was

    7          an outbound draft policy that went --

    8                          MS. HAGAN:      To the extent it

    9                    exist, if there was any kind of like

  10                     documentation or emails to reflect

  11                     that to determine that Dr. Kaye had

  12                     actually distributed the policy of

  13                     any other that pertains to CHS, I

  14                     call for the production of any and

  15                     all correspondence to that effect.

  16                     And I'll put it in writing and I'm

  17                     sure that counsel will take it under

  18                     advisement.

  19                 Q      Now, Mr. Wangel, by any chance was

  20           there any chance that you had any -- with

  21           Dr. Kaye and the usage of redacted records?

  22                 A      Not that I recall.

  23                 Q      Did you provide any guidance or

  24           advice pertaining to that?

  25                 A      I'm not even sure exactly -- with
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                                                                  Page 275
    1                              J. WANGEL

    2          regard to redacted records.

    3                Q      Talking about redacted medical

    4          records to do 730 evaluations.           Did you

    5          provide any guidance or work with the legal

    6          department to engage to analysis with the

    7          court?

    8                A      I don't recall.

    9                Q      Did you ever work with Blanche

  10           Greenfield or anyone else in the legal

  11           department to develop any kind of like

  12           strategy as to how you would approach the

  13           court about the usage of redacted or

  14           unredacted records?

  15                 A      It's possible.      I deal with all

  16           sorts of issues.

  17                 Q      Would you have been roped in this

  18           then you too?

  19                 A      I could have been.

  20                 Q      Why is this, Mr. Wangel?

  21                 A      I don't know.      I can't say.

  22                 Q      Your background isn't in criminal

  23           law, is it?

  24                 A      No.   Not specifically.       I have no

  25           such degree.
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                                                                  Page 276
    1                                J. WANGEL

    2                Q      You have a criminal justice

    3          degree, but you have not been in court and

    4          litigated in criminal matters; am I right?

    5                A      That's correct.

    6                Q      And you have never attending or

    7          dealt with any 730 matters; is that right?

    8                A      Right.

    9                Q      I assume that you read the

  10           statute, the 730 statute; am I right?

  11                 A      I don't recall, but that's

  12           probably a fair --

  13                 Q      Yeah.    You probably done some

  14           reading on it, but you wouldn't say that

  15           this is your area of expertise.           Right?

  16                 A      The area of 730 exams, yes, that's

  17           right.

  18                 Q      Right.     But you are providing

  19           legal advice or guidance on usage of

  20           redacted or unredacted medical records; am I

  21           right?

  22                           MS. CANFIELD:       Objection.     He

  23                     didn't testify to that.        You can

  24                     answer.

  25                 A      I'm not sure what you're referring
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                                                                 Page 277
    1                               J. WANGEL

    2          to exactly.     That, I don't recall any

    3          specifics on that.

    4                Q      Well, I want to ask you some

    5          questions about your involvement in the use

    6          of redacted medical -- of I guess.

    7                          COURT REPORTER:       You just got

    8                    cut off.

    9           (A discussion was held off the record.)

  10                 Q      So at this point you're not

  11           necessarily versed in, I guess, the 730 exam

  12           process, per se.        But you did have input in

  13           the discussion of whether or not the medical

  14           records would be an appropriate way to

  15           pursue or to engage in 730 examinations.

  16                        Do you recall that?

  17                 A      No.   I would have to be refreshed.

  18                 Q      I have a question.       Are you aware

  19           that the court clinics are exempt?

  20                           MS. CANFIELD:       Objection.     You

  21                     can answer.

  22                 A      You froze for a second.        I didn't

  23           hear what you said.

  24                 Q      Are you aware the court clinics

  25           are HIPPA exempt?
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                                                                 Page 278
    1                              J. WANGEL

    2                A      I believe that's correct.

    3                Q      I guess the question I would have

    4          and to be honest with you to kind of

    5          understand the role of CHS, what is your

    6          understanding of the role of CHS as far as

    7          the 730 exam process is concerned beyond the

    8          evaluators as far as, I guess, whether or

    9          not they release medical records?

  10                           MS. CANFIELD:       Objection to

  11                     form. You can answer.

  12                 A      Again, I'm not familiar with that

  13           as far as --

  14                 Q      I'm going to leave that and come

  15           back.

  16                        Are you aware of any questions

  17           surrounding the rollout and the

  18           implementation of iSight?

  19                 A      The implementation rollout of...

  20                 Q      iSight.    You're aware of Isight,

  21           right?

  22                 A      I remember the acronym.        I forget

  23           exactly what function it performs though.

  24                 Q      So you're not really sure of what

  25           function Isight actually --
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                                                                     Page 279
    1                              J. WANGEL

    2                A      At this point I don't recall at

    3          this point in time.        I may have then.       But

    4          again this is years later.

    5                Q      I'm going to show what will be

    6          marked as Plaintiff's Exhibit 32.           In

    7          Plaintiff's Exhibit 32 bears the Bates stamp

    8          series NYC_668.

    9                             (Whereupon, Email (NYC_668) was

  10                              marked as Plaintiff's Exhibit 32

  11                              for identification as of this

  12                              date.)

  13                 Q      And it starts with an e-mail from

  14           Mr. Muirjr to you, Mr. Wangel, on

  15           October 5, 2018.       And it says:      Good

  16           morning.     Ms. Swenson and I placed a call to

  17           Dr. Kaye this morning at 9:30 a.m. and left

  18           a message for her to call us back.              She

  19           called back at 10:00 a.m. and inquired why

  20           she didn't not want to work alone with

  21           Dr. Jain.     But that's not what I have of

  22           interest here.

  23                        She also mentioned that someone

  24           had brought up her FPECC's site lack of

  25           cases in iSight, but that they have 42 cases
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                                                                 Page 280
    1                              J. WANGEL

    2          that were just ordered prior to their

    3          training on the system.         They are working to

    4          ensure that all cases are entered .

    5                       Now, Mr. Wangel, it seems like, is

    6          this related to labor relations?

    7                A      I can't speak to why Mr. Muirjr

    8          would --

    9                Q      Did you respond to this, Mr.

  10           Wangel?

  11                 A      I don't recall.

  12                 Q      So you don't recall if you

  13           responded to this particular e-mail or not,

  14           or if you had any further dealings with

  15           iSight or how it's being rolled out in the

  16           Bronx.

  17                 A      No.   I don't recall from the sense

  18           of the e-mail it looks like an issue about

  19           how to receive the cases in a timely way.             I

  20           remember there were all types of issue about

  21           having the cases in a timely manner.            Other

  22           than to that extent, I don't recall.

  23                 Q      So now I'm going to go what's

  24           marked as Exhibit 33.

  25                              (Whereupon, Email (NYC_2654) was
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                                                                 Page 281
    1                               J. WANGEL

    2                             marked as Plaintiff's Exhibit 33

    3                             for identification as of this

    4                             date.)

    5                Q      This is an e-mail from Dr. Ford

    6          to -- first off, Exhibit 33 bears the Bates

    7          stamp series NYC_2654.        Right?     This will be

    8          Exhibit 33 and it is from Dr. Ford to Dr.

    9          Wangel, you see that, and it's dated

  10           March 18, 2019.       You see this, right?

  11                 A      I do.

  12                 Q      Dr. Ford basically is opining

  13           about Dr. Kaye's percentage of productivity

  14           being the same as other directors and she

  15           talks about the volume of case.           Then in the

  16           previous e-mail, as we discussed, there

  17           seems to be an issue with the information

  18           being inputted into iSight.

  19                        Now, the question I have, Mr.

  20           Wangel, is why is Dr. Ford talking to you

  21           about Dr. Kaye's productivity?

  22                 A      I don't know.      Maybe she raised

  23           some concerns about the level of

  24           productivity.      I don't recall.       That's one

  25           of the typical, most common reasons you
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                                                                 Page 282
    1                              J. WANGEL

    2          would consult somebody over in labor

    3          relations is --

    4                Q      Have you ever spoken to Dr. Kaye

    5          about her productivity?

    6                A      It wouldn't be my place to do so.

    7                Q      How would you engage Dr. Kaye in

    8          your day-to-day?

    9                          MS. CANFIELD:       Objection.

  10                 A      I wouldn't.

  11                 Q      I mean typically labor relations

  12           would be involved if there's a violation of

  13           health department agreement; is that right?

  14                 A      Even for some exhibits you've

  15           shown me today.       I mean staff reached out

  16           directly on their own volition.           I mean you

  17           see notes from Dr. Kaye directed to me

  18           without being prompted.         I do get some

  19           questions and concerns from staff on the

  20           regular.     If there's a disciplinary matter,

  21           it would go through the process.           As I said,

  22           no charges were drafted against Dr. Kaye.

  23                           MS. HAGAN:      How much time do I

  24                     have left, Ms. Miller?

  25
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                                                                 Page 283
    1                               J. WANGEL

    2                          COURT REPORTER:       We're at five

    3                    and a half hours.

    4                          MS. HAGAN:      Thank you.

    5                Q      I want to ask you some questions

    6          about Dr. Kaye being docked educational

    7          leave.     Do you recall any discussions about

    8          that?

    9                A      Supervisory -- the subject, yes.

  10                 Q      Okay.    What do you recall?

  11                 A      I recall that Dr. Kaye had

  12           attended some sort of certification or exam.

  13           I can't remember specifically what it was

  14           for or what the subject was.          I remember

  15           that topic or the subject of that exam or

  16           certification, whatever it was, wasn't

  17           directly on point with what she does for

  18           Correctional Health system as a whole.             And

  19           a question came up as to whether or not time

  20           for something that's not directly work

  21           related should be excused or not.

  22                 Q      Now, Dr. Kaye alleges that she was

  23           docked pay in retaliation for her protected

  24           activities, meaning she was docked pay

  25           because she had filed complaints of
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    2          discrimination and that she engaged in -- do

    3          you take a different position on that,

    4          Mr. Wangel?

    5                            MS. CANFIELD:     Objection.

    6                A      I do.

    7                Q      What's your position?

    8                A      That in no way shape or form was

    9          any pay, deduction of pay, retaliation in

  10           any way meant to be discriminatory or

  11           anything like.       I believe it's actually to

  12           the contrary, when Dr. Kaye raised the issue

  13           I think Correctional Health changed the

  14           entire policy in regard to those types of

  15           courses would be on the house or not.            I

  16           believe her time was restored and I believe

  17           it's a now accepted practice across the

  18           board for everybody.

  19                 Q      Are you speaking for yourself when

  20           you're saying there was basically no

  21           discriminatory animus or retaliatory animus

  22           that was involved?

  23                             MS. CANFIELD:     Objection as to

  24                     form.    You can answer.

  25                 A      You're asking if I'm speaking for
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    2          myself.     Who else would I be speaking for?

    3                Q      Because the way you said it seemed

    4          like you were speaking for FPECC, senior

    5          management and all the others.

    6                A      I'm speaking for any myself.          I'm

    7          not aware of any other individual taking any

    8          sort action that would be retaliatory.

    9                Q      Now, has it been your experience

  10           any other doctors or any other licensed

  11           professionals have been docked pay for

  12           taking board examinations?

  13                             MS. CANFIELD:     Objection as to

  14                     form.    You can answer.

  15                 A      It's difficult to practice I

  16           believe up until that point, was that you

  17           had to use your own time.         So if physician

  18           or clinician chose to cover their attendance

  19           that was directly related to their job

  20           function or vocation, they could do that.             I

  21           don't remember the specifics of that time

  22           sheet that Dr. Kaye submitted, but for

  23           whatever reason they didn't cover the

  24           attendance with her time.         An issue was

  25           raised, change position of CHS across the
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    2          boards and she was restored her time.

    3                Q      Was it ever brought to your

    4          attention that Dr. Kaye was having problems

    5          with inputting her time in Kronos?

    6                A      Generally, I know there was some

    7          issues.    I don't recall the specifics.

    8                Q      What do you recall?

    9                A      Hard to say.     I remember back and

  10           forth with her and Dr. Jain.          Again, it's a

  11           while back.     It's hard to remember the exact

  12           issue.

  13                 Q      Well, I guess I can identify you

  14           and help you.      At some point Dr. Kaye

  15           alleged that Dr. Jain was changing her time

  16           behind her back.       Do you recall something to

  17           that effect?

  18                 A      I do, generally.       I don't think

  19           that's what I remember.         I don't think

  20           Dr. Jain was trying to do anything malicious

  21           or in any way negatively impact Dr. Kaye.             I

  22           think she was just trying to get the time

  23           sheets processed.       I think she thought she

  24           was doing the correct thing.          I don't

  25           remember exactly what or how adjudgments
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                                                                 Page 287
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    2          were made though.

    3                Q      Well, Dr. Kaye alleges that

    4          because of Dr. Jain's actions and her being

    5          banned from the system that she was docked

    6          pay during this period of time, that

    7          Dr. Jain had solo access to her time cards.

    8          Do you recall that?

    9                            MS. CANFIELD:     Objection as to

  10                     form.    You can answer.

  11                 A      When you say banned from the

  12           system, what do you mean?

  13                 Q      Didn't have access to her, she

  14           didn't have access to any of her time, but

  15           Dr. Jain had solely access.

  16                             MS. CANFIELD:     Objection.

  17                 A      So across the board time keepers

  18           have access, supervisors have access and the

  19           staff members have access.          I'm not sure, I

  20           don't recall Dr. Kaye being blocked out.

  21           She should have had access.          I don't know

  22           why she wouldn't.

  23                 Q      Well, Dr. Kaye's had ongoing

  24           issues with access to Kronos.          I'm going to

  25           show you an exhibit where it's on in Dr.
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    2          Kaye's tenure under CHS.         But it's

    3          demonstrative of some of the problems she

    4          experienced with Kronos.

    5                       This will be Plaintiff's Exhibit

    6          34.

    7                             (Whereupon, Email (NYC_317-319)

    8                             was marked as Plaintiff's

    9                             Exhibit 34 for identification as

  10                              of this date.)

  11                 Q      And Exhibit 34 -- and I'm going to

  12           share the screen -- bears Bate Stamp series

  13           NYC_317, NYC_318 and NYC_319.          You do see

  14           that, right?

  15                 A      I do.

  16                 Q      Go down to the latter part of the

  17           exhibit, and it's from Dr. Kaye to Dr. Jain.

  18           You see this, right?

  19                 A      I do.

  20                 Q      Hi, Beesh.     Our Kronos system is

  21           not working in the Bronx.         CHS IT people

  22           came today.     It's still not up and running

  23           and they said it won't be until they fix our

  24           connectivity.      Please let me know how to

  25           process my time until then.          Right?    And
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    2          then Dr. Jain responds to her, I'm getting

    3          some information on how to process.            Thanks

    4          for letting me know.        Right?

    5                       And then Dr. Jain gets in contact

    6          with Jessica, I'm assuming this is Jessica

    7          Laboy, would that be fair to say?

    8                A      Probably.

    9                Q      Hope you had a nice holiday.          You

  10           mentioned there was a way to enter missed

  11           dates for Kronos.       Wanted to make sure to

  12           follow up on this for Dr. Kaye.           So now he

  13           is entering the time for Dr. Kaye the access

  14           that she has requested; would that be

  15           accurate?

  16                           MS. CANFIELD:        Objection.    You

  17                     can answer.

  18                 A      I mean to say he's not working on

  19           getting her access, I'm not sure you can

  20           tell that solely from this chain.           It seems

  21           like he's trying to help get her time

  22           sheets -- directly.

  23                 Q      Hi, Beesh, I guess this is from

  24           Ms. Laboy, hope you had a nice holiday as

  25           well.     Jonathan copied.      Will provide you
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                                                                  Page 290
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    2          with information on how to do so.           Best,

    3          Jessica.

    4                       So you're helping him with this

    5          access in Kronos, is that within your job

    6          scope?

    7                            MS. CANFIELD:     Objection as to

    8                    form.    You can answer.

    9                A      What was the question?

  10                 Q      Was that within the scope of your

  11           job even at that time?

  12                 A      It could have been.       It certainly

  13           would, Kronos was new, right.          I was sort of

  14           the -- implementations needed to get

  15           electronic time keeping to CHS.           For a

  16           system of our size to still use paper, it is

  17           not a simple undertaken to move to something

  18           that's electronic, especially sites.              We

  19           don't run the jails.        It's not within our

  20           purview -- very easily there.          So any time

  21           you move to a new systems, there's bumps in

  22           the road.     So certainly, if I was involved

  23           in time keeping, certainly.

  24                 Q      Now you say, Hi.       Dr. Kaye should

  25           have the ability to manually enter time for
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    2          any date.     If for some reason your not, I'll

    3          check it out tomorrow.

    4                       Now, did you know for a fact that

    5          Dr. Kaye could actually manually enter her

    6          time?

    7                A      Well, I can't speak to whether or

    8          not she was saying she couldn't get in or do

    9          whatever it was.         I didn't have any personal

  10           knowledge about whether she could or

  11           couldn't have.        She should have the ability

  12           to do that.     Whether she could actually do

  13           that, that I don't know.

  14                 Q      Is that your testimony today, did

  15           she or anybody else have the ability to

  16           manually input their time?

  17                           MS. CANFIELD:       Objection.

  18                     Asked and answered.       You can answer.

  19                 A      You're asking me whether or not

  20           any employee of CHS should be able to

  21           manually enter their time.

  22                 Q      Right.

  23                 A      No.   No.

  24                 Q      Who wouldn't be?

  25                 A      There are different rules, for
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    2          different folks depending on the number of

    3          different practices.        And you have

    4          management can decide whether or not they

    5          want a manager to manually enter their time

    6          or not -- has a complete different time

    7          keeping system than H&H does.          Typical city

    8          rules.

    9                Q      So Dr. Kaye contends that she

  10           could not manually enter her time.            Has that

  11           been your experience.

  12                             MS. CANFIELD:     Objection. you

  13                     can answer.

  14                 A      You said continually.        I think at

  15           this point --

  16                 Q      I did not say continually.         I said

  17           she is contending.

  18                             COURT REPORTER:     Can you

  19                     repeat the question.

  20                 Q      Dr. Kaye, is contending that she

  21           did not have the ability to manually enter

  22           her time.     I'm asking whether or not that

  23           was common.

  24                             MS. CANFIELD:     Objection as to

  25                     form.    You can answer.
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    2                A      Yeah, I mean there were issues

    3          with the roll out across the board.            Again,

    4          like I said, this is a brand new electronic

    5          system for a couple of thousand people.

    6          Multiple for dozen of places.          Like you

    7          would expect there were some bumps in the

    8          road.     We did the best we could to roll it

    9          out as smoothly as possible.          And anybody

  10           who had an issue, we tried to correct as

  11           soon as possible.

  12                 Q      Now, Dr. Kaye contends that her

  13           inability to access Kronos was, took place

  14           for a sustained period of time to the

  15           detriment of her compensation.

  16                           MS. CANFIELD:       Objection.     Are

  17                     you testifying?

  18                           MS. HAGAN:      No, I'm asking him

  19                     a question.

  20                           MS. CANFIELD:       Just ask the

  21                     question then.     You're putting in a

  22                     lot of colloquy.      You can just move

  23                     the deposition by asking him a

  24                     question.

  25                           MS. HAGAN:      I'm going to ask
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                                                                 Page 294
    1                              J. WANGEL

    2                    the question.

    3                Q      So was it your experience that Dr.

    4          Kaye repeatedly had this problem?

    5                A      Which problem?

    6                Q      The problem with the access to

    7          Kronos; was this resolved in July of 2018?

    8                A      I don't recall specifically.          I

    9          would imagine it was addressed.           I can't say

  10           for sure.

  11                 Q      I'm going to move on then 'cause

  12           you're not sure how it was resolved.            Do you

  13           remember if it was ever resolved for Dr.

  14           Kaye?

  15                 A      Again, specifically I don't.          But

  16           I can tell you that -- to say that her

  17           compensation was negatively impacted, but I

  18           can tell you that as an annualized salaried

  19           employee, which Dr. Kaye was, even if you

  20           don't submit your time sheet, you still get

  21           your annual paycheck.        So it's ordinarily

  22           unlikely that you're pay would be --

  23                 Q      I'm going to show you what will be

  24           marked as Plaintiff's Exhibit 35.

  25                              (Whereupon, Email (NYC_974-975)
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    2                             was marked as Plaintiff's

    3                             Exhibit 35 for identification as

    4                             of this date.)

    5                Q      And Plaintiff's Exhibit 35,

    6          plaintiff's Exhibit 35 bears the Bates stamp

    7          series NYC_974 and NYC_975.          Do you see

    8          that?

    9                A      I don't see that.

  10                 Q      Do you see NYC Health Hospitals?

  11                 A      I do see that.

  12                 Q      I wanted to draw your attention to

  13           the beginning of the e-mail thread.            It's

  14           from a Justine McGranaghan and it's to a

  15           Carla Phillips.       And it says supervisor

  16           change for Dr. Kaye, M. Kaye.          Hi, Carla, it

  17           says, I was recently informed that Dr. Kaye

  18           was supposed to be reporting to Dr. Jain.

  19           If PeopleSoft is OHS's only personnel data

  20           source, then disregard, as this data was

  21           corrected in PeopleSoft this morning.            I

  22           just wanted to ensure that this supervisor

  23           change has been corrected everywhere

  24           possible.     Thank you so much. Best.

  25                        Now, do you recall Dr. Kaye
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    1                               J. WANGEL

    2          raising an issue with Dr. McGranaghan, the

    3          Manhattan Court Clinic Director, being

    4          listed as her supervisor?

    5                A      Generally yes because the e-mail

    6          you're showing me talks about OHS.            And the

    7          e-mail sent by OHS, which typically goes to

    8          a supervisor, that went to Dr. McGranaghan

    9          in lieu of Dr. Jain because the reporting

  10           may have been inaccurate because of whatever

  11           source.

  12                 Q      Did you ever deal with anything or

  13           address the e-mail?

  14                             MS. CANFIELD:     Objection to

  15                     form.    You can answer.

  16                 A      I am on this e-mail?

  17                 Q      Let's see.     Let's scroll up

  18           further.     Well, you are, here you are CC'd

  19           on December 3.       FYI, just additional

  20           followup regarding Dr. Kaye assigned

  21           supervisor and make sure it's assigned as

  22           me.   Thanks, Beesh.

  23                        You see this right?

  24                        Now, did there ever come a time

  25           that Dr. Kaye raised a concern to being CC'd
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                                                                 Page 297
    1                              J. WANGEL

    2          on a e-mail that had her personal

    3          information on it?

    4                A      I do generally remember that Dr.

    5          Kaye had concerns, yes.

    6                Q      Did you take any steps to rectify

    7          this situation?

    8                A      I think that's what was happening

    9          here.     Again, it's not a labor function.          If

  10           a supervisor of records is in incorrect,

  11           needs to be corrected by HR.

  12                 Q      You're repeatedly saying this is

  13           not a labor function, yet you're on all

  14           these emails, Mr. Wangel.         Why is that?

  15                 A      On this I'm copied.       I would

  16           imagine they raised the concern to Doctors'

  17           Counsel -- so I'm aware of what's happening.

  18           Looks like they are addressing us here.

  19                 Q      I'm going to show you what's going

  20           to be marked Plaintiff's Exhibit 36.

  21                              (Whereupon, Email

  22                              (NYC_1283-1284) was marked as

  23                              Plaintiff's Exhibit 36 for

  24                              identification as of this date.)

  25                 Q      Plaintiff's Exhibit 36 bears the
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    2          Bates stamp series NYC_1283 and 1284.            It

    3          starts with an e-mail from Maria Mendez to

    4          Dr. Kaye.     It looks like it involves a

    5          request for FMLA/intermittent, as discussed

    6          earlier.     She basically says, attached,

    7          please find an approval letter regarding

    8          your request for an intermittent leave of

    9          absence to care for your ill family member.

  10           For any time sheet submitted without the

  11           proper codes, please see the attached

  12           employee time sheet changes.          You see that,

  13           right?

  14                 A      I do.

  15                 Q      So then Dr. Kaye then talks about,

  16           she goes into, she thanks you for helping

  17           her complete -- first let me thank you HHC

  18           for completing the processing of my FMLA

  19           today.     She talks about the difficult times

  20           that she's experiencing.         But then she goes

  21           on and she mentions on at least two prior

  22           occasions Dr. Daniel Mundy was copied on

  23           e-mails that contained my personnel

  24           information.      I initially contacted my

  25           supervisor, Dr. Jain in September 2018 who
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                                                                 Page 299
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    2          indicated that he had resolved the matter.

    3          However, when it happened again in December

    4          2018, I contacted you and the other HHC

    5          management about this violation and you

    6          indicated that it had been resolved in

    7          PeopleSoft.     So there is a question quite

    8          frankly, Mr. Wangel, what part did you play

    9          in this?

  10                 A      What part did I play in what?

  11                 Q      Well, let's keep going.        Ms. Yang

  12           or Dr. Yang then emails you and Jessica

  13           Laboy.     And she ask this Yvette or Kevin.

  14           Who supervised Yvette?

  15                 A      Dr. Katz.

  16                 Q      Okay.    And who supervises Kevin?

  17                 A      I'm not even sure.       Kevin is, I

  18           think he's IT, so it would also be Dr. Katz.

  19           I think if I remember Kevin correctly, he

  20           worked in IT, so I'm pretty sure it's also

  21           Dr. Katz.

  22                 Q      So you're saying that neither you

  23           nor Ms. Laboy supervised Yvette nor Kevin?

  24                 A      That's correct.

  25                 Q      Now, could she have been
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    1                              J. WANGEL

    2          referencing Kevin Collins from Doctors'

    3          Council?

    4                A      Could she have been, sure, but

    5          very unlikely.      Doctors' Counsel has nothing

    6          to do with PeopleSoft or any internal

    7          record.    I'm almost positive --

    8                Q      So then Ms. Laboy follow ups

    9          Yvette.    And is this Villanueva?

  10                 A      I would say so, yes.

  11                 Q      Is it your testimony that

  12           Ms. Villanueva did not fall under your

  13           purview?

  14                 A      That's correct.      That's correct.

  15                 Q      Now, at any point did it come to

  16           your attention that Dr. Kaye had allegations

  17           that her pay was being unfairly docked?             We

  18           talked about this earlier that her pay was

  19           docked on two Jewish holidays back to back.

  20           Did ever come to your attention?

  21                 A      I believe it did.

  22                 Q      And what did you do?

  23                 A      What did I do in regards to.

  24                 Q      Well, it was brought to your

  25           attention, did you take any steps to address
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    1                                J. WANGEL

    2          the issue?

    3                A      I believe my recollection is Dr.

    4          Kaye did not want to charge leave or absence

    5          for the holidays she was out because the

    6          holiday were citywide bargaining agreement

    7          and not to charge them.

    8                Q      Are you saying that the Jewish

    9          holidays that Dr. Kaye took off were not

  10           part of her collective bargaining agreement?

  11                 A      Yes.

  12                 Q      Where does it say in the

  13           collective bargaining that they are not

  14           covered?

  15                 A      It doesn't say which holidays are

  16           included and those are not included.

  17                 Q      And you're certain about that?

  18                 A      As certain as I could be.

  19                 Q      So you went to the collective

  20           bargaining agreement and you found out

  21           specifically that those particular holidays

  22           are not listed in the bargaining agreement

  23           for anyone to take off?

  24                 A      I don't recall actively taking

  25           those steps.        Taken off automatically,
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    2          presumably, if they were.

    3                Q      Yon Kippur, the most holy day in

    4          the Jewish calendar is not covered by the

    5          collective bargaining agreement?

    6                A      You're asking me or telling me?

    7                Q      I'm asking.

    8                A      I believe that's correct, yes.

    9                Q      Oh, that's interesting.        Okay.

  10           Now, Dr. Kaye raised some issues about dual

  11           agency as it pertained to, I guess,

  12           Dr. Garcia Mensia in the Bronx.           Do you

  13           recall any discussion of that?

  14                 A      No.

  15                 Q      So you don't recall any emails or

  16           any discussion about Dr. Kaye having concern

  17           with Dr. Garcia Mensia being in the Bronx

  18           and supervising Dr. Breighton?

  19                 A      Supervising who, I'm sorry.

  20                 Q      Dr. Breighton?

  21                 A      I don't recall.

  22                 Q      Do you remember Jeff Bloom raising

  23           that issue from Legal Aid Society?

  24                 A      I don't.    I don't remember the

  25           details of this.
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    2                Q      Do you recall anyone from Legal

    3          Aid Society raising concerns about the

    4          presence of third parties in 730 exams?

    5                A      I really don't.      I do not.

    6                Q      So you don't recall any issues

    7          that Legal Aid Society may have had in the

    8          operations of the court clinics?

    9                A      I mean if there were, again, this

  10           would not have been a Labor issue.            And we

  11           would have gone to FPECC leadership or Dr.

  12           Ford or whom ever.

  13                           MS. CANFIELD:       I'm going to

  14                     take a ten-minute break.

  15                              (Whereupon, a recess was taken

  16                              from 4:43 p.m. to 4:57 p.m.)

  17                 Q      Mr. Wangel, we touched on this

  18           earlier today when I was talking about Dr.

  19           Kaye acting in evaluatory capacity and not a

  20           treatment capacity.        You do recall that part

  21           of our discussion?

  22                 A      Evaluatory and not a --

  23                 Q      Treatment.

  24                 A      Sure.    Yes.

  25                 Q      And you were making a distinction
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    2          between inmate and patients, right?

    3                A      Yes.

    4                Q      And during the course of our

    5          discussion, not necessarily during the

    6          course of our discussion, but you researched

    7          several topics that pertained to court

    8          clinics during your tenure at CHS; would

    9          that be fair to say?

  10                 A      I don't think so.

  11                 Q      Well, for example, for the private

  12           practice policy, did you play a part in

  13           drafting that?

  14                             MS. CANFIELD:     Objection as to

  15                     form.     You can answer.

  16                 A      It's possible.       I don't recall

  17           specifically.       Again, I recall drafting lots

  18           of different things.

  19                 Q      If you were involved, let's say,

  20           in the drafting of that policy, for example,

  21           I would believe as an attorney you would

  22           have done some kind of legal research in

  23           order to opine on any given topic; would

  24           that be the case?

  25                             MS. CANFIELD:     Objection.     You
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                                                                 Page 305
    1                              J. WANGEL

    2                    can answer.

    3                A      Could be.     I mean I would say if I

    4          was consulted only for a Labor Relations

    5          issue or topic or lens, possibly.           It would

    6          depend why I was involved.

    7                Q      At any point did the topic of dual

    8          agency, I guess, present itself during the

    9          course of your tenure in CHS?

  10                 A      When you say dual agency, I'm not

  11           exactly sure what you're referring to.

  12                 Q      Well, one of tenants of forensic

  13           psychiatry is that there is a strict

  14           demarcation between treatment and

  15           evaluation.     Dr. Kaye was solely an

  16           evaluator.     However, in order for the 730

  17           process to have some legitimacy, it's pretty

  18           fundamental tenant of forensic psychiatry

  19           that treatment be isolated from the

  20           evaluation, so in order to avoid what's

  21           known as dual agency.

  22                        I'm actually am engaging in

  23           colloquy because I want to be sure you're

  24           clear what I'm talking about.

  25                 A      I appreciate it in this instance.
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    1                                J. WANGEL

    2          Thank you.

    3                Q      So, Mr. Wangel, during the course

    4          of your work at CHS, right, did this issue

    5          present itself as it pertained to the court

    6          clinics or any of the court clinics for that

    7          matter?

    8                A      I do not believe so.        Not through

    9          my office.     I'm trying to recall a time it

  10           would have.     I don't recall it being an

  11           issue for me.

  12                 Q      Now, I'm going to ask you if

  13           you're familiar with a staff person by the

  14           name of Alex Garcia Mensia?

  15                 A      I don't recall that name.

  16                 Q      Now, I guess, Dr. Garcia Mensia is

  17           a psychologist that works in the hospital at

  18           CHS, on Rikers.       Are you aware of that?

  19                           MS. CANFIELD:       Objection.

  20                 A      No.   And when you say the

  21           hospital, I'm assuming you mean in the jail

  22           some place.

  23                 Q      In the jail, yes.

  24                 A      Right.     I don't know the name of

  25           that.
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                                                                 Page 307
    1                              J. WANGEL

    2                Q      She's actually in a treating

    3          capacity, right?        Are you aware of that?

    4                          MS. CANFIELD:       Objection.     You

    5                    can answer.

    6                A      Again, I'm not familiar with her

    7          or what her title is.        Only what you're

    8          telling me.

    9                Q      To be specific Dr. Garcia Mensia

  10           works at Rikers treating inmates

  11           specifically.      Now dual agency frowns upon

  12           the same person treating and evaluating a

  13           given inmate, or in this instance, it would

  14           be either an inmate or patient, as you have

  15           referenced several times throughout this

  16           deposition.     So, for example, if Dr. Kaye

  17           was evaluating Inmate A, she could not then

  18           go and treat Inmate A because there would be

  19           a dual agency issue.

  20                        So I'm bringing up an instance

  21           with Dr. Garcia Mensia because there was an

  22           exchange at one point that involved

  23           Dr. Garcia Mensia being sent to the Bronx.

  24           Do you recall that?

  25                           MS. CANFIELD:       Objection
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    1                                J. WANGEL

    2                    everything you said before that

    3                    question.

    4                A      I don't.

    5                Q      Had you ever been contacted by

    6          anyone involving Legal Aid Society objecting

    7          to Dr. Garcia Mensia sitting in on the 730

    8          examination?

    9                A      I mean I don't recall

  10           specifically.       If I was, I probably would

  11           have passed it along to the appropriate

  12           folk.

  13                 Q      So even though you may have been

  14           CC'd on the e-mail involved in a discussion

  15           that dealt with this particular instance,

  16           you're saying that it's your position that

  17           you would have fielded it off to someone

  18           else?

  19                             MS. CANFIELD:     Objection as to

  20                     form.    He can answer.

  21                 A      I mean it would depend on, if it

  22           was being referred back to me to take some

  23           sort of disciplinary action against a staff

  24           member, then no.        But if it was someone

  25           externally raising an issue about what is or
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    1                                J. WANGEL

    2          is not appropriate programmatically, I would

    3          have given it to the appropriate clinical

    4          folks to handle the 730 process.

    5                 Q      I'm going to ask you something and

    6          I'm going to kind of backtrack.

    7                        What is your understanding of

    8          MOCJ's role in the running of the court

    9          clinics?

  10                  A      I'm not super familiar with it.

  11           Again, this was not my role at CHS.            There's

  12           whole, units, departments that do this.             I

  13           don't know.        I'm not the expert here.

  14                  Q      Do you know what MOCJ is?

  15                  A      Yeah.    It's the mayor's office.         I

  16           know the acronym.        I don't know how it

  17           relates to 730 exams.        I was not involved in

  18           CHS.

  19                  Q      How often did you engage MOCJ in

  20           the course of your work?

  21                              MS. CANFIELD:    Objection as to

  22                      form.    You can answer.

  23                  A      If I was at all, it was as an

  24           e-mail bystander.        I don't recall any direct

  25           dealings with MOCJ on the 730 process.
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    1                               J. WANGEL

    2                Q      I'm going to bring your attention

    3          to what's going to be plaintiff's last

    4          exhibit.     Plaintiff's Exhibit 37.        It bears

    5          the Bates stamp series 1134 and 1135.

    6                             (Whereupon, Email

    7                             (NYC_1134-1135) was marked as

    8                             Plaintiff's Exhibit 37 for

    9                             identification as of this date.)

  10                 Q      Can you see what looks like an

  11           Adobe produced document?

  12                 A      I do.

  13                 Q      And I'm going to start at the

  14           beginning of the thread, right.           It's an

  15           e-mail from Dr. Jain, who -- Dr. Kaye,

  16           Dr. Mundy, Dr. Owen and Dr. Winkler.            And it

  17           is regarding the psychological testing

  18           policy at corrections.        Right?

  19                        It says, thank you for your input

  20           regarding the FPECC psychological testing

  21           policy.    You see this, right?

  22                 A      Um-hmm.

  23                 Q      And then there is an e-mail from

  24           Dr. Kaye to Dr. Jain and forward regarding

  25           the policy and Dr. Kaye raises concerns
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                                                                 Page 311
    1                              J. WANGEL

    2          about the proposed administrative policy

    3          which places restrictions upon MD clinic

    4          directors.     That's what Dr. Kaye brought up,

    5          right?    Do you recall seeing the

    6          psychological testing policy, Mr. Wangel?

    7                A      Not specifically.       It's possible,

    8          but I don't recall specifically.

    9                Q      Did you participate in drafting

  10           the policy in any way?

  11                 A      I don't believe so.

  12                 Q      So then Dr. Kaye raises another

  13           issue.    Another issue with the involvement

  14           with Dr. Alex Garcia.        We already had an

  15           instance which Legal Aid challenged what was

  16           perceived to be an impropriety in the exam

  17           process when Dr. Garcia sought to become

  18           involved in forensic evaluations while

  19           actively in the role of a treatment

  20           supervision of Rikers Island clinical staff.

  21           And you see this now, right?

  22                 A      Um-hmm.

  23                 Q      And do you vaguely remember

  24           anything that had to do with these types of

  25           allegations regarding Dr. Garcia Mensia?
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    1                              J. WANGEL

    2                A      I don't know.      I don't.

    3                Q      So then Dr. Jain says the response

    4          is not surprising from Dr. Kaye and similar

    5          to what I'm anticipated yesterday.            I don't

    6          feel pressure to respond to her e-mail

    7          immediately especially because you and I

    8          were both CC'd and I already responded to

    9          her previous emails about this.           If you

  10           think it's appropriate, I can reply with you

  11           CC'd, something along the lines of what I

  12           sent you yesterday.        That these are good

  13           points that we've considered, and the

  14           purpose of this policy is not reviewing or

  15           approving individual testing request.

  16                        Then Dr. Jain talks about, it was

  17           also bought to his attention today either

  18           this policy or a discussion of this policy

  19           was being circulated.

  20                        So this was the discussion that we

  21           talked about earlier that prompted as least

  22           one of the e-mail investigation that you

  23           were engaged.      Would that be accurate, Mr.

  24           Wangel?

  25                 A      Yeah, it certainly could be.
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                                                                 Page 313
    1                              J. WANGEL

    2          Again, like I said, to do an e-mail search

    3          for specific terms of a specific document it

    4          would have to be an expert on the 730

    5          process or -- either compensation, so it's

    6          very possibly.

    7                Q      Now, you mentioned at one point

    8          that Dr. Kaye's emails contained or at least

    9          the e-mails that were subject to the

  10           investigation were found to be in violation

  11           of the acceptable use policy, involved the,

  12           I guess, the transmittal of confidential or

  13           sensitive information.        And in this instance

  14           Dr. Jain is referring to a draft policy.

  15           How would you determine that was either

  16           confidential or sensitive?

  17                 A      It would depend on the substance

  18           of it.     Based on a draft that were not final

  19           policy.     You have to take there were

  20           separate cases on the city.          Hard to say

  21           exactly.     Without seeing it again, I don't

  22           recall.

  23                 Q      And you don't recall what happened

  24           here.     We weren't able to establish if Dr.

  25           Kaye if there was a written report that was
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                                                                 Page 314
    1                                J. WANGEL

    2          written I guess in the culmination of your

    3          investigation.

    4                        Was there a report after you

    5          monitored Dr. Kaye's e-mail address, e-mail

    6          box?

    7                             MS. CANFIELD:    Objection as to

    8                     form.    You can answer.

    9                 A      Again, if there was no -- no

  10           formal discipline was taken against Dr.

  11           Kaye.      So there were no charges with the

  12           investigation had rose to that level or not

  13           receiving discipline, then likely no.

  14                  Q      Did you discuss the content of

  15           your investigation or the subject of your

  16           investigation with Dr. Yang?

  17                  A      Possibly.    But do I recall

  18           specifically, no.

  19                  Q      Did you discuss it with Dr. Jain?

  20                  A      No, less likely.      But again, I

  21           don't recall.

  22                  Q      Dr. Ford?

  23                  A      Same answer.    She's in the middle.

  24           More likely to Jain less likely to -- I

  25           don't recall specifically.
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    1                               J. WANGEL

    2                           MS. HAGAN:     Well, I'm actually

    3                   done.    I'm going to -- if Ms.

    4                   Canfield has any followup questions,

    5                   I yield the floor to her at this

    6                   particular time.

    7                           MS. CANFIELD:      I don't have

    8                   any followup questions.         We are

    9                   finished.

  10                              (Whereupon, this examination was

  11                              concluded at 5:14 p.m.)

  12

  13

  14     _______________________________

  15     JONATHAN WANGEL

  16

  17

  18     Subscribed and sworn to
         before me on this ____ day
  19     of ___________, __________.

  20

  21     _______________________________
         Notary Public
  22

  23

  24

  25
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    2                              I N D E X

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    2                       C E R T I F I C A T E

    3

    4          I, KIARA MILLER,

    5          A Shorthand Reporter and Notary Public of the

    6          State of New York, do hereby certify:

    7

    8          That the witness whose examination is

    9          hereinbefore set forth, was duly sworn or

  10           affirmed by me, and the foregoing transcript is

  11           a true record of the testimony given by such

  12           witness.

  13

  14           I further certify that I am not related to any

  15           of the parties to this action by blood or

  16           marriage, and that I am in no way interested in

  17           the outcome of this matter.

  18

  19

  20                               _________________________

  21                                      KIARA MILLER

  22

  23

  24

  25
